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                                           LENNOX MIAMI CORP

                         FINANCIAL STATEMENTS – INCOME TAX BASIS


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                                                            STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS'
                                                                        EQUITY - INCOME TAX BASIS

                                                                          As of December 31, 2014 (Adjusted)



                                                                                                    Unadjusted        Notes         Adjustments               Adjusted

ASSETS:
CURRENT ASSETS:
    Cash                                                                                        $        1,403,470              $                 -     $        1,403,470
    Restricted cash                                                                                         42,171                                -                 42,171
   TOTAL CURRENT ASSETS                                                                                  1,445,641                                -              1,445,641


BUILDING UNDER CONSTRUCTION                                                                            14,327,536                                -              14,327,536
CONSTRUCTION IN PROGRESS                                                                                8,581,065        A                 (16,020)              8,565,045
PROPERTY AND EQUIPMENT, net                                                                                11,833        B                  (5,351)                  9,536
                                                                                                                         C                   3,054
OTHER ASSETS                                                                                                 8,785                               -                    8,785

   TOTAL ASSETS                                                                                 $      24,374,860               $          (18,317)     $       24,356,543




LIABILITIES AND STOCKHOLDERS' EQUITY

  CURRENT LIABILITIES:
    Accounts payable                                                                            $          25,144               $                 -     $           25,144
    Mortgage payable, current portion                                                                     112,189                                 -                112,189
  TOTAL CURRENT LIABILITIES                                                                               137,333                                 -                137,333


MORTGAGE LOAN PAYABLE                                                                                    6,190,941                                -              6,190,941

   TOTAL LIABILITIES                                                                                     6,328,274                                -              6,328,274

STOCKHOLDERS' EQUITY:
    Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                             1,000                                -                   1,000
    Additional paid-in-capital                                                                         20,042,434                                -              20,042,434
    Accumulated deficit                                                                                (1,996,848)    A, B, C              (18,317)             (2,015,165)
  TOTAL STOCKHOLDERS' EQUITY                                                                           18,046,586                          (18,317)             18,028,269


TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                      $      24,374,860               $          (18,317)     $       24,356,543


NOTES:

  A - Adjustment to expense improperly capitalized construction in progress identified as non-business personal expenses incurred by Diego Agnelli:
        Lodging                                                                                 $          15,710
        Supplies                                                                                              310
                                                                                                $          16,020

  B - Adjustment to expense improperly capitalized furniture and equipment identified as non-business personal expenses incurred by Diego Agnelli (Shown as PP&E in 2014).

  C - See Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2014 (Adjusted).




The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2014 (Adjusted) of Lennox Miami Corp was not subjected to an audit, review, or
compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the disclosures ordinarily
included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax adjusting entries. Adjustments
herein, are based on information available and analyzed as of August 9, 2021.




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                                                                       LENNOX MIAMI CORP
                                                      STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                                     Year Ended December 31, 2014 (Adjusted)




                                                                                        Unadjusted            Notes        Adjustments                              Adjusted

 REVENUES                                                                         $                20,598             $                       -         $                       20,598

 EXPENSES:
     Salaries and wages                                                                           139,008                                   -                                  139,008
     Salary, officer                                                                               90,000                                   -                                   90,000
     General and administrative                                                                   136,877      B                      (16,780)                                 120,097
     Marketing and advertising expenses                                                             7,357                                   -                                    7,357
     Depreciation expense                                                                          11,497      C                       (3,054)                                   8,443

                TOTAL EXPENSES                                                                    384,739                             (19,834)                                 364,905

 TOTAL LOSS BEFORE OTHER INCOME                                                                  (364,141)                             19,834                                  (344,307)

 OTHER INCOME AND EXPENSES:
     Other income                                                                                    8,191                                    -                                   8,191
     Other expense                                                                                  (6,536)                                   -                                  (6,536)
     Interest income                                                                                 6,697                                    -                                   6,697

                TOTAL OTHER INCOME, net                                                              8,352                                    -                                   8,352

 NON-BUSINESS PERSONAL EXPENSES INCURRED
   BY DIEGO AGNELLI:
      General and administrative                                                                         -     B                       16,780                                   16,780
      Construction in progress                                                                           -     A                       16,020                                   16,020
      Property and equipment                                                                             -     A                        5,351                                    5,351

                TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                  BY DIEGO AGNELLI                                                                       -                             38,151                                   38,151

 NET LOSS                                                                         $              (355,789)            $               (18,317)          $                      (374,106)




 NOTES:

   A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2014 (Adjusted).

   B - Reclassification of expenses identified as non-business personal expenses incurred by Diego Agnelli from general and administrative:
         Travel                                         $                8,908
         Meals and entertainment                                         3,339
         Office expenses                                                 2,983
         Fuel expense                                                      813
         Parking and tolls                                                 338
         Office supplies                                                   296
         Repairs and maintenance                                           103
                 Total                                  $               16,780

   C - Adjustment to reverse current year depreciation related to improper capitalization of identified non-business personal expenses incurred by Diego Agnelli.




 The Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2014 (Adjusted) of Lennox Miami Corp was not subjected to an audit, review, or
 compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the disclosures ordinarily
 included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax adjusting entries.
 Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                           STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS'
                                                                       EQUITY - INCOME TAX BASIS

                                                                         As of December 31, 2015 (Adjusted)




                                                                                                    Unadjusted          Notes          Adjustments              Adjusted

 ASSETS:
 CURRENT ASSETS:
      Cash                                                                                      $        3,124,438                 $                 -     $        3,124,438
      Restricted cash                                                                                       25,194                                   -                 25,194
     TOTAL CURRENT ASSETS                                                                                3,149,632                                   -              3,149,632


 BUILDING UNDER CONSTRUCTION                                                                           14,327,536                                   -              14,327,536
 CONSTRUCTION IN PROGRESS                                                                              12,487,747         A                   (16,020)             12,452,174
                                                                                                                          B                   (19,553)
 START UP COSTS                                                                                          1,298,438        E                   (24,361)              1,274,077
 INVESTMENT                                                                                                100,000                                  -                 100,000
                                                                                                                          C                    (6,600)
 OTHER ASSETS                                                                                               32,473        A                    (2,297)                 23,576

    TOTAL ASSETS                                                                                $      31,395,826                  $          (68,831)     $       31,326,995




 LIABILITIES AND STOCKHOLDERS' EQUITY

    CURRENT LIABILITIES:
       Accounts payable                                                                         $           24,330                 $                 -     $           24,330
       Subscription payable                                                                                 57,690                                   -                 57,690
       Loan payable, affiliate                                                                             100,000                                   -                100,000
       Mortgage payable, current portion                                                                   137,877                                   -                137,877
    TOTAL CURRENT LIABILITIES                                                                              319,897                                   -                319,897


 MORTGAGE LOAN PAYABLE                                                                                   6,027,522                                   -              6,027,522

    TOTAL LIABILITIES                                                                                    6,347,419                                   -              6,347,419

 STOCKHOLDERS' EQUITY:
     Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                            1,000                                   -                   1,000
     Additional paid-in-capital                                                                        27,042,438                                   -              27,042,438
     Accumulated deficit                                                                               (1,995,031) A, B, C, D, E              (68,831)             (2,063,862)
   TOTAL STOCKHOLDERS' EQUITY                                                                          25,048,407                             (68,831)             24,979,576


 TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                     $      31,395,826                  $          (68,831)     $       31,326,995




 NOTES:

    A - Prior year (2014) adjustments identified as non-business personal expenses incurred by Diego Agnelli.

    B - Adjustment to expense $19,553 in lodging improperly capitalized to construction in progress, identified as non-business personal expenses incurred by Diego Agnelli.

    C - Adjustment to expense $6,600 in furniture and equipment, improperly capitalized to other assets identified as non-business personal expenses incurred by Diego Agnelli
    (Shown as PP&E in 2014).

    D - See Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2015 (Adjusted).

    E - Adjustment to expense improperly capitalized start-up costs identified as non-business personal expenses incurred by Diego Agnelli:
           Travel                                                                                $          14,638
           Office supplies                                                                                   5,686
           Fuel expense                                                                                      1,578
           Meals and entertainment                                                                           1,100
           Parking and tolls                                                                                   928
           Repairs and maintenance                                                                             431
                 Total                                                                           $          24,361




 The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2015 (Adjusted) of Lennox Miami Corp was not subjected to an audit, review, or
 compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the disclosures ordinarily
 included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax adjusting entries.
 Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                    STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                                  Year Ended December 31, 2015 (Adjusted)




                                                                                       Unadjusted           Notes         Adjustments                       Adjusted

  REVENUES                                                                      $                       -           $                      -      $                           -

  EXPENSES:
      Salaries and wages                                                                         184,734                                   -                            184,734
      Salary, officer                                                                             90,000                                   -                             90,000
      General and administrative                                                                 163,688                                   -                            163,688
      Marketing and advertising expenses                                                              73                                   -                                 73
      Capitalized expenses                                                                      (433,619)                                  -                           (433,619)

                TOTAL EXPENSES                                                                      4,876                                  -                              4,876

  TOTAL LOSS BEFORE OTHER INCOME                                                                  (4,876)                                  -                             (4,876)

  OTHER INCOME:
      Interest income                                                                               6,693                                  -                              6,693

                TOTAL OTHER INCOME                                                                  6,693                                  -                              6,693

 NON-BUSINESS PERSONAL EXPENSES INCURRED
   BY DIEGO AGNELLI:
      Startup costs                                                                                     -     A                      24,361                             24,361
      Construction in progress                                                                          -     A                      19,553                             19,553
      Other assets                                                                                      -     A                       6,600                              6,600

                TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                  BY DIEGO AGNELLI                                                                      -                            50,514                             50,514

  NET INCOME (LOSS)                                                             $                   1,817           $               (50,514)      $                     (48,697)




 NOTES:

    A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2015 (Adjusted).




 The Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2015 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
 review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
 disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax
 adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                                      EQUITY - INCOME TAX BASIS

                                                                        As of December 31, 2016 (Adjusted)




                                                                                                     Unadjusted           Notes          Adjustments               Adjusted

  ASSETS:
  CURRENT ASSETS:
       Cash                                                                                      $        3,247,335                  $                   -   $        3,247,335
       Restricted cash                                                                                       40,162                                      -               40,162
      TOTAL CURRENT ASSETS                                                                                3,287,497                                      -            3,287,497


  CONSTRUCTION IN PROGRESS                                                                               21,676,126         A                   (35,573)             21,626,788
                                                                                                                            B                   (13,765)
  BUILDING UNDER CONSTRUCTION                                                                            14,327,536                                   -              14,327,536
  START UP COSTS                                                                                          2,016,861         A                   (24,361)              1,970,904
                                                                                                                            D                   (21,596)
  INVESTMENT                                                                                                250,000                                   -                 250,000
  LOAN RECEIVABLE, AFFILIATE                                                                                165,430                                   -                 165,430
  OTHER ASSETS                                                                                               39,688         A                    (8,897)                 30,791

     TOTAL ASSETS                                                                                $       41,763,138                  $         (104,192)     $       41,658,946




  LIABILITIES AND STOCKHOLDERS' EQUITY

     CURRENT LIABILITIES:
        Accounts payable                                                                         $          689,308                  $                   -   $          689,308
        Mortgage payable, current portion                                                                   128,334                                      -              128,334
     TOTAL CURRENT LIABILITIES                                                                              817,642                                      -              817,642


  MORTGAGE LOAN PAYABLE                                                                                   5,898,950                                      -            5,898,950

     TOTAL LIABILITIES                                                                                    6,716,592                                      -            6,716,592

  STOCKHOLDERS' EQUITY:
      Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                             1,000                                   -                   1,000
      Additional paid-in-capital                                                                         37,043,638                                   -              37,043,638
      Accumulated deficit                                                                                (1,998,092)    A, B, C, D             (104,192)             (2,102,284)
    TOTAL STOCKHOLDERS' EQUITY                                                                           35,046,546                            (104,192)             34,942,354



  TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                     $       41,763,138                  $         (104,192)     $       41,658,946




  NOTES:

     A - Prior years (2014 and 2015) adjustments identified as non-business personal expenses incurred by Diego Agnelli.

     B - Adjustment to expense improperly capitalized construction in progress identified as non-business personal expenses incurred by Diego Agnelli:
            Lodging                                                                               $          11,992
            Supplies                                                                                          1,773
                                                                                                  $          13,765

     C - See Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2016 (Adjusted).

     D - Adjustment to expense improperly capitalized start-up costs identified as non-business personal expenses incurred by Diego Agnelli:
            Office supplies                                                                       $           9,771
            Meals and entertainment                                                                           8,074
            Fuel expense                                                                                      1,778
            Parking and tolls                                                                                   691
            Taxis and transportation                                                                            625
            Dues and subscriptions                                                                              340
            Maintenance expense                                                                                 168
            Education and seminars                                                                              149
                  Total                                                                           $          21,596




  The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2016 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
  review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
  disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax
  adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                   STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                                  Year Ended December 31, 2016 (Adjusted)




                                                                                      Unadjusted           Notes        Adjustments                        Adjusted

  REVENUES                                                                     $                       -           $                      -      $                            -

  EXPENSES:
      Salaries and wages                                                                        208,239                                   -                            208,239
      Salary, officer                                                                            90,000                                   -                             90,000
      General and administrative                                                                167,698                                   -                            167,698
      Capitalized expenses                                                                     (456,139)                                  -                           (456,139)

                TOTAL EXPENSES                                                                     9,798                                  -                              9,798

  TOTAL LOSS BEFORE OTHER INCOME                                                                 (9,798)                                  -                             (9,798)

  OTHER INCOME:
      Interest income                                                                              6,737                                  -                              6,737

                TOTAL OTHER INCOME                                                                 6,737                                  -                              6,737

 NON-BUSINESS PERSONAL EXPENSES INCURRED
   BY DIEGO AGNELLI:
      Start up costs                                                                                   -    A                       21,596                             21,596
      Construction in progress                                                                         -    A                       13,765                             13,765

                TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                  BY DIEGO AGNELLI                                                                     -                            35,361                             35,361

  NET LOSS                                                                     $                 (3,061)           $               (35,361)      $                     (38,422)




 NOTES:

    A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2016 (Adjusted).




 The Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2016 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
 review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
 disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end
 tax adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                             STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS'
                                                                         EQUITY - INCOME TAX BASIS

                                                                            As of December 31, 2017 (Adjusted)




                                                                                                          Unadjusted         Notes         Adjustments               Adjusted

      ASSETS:
      CURRENT ASSETS:
           Cash                                                                                       $        2,975,232               $                 -      $         2,975,232
           Restricted cash                                                                                        19,292                                 -                   19,292
          TOTAL CURRENT ASSETS                                                                                 2,994,524                                 -                2,994,524


      CONSTRUCTION IN PROGRESS                                                                                30,395,048       A                   (58,235)            30,246,814
                                                                                                                               B                   (89,999)
      BUILDING UNDER CONSTRUCTION                                                                             14,327,536                                 -             14,327,536
      START UP COSTS                                                                                           2,855,242       A                   (45,957)             2,712,089
                                                                                                                               D                   (93,469)
                                                                                                                               C                    (3,727)
      LOAN RECEIVABLE, AFFILIATE                                                                               1,104,447                                 -                1,104,447
      INVESTMENT                                                                                                 550,000                                 -                  550,000
      OTHER ASSETS                                                                                                10,185                                 -                   10,185

          TOTAL ASSETS                                                                                $       52,236,982               $         (291,387)      $      51,945,595




      LIABILITIES AND STOCKHOLDERS' EQUITY

         CURRENT LIABILITIES:
            Accounts payable                                                                          $        1,326,325       C       $            (3,727)     $         1,322,598
            Mortgage payable, current portion                                                                    135,728                                 -                  135,728
         TOTAL CURRENT LIABILITIES                                                                             1,462,053                            (3,727)               1,458,326


      MORTGAGE LOAN PAYABLE                                                                                    5,755,828                                 -                5,755,828

          TOTAL LIABILITIES                                                                                    7,217,881                            (3,727)               7,214,154

      STOCKHOLDERS' EQUITY:
          Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                              1,000                                -                   1,000
          Additional paid-in-capital                                                                          47,043,638                                -              47,043,638
          Accumulated deficit                                                                                 (2,025,537) A, B, C, D             (287,660)             (2,313,197)
        TOTAL STOCKHOLDERS' EQUITY                                                                            45,019,101                         (287,660)             44,731,441



      TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                      $       52,236,982               $         (291,387)      $      51,945,595




      NOTES:

         A - Prior years (2014, 2015 and 2016) adjustments identified as non-business personal expenses incurred by Diego Agnelli.

         B - Adjustment to expense improperly capitalized construction in progress identified as non-business personal expenses incurred by Diego Agnelli:
                 Lodging                                                                              $          67,087
                 Furniture and equipment                                                                         11,026
                 Supplies                                                                                         8,793
                 Marketing materials                                                                              2,643
                 Legal                                                                                              450
                                                                                                      $          89,999

         C - Reclassification of improperly capitalized legal fees identified as non-business personal expenses incurred by Diego Agnelli, unpaid at December 31, 2017.

         D - Adjustment to expense improperly capitalized start-up costs identified as non-business personal expenses incurred by Diego Agnelli:
                 Unapproved salary, officer and related payroll taxes                                 $          70,785
                 Office supplies                                                                                 10,422
                 Taxis and transportation                                                                         2,951
                 Attorney and legal fees                                                                          2,500
                 Office expenses                                                                                  1,730
                 Fuel expense                                                                                     1,482
                 Parking and tolls                                                                                1,093
                 Travel                                                                                           1,006
                 Advertising and promotion                                                                          587
                 Dues and subscriptions                                                                             400
                 Repairs and maintenance                                                                            267
                 Maintenance expense                                                                                152
                 Cleaning and maintenance                                                                            70
                 Delivery and courier                                                                                24
                        Total                                                                         $          93,469




      The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2017 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
      review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
      disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax
      adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                                     LENNOX MIAMI CORP
                                                    STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                                  Year Ended December 31, 2017 (Adjusted)




                                                                                       Unadjusted           Notes         Adjustments                     Adjusted

 REVENUES                                                                        $                      -           $                         -   $                         -

 EXPENSES:
     Salaries and wages                                                                          212,849                                  -                           212,849
     Salary, officer                                                                             157,500                                  -                           157,500
     General and administrative                                                                  228,062      B                     (17,126)                          210,936
     Marketing and advertising expenses                                                            1,598                                  -                             1,598
     Capitalized expenses                                                                       (566,283)                                 -                          (566,283)

               TOTAL EXPENSES                                                                     33,726                            (17,126)                          16,600

 TOTAL LOSS BEFORE OTHER INCOME                                                                  (33,726)                            17,126                           (16,600)

 OTHER INCOME:
     Interest income                                                                                6,762                                     -                         6,762

               TOTAL OTHER INCOME                                                                   6,762                                     -                         6,762

NON-BUSINESS PERSONAL EXPENSES INCURRED
  BY DIEGO AGNELLI:
     General and administrative                                                                         -     B                      17,126                           17,126
     Start up costs                                                                                     -     A                      93,469                           93,469
     Construction in progress                                                                           -     A                      89,999                           89,999

               TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                 BY DIEGO AGNELLI                                                                       -                           200,594                          200,594

 NET LOSS                                                                        $               (26,964)           $              (183,468)      $                  (210,432)




NOTES:

  A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2017 (Adjusted).

  B - Reclassification of expenses identified as non-business personal expenses incurred by Diego Agnelli, from general and administrative:
        Meals and entertainment                            $            14,612
        Business gifts                                                   2,514
               Total                                       $            17,126




The Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2017 (Adjusted) of Lennox Miami Corp was not subjected to an audit, review, or
compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the disclosures
ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax adjusting
entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                                                LENNOX MIAMI CORP
                                                                STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS'
                                                                            EQUITY - INCOME TAX BASIS

                                                                               As of December 31, 2018 (Adjusted)




                                                                                                            Unadjusted           Notes          Adjustments             Adjusted

         ASSETS:
         CURRENT ASSETS:
               Cash                                                                                     $        1,643,939                  $                 -    $        1,643,939
               Restricted cash                                                                                      29,237                                    -                29,237
              TOTAL CURRENT ASSETS                                                                               1,673,176                                    -             1,673,176


         CONSTRUCTION IN PROGRESS                                                                               42,250,658         A                  (148,234)           40,991,154
                                                                                                                                   B                (1,111,270)
         BUILDING UNDER CONSTRUCTION                                                                            14,347,548                                   -            14,347,548
         START UP COSTS                                                                                          5,605,563         A                  (143,153)            3,995,110
                                                                                                                                   D                (1,467,300)
         OTHER ASSETS                                                                                               36,004                                   -                 36,004

             TOTAL ASSETS                                                                               $       63,912,949                  $       (2,869,957)    $      61,042,992




         LIABILITIES AND STOCKHOLDERS' EQUITY

            CURRENT LIABILITIES:
               Accounts payable                                                                         $        1,119,655         A        $           (3,727)    $        1,115,928
               Mortgage payable, current portion                                                                 1,257,290                                   -              1,257,290
            TOTAL CURRENT LIABILITIES                                                                            2,376,945                              (3,727)             2,373,218


         MORTGAGE LOAN PAYABLE                                                                                   4,518,583                                    -             4,518,583

             TOTAL LIABILITIES                                                                                   6,895,528                              (3,727)             6,891,801

         STOCKHOLDERS' EQUITY:
              Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                            1,000                                   -                 1,000
              Additional paid-in-capital                                                                        59,042,309                                   -            59,042,309
              Accumulated deficit                                                                               (2,025,888)    A, B, C, D           (2,866,230)           (4,892,118)
            TOTAL STOCKHOLDERS' EQUITY                                                                          57,017,421                          (2,866,230)           54,151,191



         TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                     $       63,912,949                  $       (2,869,957)    $      61,042,992




         NOTES:

            A - Prior years (2014, 2015, 2016 and 2017) adjustments identified as non-business personal expenses incurred by Diego Agnelli.

            B - Adjustment to expense improperly capitalized construction in progress identified as non-business personal expenses incurred by Diego Agnelli:
                    Furniture hotel                                                                     $          440,526
                    Owner representative                                                                           425,218
                    Construction                                                                                    92,784
                    Lodging                                                                                         79,601
                    Professional fees construction                                                                  22,601
                    Furniture and equipment                                                                         17,733
                    Fixtures                                                                                        12,452
                    Lawn and pest control                                                                           11,433
                    Supplies                                                                                         7,841
                    Driftwood                                                                                          458
                    Marketing materials                                                                                403
                    Building Permit                                                                                    151
                    Legal                                                                                               69
                            Total                                                                       $        1,111,270

            C - See Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2018 (Adjusted).

            D - Adjustment to expense improperly capitalized start-up costs identified as non-business personal expenses incurred by Diego Agnelli:
                    Unapproved salary, officer and related payroll taxes                                $        1,290,796 Note 1
                    Travel                                                                                         103,457
                    Meals                                                                                           27,661
                    Office expenses                                                                                 20,290
                    Dues and subscriptions                                                                           4,834
                    Taxis and transportation                                                                         4,283
                    Attorney and legal fees                                                                          3,727
                    Education and seminars                                                                           2,190
                    Business gifts                                                                                   2,097
                    Fuel expense                                                                                     2,093
                    Parking and tolls                                                                                1,765
                    Bad debt                                                                                         1,246
                    Repairs and maintenance                                                                          1,053
                    Maintenance expense                                                                                518
                    Commission and other services                                                                      447
                    Advertising and promotion                                                                          384
                    Automobile                                                                                         324
                    Cleaning and maintenance                                                                           120
                    Delivery and courier                                                                                13
                    Bank fees                                                                                            2
                            Total                                                                       $        1,467,300

            Note 1: The unapproved salary, officer and related payroll tax adjustment totaling $1,290,796 assumes the employment agreement for Diego Agnelli is unenforceable. If
            Diego Agnelli's employment agreement is deemed enforceable the total adjustment would be $162,320, a decrease of $(1,128,476).




         The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2018 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
         review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
         disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax
         adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                                    LENNOX MIAMI CORP
                                                   STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                                 Year Ended December 31, 2018 (Adjusted)




                                                                                   Unadjusted            Notes        Adjustments                        Adjusted

  REVENUES                                                                   $                      -            $                     -       $                           -

  EXPENSES:
      Salaries and wages                                                                      405,765                                  -                           405,765
      Salary, officer                                                                       1,360,000                                  -                         1,360,000
      General and administrative                                                              534,820                                  -                           534,820
      Marketing and advertising expenses                                                        3,354                                  -                             3,354
      Capitalized expenses                                                                 (2,157,077)                                 -                        (2,157,077)

                 TOTAL EXPENSES                                                              146,862                                   -                            146,862

  TOTAL LOSS BEFORE OTHER INCOME                                                            (146,862)                                  -                            (146,862)

  OTHER INCOME:
      Other income                                                                           140,000                                   -                            140,000
      Interest income                                                                          6,862                                   -                              6,862

                 TOTAL OTHER INCOME                                                          146,862                                   -                            146,862

  NON-BUSINESS PERSONAL EXPENSES INCURRED
    BY DIEGO AGNELLI:
       Start up costs                                                                               -     A                   1,467,300                          1,467,300
       Construction in progress                                                                     -     A                   1,111,270                          1,111,270

                 TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                   BY DIEGO AGNELLI                                                                 -                         2,578,570                          2,578,570

  NET LOSS                                                                   $                      -            $           (2,578,570)       $                (2,578,570)




  NOTES:

    A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2018 (Adjusted).




  The Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2018 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
  review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
  disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end
  tax adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                     186                                              LENNOX MIAMI CORP
                                                                      STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS'
                                                                                  EQUITY - INCOME TAX BASIS

                                                                                     As of December 31, 2019 (Adjusted)




                                                                                                                 Unadjusted            Notes              Adjustments            Adjusted

            ASSETS:
            CURRENT ASSETS:
                  Cash                                                                                       $        2,106,261                     $                   -   $        2,106,261
                  Accounts receivable                                                                                    88,895                                         -               88,895
                  Restricted cash                                                                                        49,255                                         -               49,255
                  Prepaid expenses                                                                                       32,349                                                         32,349
                  Note receivable                                                                                        10,616                                         -               10,616
                 TOTAL CURRENT ASSETS                                                                                 2,287,376                                         -            2,287,376

            PROPERTY AND EQUIPMENT
                 Building                                                                                            47,394,559          A                    (1,228,448)           45,785,276
                                                                                                                                         B                      (380,835)
                     Land                                                                                            11,848,640                                        -            11,848,640
                     Building improvements                                                                              351,287                                        -               351,287
                     Furniture and equipment                                                                            202,634          A                       (34,110)              158,178
                                                                                                                                         E                       (10,346)
                                                                                                                                         C                       247,720
                      Accumulated depreciation                                                                         (660,810)         A                         3,054              (410,036)
                     TOTAL PROPERTY AND EQUIPMENT, net                                                               59,136,310                               (1,402,965)           57,733,345

            INTANGIBLES
                  Start up costs                                                                                      7,865,795          A                    (1,610,453)            5,030,101
                                                                                                                                         D                    (1,225,241)
                      Loan costs                                                                                      2,416,237                                        -             2,416,237
                      Software                                                                                           65,876                                        -                65,876
                      Trademark                                                                                          15,926                                        -                15,926
                      Accumulated amortization                                                                         (730,835)         C                       236,308              (494,527)
                     TOTAL INTANGIBLES, net                                                                           9,632,999                               (2,599,386)            7,033,613

            OTHER ASSETS                                                                                                  7,685                                         -                7,685

                 TOTAL ASSETS                                                                                $       71,064,370                     $         (4,002,351)   $       67,062,019


            LIABILITIES AND STOCKHOLDERS' EQUITY

                CURRENT LIABILITIES:
                   Accounts payable                                                                          $          796,242                     $                   -   $          796,242
                   Other payables                                                                                       189,721                                         -              189,721
                   Mortgage payable, current portion                                                                     34,962                                         -               34,962
                TOTAL CURRENT LIABILITIES                                                                             1,020,925                                         -            1,020,925

            MORTGAGE LOAN PAYABLE                                                                                     5,592,383                                         -            5,592,383

                 TOTAL LIABILITIES                                                                                    6,613,308                                         -            6,613,308

            STOCKHOLDERS' EQUITY:
                  Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                             1,000                                        -                 1,000
                  Additional paid-in-capital                                                                         68,860,909                                        -            68,860,909
                  Accumulated deficit                                                                                (4,410,847)     A, B, C, D               (4,002,351)           (8,413,198)
               TOTAL STOCKHOLDERS' EQUITY                                                                            64,451,062                               (4,002,351)           60,448,711



            TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                       $       71,064,370                     $         (4,002,351)   $       67,062,019

            NOTES:

                A - Prior years (2014, 2015, 2016, 2017 and 2018) adjustments identified as non-business personal expenses incurred by Diego Agnelli.

                B - Adjustment to expense improperly capitalized construction in progress identified as non-business personal expenses incurred by Diego Agnelli:
                         Furniture Hotel                                                                      $          99,928
                         Owner representative                                                                            97,644
                         Lodging                                                                                         87,833
                         Construction                                                                                    34,958
                         Professional fees construction                                                                  30,537
                         Supplies                                                                                        14,179
                         Fixtures                                                                                         7,961
                         Hotel                                                                                            2,680
                         Lawn and pest control                                                                            1,960
                         Hotel decor                                                                                      1,557
                         Marketing materials                                                                              1,119
                         Restaurant                                                                                         479
                                  Total                                                                       $         380,835

                C - See Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2019 (Adjusted).

                D - Adjustment to expense improperly capitalized start-up costs identified as non-business personal expenses incurred by Diego Agnelli:
                         Unapproved salary, officer and related payroll taxes                                 $       1,009,551 Note 1
                         Travel                                                                                          65,527
                         Office expenses                                                                                 36,109
                         Meals                                                                                           30,522
                         Start-up costs                                                                                  29,599
                         Repairs and maintenance                                                                         14,494
                         Commission and other services                                                                    8,988
                         Attorney and legal fees                                                                          6,133
                         Dues and subscriptions                                                                           4,232
                         Parking and tolls                                                                                3,821
                         Taxis and transportation                                                                         2,998
                         Uniform expense                                                                                  2,991
                         Fuel expense                                                                                     2,438
                         Office equipment                                                                                 1,570
                         Hotel preopening expenses                                                                        1,521
                         Moving expenses                                                                                  1,500
                         Office supplies                                                                                  1,442
                         Advertising and promotion                                                                        1,265
                         Education and seminars                                                                             540
                                  Total                                                                       $       1,225,241

                E - Adjustment to expense improperly capitalized furniture and equipment totaling $10,346 identified as non-business personal expenses incurred by Diego Agnelli.

                Note 1: The unapproved salary, officer and related payroll tax adjustment totaling $1,009,551, for the period subject to capitalization in 2019 of January - July, assumes the
                employment agreement for Diego Agnelli is unenforceable. If Diego Agnelli's employment agreement is deemed enforceable the total adjustment would be $350,002, a decrease of
                $(659,549).




            The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2019 (Adjusted) of Lennox Miami Corp was not subjected to an audit, review, or
            compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the disclosures ordinarily
            included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax adjusting entries. Adjustments
            herein, are based on information available and analyzed as of August 9, 2021.




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                                                                             LENNOX MIAMI CORP
                                                            STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                                          Year Ended December 31, 2019 (Adjusted)




                                                                                         Unadjusted             Notes       Adjustments                             Adjusted

          REVENUES                                                                 $             2,112,062              $                      -          $                 2,112,062
          COST OF REVENUES                                                                         547,374                                     -                              547,374
                       GROSS PROFIT                                                              1,564,688                                 -                                1,564,688

          EXPENSES:
               Salaries and wages                                                                  741,302                                   -                                741,302
               Salary, officer                                                                   1,689,615       D                    (607,115)                             1,082,500
               General and administrative                                                        1,954,319       C                    (244,142)                             1,710,177
               Marketing and advertising expenses                                                  178,516       E                      (1,166)                               177,350
               Amortization and depreciation expense                                             1,391,645       B                    (484,028)                               907,617
               Capitalized expenses                                                             (1,985,394)                                  -                             (1,985,394)

                             TOTAL EXPENSES                                                      3,970,003                          (1,336,451)                             2,633,552

          TOTAL LOSS BEFORE OTHER INCOME                                                        (2,405,315)                         1,336,451                              (1,068,864)

          OTHER INCOME AND EXPENSES:
               Other income                                                                          170,597                                   -                                170,597
               Interest income                                                                         6,869                                   -                                  6,869
               Other expense                                                                         (44,330)                                  -                                (44,330)
               Interest expense                                                                     (112,780)                                  -                               (112,780)

                             TOTAL OTHER INCOME, net                                                 20,356                                    -                                20,356

          NON-BUSINESS PERSONAL EXPENSES INCURRED
            BY DIEGO AGNELLI:
                Start up costs                                                                             -     A                  1,225,241                               1,225,241
                Salary, officer                                                                            -     D                    607,115                                 607,115
                Building                                                                                   -     A                    380,835                                 380,835
                General and administrative                                                                 -     C                    244,142                                 244,142
                Property and equipment                                                                     -     A                     10,346                                  10,346
                Marketing and advertising expenses                                                         -     E                      1,166                                   1,166

                             TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                               BY DIEGO AGNELLI                                                            -                        2,468,845                               2,468,845

          NET LOSS                                                                 $            (2,384,959)             $           (1,132,394)           $                (3,517,353)

          NOTES:
            A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of December 31, 2019 (Adjusted).

             B - Adjustment to reverse current year amortization and depreciation related to improper capitalization of identified non-business personal expenses incurred by Diego
             Agnelli.

             C - Reclassification of expenses, for the period not subject to capitalization in 2019 of August - December, identified as non-business personal expenses incurred by
             Diego Agnelli, from general and administrative:
                     Travel                                         $      76,190
                     Lodging rent                                          57,500
                     Meals                                                 16,375
                     Office expenses                                       15,476
                     Attorney and legal fees                               12,133
                     Repairs and maintenance                               11,310
                     Office equipment                                      10,939
                     Commission and other services                         10,215
                     Payroll taxes related to unapproved officer s          8,803 Note 1
                     Franchise expense                                      6,000
                     Hotel design and decor                                 3,267
                     Parking and tolls                                      2,992
                     Rooms                                                  2,963
                     Construction materials expense                         2,368
                     Hotel room supplies                                    1,493
                     Uniform expense                                        1,060
                     Taxis and transportation                                 951
                     Fuel expense                                             948
                     Dues and subscriptions                                   881
                     A/C                                                      859
                     Landscape and pest control                               696
                     Office supplies                                          337
                     Hotel preopening expenses                                280
                     Insurance expense                                         71
                     Bank fees                                                 35
                              Total                                 $    244,142

             D - Reclassification of officer salary, for the period not subject to capitalization in 2019 of August - December, totaling $607,115 identified as unapproved salary
             payments to Diego Agnelli, assuming the employment agreement is unenforceable. If Diego Agnelli's employment agreement is deemed enforceable the adjustment
             would be $144,615, a decrease of $(462,500).

             E - Reclassification of Marketing and advertising expenses , for the period not subject to capitalization in 2019 of August - December, totaling $1,166 identified as non-
             business personal expenses incurred by Diego Agnelli.

             Note 1: The payroll tax adjustment related to unapproved officer salary, for the period not subject to capitalization in 2019 of August - December, totaling $8,803
             assumes the employment agreement for Diego Agnelli is unenforceable. If Diego Agnelli's employment agreement is deemed enforceable the payroll tax adjustment
             would be $2,097, a decrease of $(6,706).




          The Statement of Revenues and Expenses - Income Tax Basis for the year ended December 31, 2019 (Adjusted) of Lennox Miami Corp was not subjected to an audit,
          review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
          disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end
          tax adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                     186                                       LENNOX MIAMI CORP
                                                                STATEMENT OF ASSETS, LIABILITIES AND STOCKHOLDERS'
                                                                            EQUITY - INCOME TAX BASIS

                                                                                 As of August 16, 2020 (Adjusted)




                                                                                                            Unadjusted          Notes          Adjustments              Adjusted

          ASSETS:
          CURRENT ASSETS:
                Cash                                                                                    $       1,058,512                  $                    -   $       1,058,512
                Accounts receivable                                                                               255,058                                       -             255,058
                Restricted cash                                                                                    84,902                                       -              84,902
                Prepaid expenses                                                                                   32,349                                                      32,349
                Note receivable                                                                                    12,867                                       -              12,867
               TOTAL CURRENT ASSETS                                                                             1,443,688                                       -           1,443,688

          PROPERTY AND EQUIPMENT
               Building                                                                                        47,394,559         A                (1,609,283)            46,903,578
                                                                                                                                  B                   (62,698)
                                                                                                                                  E                 1,181,000
                 Land                                                                                          11,848,640                                   -             11,848,640
                 Building improvements                                                                            268,192                                   -                268,192
                 Furniture and equipment                                                                          225,657         A                   (44,456)               181,201
                 Accumulated depreciation                                                                        (660,810)        A                   250,774               (410,036)
                TOTAL PROPERTY AND EQUIPMENT, net                                                              59,076,238                            (284,663)            58,791,575

          INTANGIBLES
                Start up costs                                                                                  7,865,795         A                (2,835,694)              5,030,101
                Loan costs                                                                                      2,416,237                                   -               2,416,237
                Software                                                                                           65,876                                   -                  65,876
                Trademark                                                                                          15,926         A                         -                  15,926
                Accumulated amortization                                                                         (730,835)        A                   236,308                (494,527)
               TOTAL INTANGIBLES, net                                                                           9,632,999                          (2,599,386)              7,033,613

          OTHER ASSETS                                                                                                7,296       C                       (178)                 7,118

             TOTAL ASSETS                                                                               $      70,160,221                  $       (2,884,227)      $     67,275,994




          LIABILITIES AND STOCKHOLDERS' EQUITY

            CURRENT LIABILITIES:
               Accounts payable                                                                         $           558,526       E        $        1,247,000       $       1,805,526
               Other payables                                                                                       186,093                                 -                 186,093
               Mortgage payable, current portion                                                                     70,380                                 -                  70,380
            TOTAL CURRENT LIABILITIES                                                                               814,999                         1,247,000               2,061,999

          LOAN PAYABLE, related party                                                                               175,000                                     -            175,000

          MORTGAGE LOAN PAYABLE                                                                                 5,522,003                                       -           5,522,003

             TOTAL LIABILITIES                                                                                  6,512,002                           1,247,000               7,759,002

          STOCKHOLDERS' EQUITY:
                Common Stock, $1 par value, 1,000 shares authorized, issued and outstanding                         1,000                                   -                  1,000
                Additional paid-in-capital                                                                     68,860,909                                   -             68,860,909
                Accumulated deficit                                                                            (5,213,690) A, B, C, D, E           (4,131,227)            (9,344,917)
             TOTAL STOCKHOLDERS' EQUITY                                                                        63,648,219                          (4,131,227)            59,516,992


          TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY                                                    $      70,160,221                  $       (2,884,227)      $     67,275,994




         NOTES:

            A - Prior years (2014, 2015, 2016, 2017, 2018 and 2019) adjustments identified as non-business personal expenses incurred by Diego Agnelli.

            B - Adjustment to expense improperly capitalized construction in progress identified as non-business personal expenses incurred by Diego Agnelli:
                    Owner representative                                                                 $           62,694
                    A/C                                                                                                   4
                            Total                                                                        $           62,698

            C - Adjustment to expense improperly capitalized other asset totaling $178 identified as non-business personal expenses incurred by Diego Agnelli.

            D - See Statement of Revenues and Expenses - Income Tax Basis for the seven and a half months ended August 16, 2020 (Adjusted).

            E - Adjustment for unrecorded liabilities, identified by management as balances owed by Lennox Miami Corp for unrecorded vendor balances and legal settlements, of which
            $1,181,000 is capitalized to the building and $66,000 is included in other expenses:
                    Cuesta Construction Services, Inc.                                                 $       1,100,000
                    Miguel Lopez Jr. Inc.                                                                         40,000
                    ADA Elevator Company                                                                          20,000
                    Allbridge                                                                                     18,000
                    Deep Sleep                                                                                     3,000
                            Total capitalized                                                          $       1,181,000

                     All Florida claims                                                                 $            25,000
                     ADA Settlement                                                                                  16,000
                     NewLink Communications Company                                                                  15,000
                     Mtucker / Singer NY Kitchen Equipment Company                                                   10,000
          Total expensed                                                                                $            66,000

                            Total unrecorded liabilities                                                $       1,247,000




         The Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of August 16, 2020 (Adjusted) of Lennox Miami Corp was not subjected to an audit, review, or
         compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the disclosures ordinarily
         included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax adjusting entries.
         Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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                                                                      LENNOX MIAMI CORP
                                                     STATEMENT OF REVENUES AND EXPENSES - INCOME TAX BASIS

                                                       For the seven and a half months ended August 16, 2020 (Adjusted)




                                                                                     Unadjusted           Notes        Adjustments                           Adjusted

 REVENUES                                                                     $               156,387             $                     -           $                   156,387

 EXPENSES:
     Salary, officer                                                                          686,801      C                    (643,889)                                42,912
     General and administrative                                                               215,232      B                     (76,742)                               138,490
     Marketing and advertising expenses                                                         3,359                                  -                                  3,359

               TOTAL EXPENSES                                                                 905,392                           (720,631)                               184,761

 TOTAL LOSS BEFORE OTHER INCOME                                                               (749,005)                          720,631                                 (28,374)

 OTHER INCOME AND EXPENSES:
     Other income                                                                               42,853                                 -                                  42,853
     Interest income                                                                             3,697                                 -                                   3,697
     Other expenses, unrecorded liabilities                                                          -     A                     (66,000)                                (66,000)
     Interest expense                                                                         (100,409)                                -                                (100,409)

               TOTAL OTHER EXPENSES, net                                                       (53,859)                          (66,000)                               (119,859)

NON-BUSINESS PERSONAL EXPENSES INCURRED
  BY DIEGO AGNELLI:
     General and administrative                                                                       -    B                      76,742                                 76,742
     Unapproved salary, officer                                                                       -    C                     643,889                                643,889
     Building                                                                                         -    A                      62,698                                 62,698
     Other asset                                                                                      -    A                         178                                    178

               TOTAL NON-BUSINESS PERSONAL EXPENSES INCURRED
                 BY DIEGO AGNELLI                                                                     -                          783,507                                783,507

 NET LOSS                                                                     $               (802,864)           $             (128,876)           $                   (931,740)




NOTES:

   A - See Statement of Assets, Liabilities and Stockholders' Equity - Income Tax Basis as of August 16, 2020 (Adjusted).

   B - Reclassification of expenses identified as non-business personal expenses incurred by Diego Agnelli from general and administrative:
         Meals and entertainment                                  $ 16,574
         Office expenses                                             16,470
         Payroll taxes related to unapproved officer salary          15,229 Note 1
         Commission and other services                                 9,867
         Travel                                                        4,973
         Office supplies                                               2,850
         Fuel expense                                                  2,420
         Dues and subscriptions                                        2,030
         Furniture expense                                             1,778
         Parking and tolls                                             1,738
         Other expenses                                                1,029
         Charity contributions                                         1,000
         Repairs and maintenance                                         472
         Taxis and transportation                                        293
         Computer, TV, internet expenses                                  12
         Automobile                                                        7
                                                                  $ 76,742

   C - Reclassification of officer salary totaling $643,889 identified as unapproved salary payments to Diego Agnelli, assuming the employment agreement is unenforceable. If
   Diego Agnelli's employment agreement is deemed enforceable the adjustment would be $117,780, a decrease of $(526,109).

   Note 1: The payroll tax adjustment related to unapproved officer salary totaling $15,229 assumes the employment agreement for Diego Agnelli is unenforceable. If Diego
   Agnelli's employment agreement is deemed enforceable the payroll tax adjustment would be $1,708, a decrease of $(13,521).




The Statement of Revenues and Expenses - Income Tax Basis for the seven and a half months ended August 16, 2020 (Adjusted) of Lennox Miami Corp was not subjected to an
audit, review, or compilation engagement by us and, accordingly, we do not express an opinion, a conclusion, nor provide any assurance. Management has elected to omit the
disclosures ordinarily included in financial statements prepared in accordance with the income tax basis of accounting. These financial statements do not include year-end tax
adjusting entries. Adjustments herein, are based on information available and analyzed as of August 9, 2021.




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available to us at the date of valuation, and the conclusions presented are only as of the effective date(s)
indicated. It is difficult to predict the short- and long-term effects the pandemic may have on capital values.

Based on the appraisal described in the accompanying report, subject to the Limiting Conditions and
Assumptions, Extraordinary Assumptions and Hypothetical Conditions (if any), we have made the following
value conclusion(s):

Value Conclusion
Appraisal Premise                          Interest Appraised   Effective Date of Value   Value Conclusion   Per Room
Retrospective Fair Market Value            Fee Simple                  August 16, 2020         $45,000,000    $378,200


Allocation of Going Concern Value
                                                                             Amount            % of Total
Tangible Property
  Land & Improvements                                                    $41,170,000               91.5%
  Furniture, Fixtures & Equipment (FF&E)                                  $3,830,000                8.5%
  Total Tangible Property                                                $45,000,000              100.0%
Intangible Property                                                               $0                0.0%
Retrospective Fair Market Value                                          $45,000,000              100.0%
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Extraordinary Assumptions and Hypothetical Conditions
The value conclusions are subject to the following extraordinary assumptions that may affect the assignment
results. An extraordinary assumption is uncertain information accepted as fact. If the assumption is found to
be false as of the effective date of the appraisal, we reserve the right to modify our value conclusions.

1. As of the effective date of value, the hotel management indicated that the owner was seeking to
   terminate the food & beverage lease agreement with Mira South Beach LLC because of payment
   delinquency. Based on conversations with a leasing agent, due to the significant impact of the Covid-19
   pandemic in the food & beverage industry, finding a new tenant with similar terms as those in the existing
   contract would be challenging. We have assumed that the restaurant and bars will reopen beginning
   January 2021 and be operated as part of the hotel operation.
2. The subject has currently two personal property taxes IDs with two different assessed values for 2020
   ($5,192,208 and $110,063). It is our understanding that the disparity was caused by administrative errors.
   This has been communicated to the representatives at the Miami-Dade Assessor's office. However, since
   the final personal property tax assessment was not available at the time of the report preparation, we
   have reviewed the personal property tax assessments of comparables and estimated the personal
   property taxes applicable at the subject. We have assumed our estimate is accurate and similar to the final
3. We have assumed the condition of the subject as of the date of value was the same as that on the dates of
   our virtual inspection and physical inspection.
The value conclusions are based on the following hypothetical conditions that may affect the assignment
results. A hypothetical condition is a condition contrary to known fact on the effective date of the appraisal
but is supposed for the purpose of analysis.
1. It was brought to our attention that some of the rooms and public areas of the subject were not ADA
   compliant as of the effective date of value.However, there was no estimate of the cost of the
   remediations. We have made the hypothetical assumption that the hotel was ADA compliant as of the
   effective date of value. Estimating the cost is outside the scope of this assignment. As such, no associated
   cost to cure the deficiency has been deducted in our report. In reality (without the hypothetical
   condition), a knowledgeable buyer would likely deduct an estimated cost to arrive at the market value,
   which could potentially result in a lower value than that reported herein.

If you have any questions or comments, please contact the undersigned. Thank you for the opportunity to be
of service.

Respectfully submitted,
JLL Valuation & Advisory Services




 Charlotte Kang, MAI, FRICS
 Managing Director
 Certified General Real Estate Appraiser
 FL Certificate # RZ3426
 Telephone: (404) 995-2108
 Email: charlotte.kang@am.jll.com
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    A. Appraiser Qualifications
    B. Definitions
    C. Comparable Data




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We certify that, to the best of our knowledge and belief:

     1. The statements of fact contained in this report are true and correct.
     2. The reported analyses, opinions and conclusions are limited only by the reported assumptions and limiting
           conditions, and are our personal, impartial, and unbiased professional analyses, opinions and conclusions.

     3. We have no present or prospective future interest in the property that is the subject of this report, and have no
           personal interest with respect to the parties involved.

     4. We have no bias with respect to the property that is the subject of this report, or to the parties involved with this
           assignment.

     5. Our engagement in this assignment was not contingent upon developing or reporting predetermined results.
     6. Our compensation for completing this assignment is not contingent upon the development or reporting of a
           predetermined value or direction in value that favors the cause of the client, the amount of the value opinion, the
           attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this
           appraisal.

     7. Our analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the
           Uniform Standards of Professional Appraisal Practice (USPAP).

     8. The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity
           with the Code of Professional Ethics and Standards of Professional Appraisal Practice of the Appraisal Institute.

     9. The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized
           representatives.

     10. We certify sufficient competence to appraise this property through education and experience, in addition to the
           internal resources of the appraisal firm.

     11. The appraisers have performed no services, as an appraiser or in any other capacity, regarding the property that is the
           subject of this report within the three-year period immediately preceding the agreement to perform this assignment.

     12. Charlotte Kang, MAI, FRICS and Roberta Oncken made a virtual inspection of the property that is the subject of this
           report. Charlotte Kang, MAI, FRICS also made a physical inspection of the property.

     13. Significant real property appraisal assistance was provided by Roberta Oncken who has not signed this certification.
     14. As of the date of this report, Charlotte Kang has completed the continuing education program for Designated
         Members of the Appraisal Institute.




 Charlotte Kang, MAI, FRICS
 Certified General Real Estate Appraiser
 FL Certificate # RZ3426
 Telephone: (404) 995-2108
 Email: charlotte.kang@am.jll.com




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Property Name                                                              Lennox Hotel Miami Beach
Address                                                                    1900 Collins Avenue
                                                                           Miami Beach, Miami-Dade County, Florida 33139
Property Type                                                              Independent - Upper Upscale
Owner of Record                                                            Lennox Miami Corp
Tax ID                                                                     02-3226-001-0140

Land Area - Total                                                          0.70 acres; 30,483 SF
Flood Zone                                                                 Zone AE, Within 100-year floodplain
Zoning Designation                                                         CD-2, Commercial-Central
Number of Rooms                                                            119
Gross Building Area                                                        71,691 SF
Year Built                                                                 1936
Year Renovated                                                             2019
Type of Construction                                                       Reinforced concrete frame

Highest and Best Use - As if Vacant                                        Hotel use
Highest and Best Use - As Improved                                         Continued hotel use
Exposure Time; Marketing Period                                            6 to 12 months; 6 to 12 months
Effective Date of the Appraisal                                            August 16, 2020
Date of the Report                                                         August 3, 2021
Property Interest Appraised                                                Fee Simple

Franchise Agreement End Date                                               None in place                         Encumbered Upon Sale? No
Hotel Management Agreement End Date                                        August 1, 2024                        Encumbered Upon Sale? No
Union Contract                                                             No

Period                                                                     Fiscal Year Ending July 2020          Year 1                                 Year 4 (Stab. Year)
Occupancy | ADR | RevPAR                                                   31.1% | $283 | $88                    41.1% | $207 | $85                     74.2% | $290 | $215
Total Revenue                                                              $4,330,000                            $4,725,000                             $12,138,000
Gross Operating Profit                                                     $1,417,000                            $1,055,000                             $5,544,000
Property Tax                                                               $118,000                              $340,000                               $366,000
EBITDA after reserves                                                      $1,054,000                            $140,000                               $3,963,000
Management Fee *                                                           3.00%                                 3.00%                                  3.00%
Replacement Reserves *                                                     0.00%                                 2.00%                                  4.00%

Effective Date of Value                                                    August 16, 2020
Holding Period (years)                                                     10
Inflation                                                                  2.50%
Cap Rate | Exit Cap Rate | Discount Rate                                   -| 7.00% | 10.00%
Cost Approach                                                              Not Used
Sales Comparison Approach                                                  $45,200,000
Income Capitalization Approach                                             $45,000,000
Reconciled                                                                 $45,000,000
Value Conclusion                                                           $45,000,000
  Per Room                                                                 $378,151
   * as a % of total revenue
The values reported above are subject to the definitions, assumptions, and limiting conditions set forth in the accompanying report of which this summary is a part. No party other than
Lennox Miami Corp (Client), Shutts & Bowen LLP, Gordon Brothers, and the Court, in the case styled: Agnelli v. Lennox Miami Corp, CASE NO. 20-22800-CIV-SCOLA/TORRES (S.D. Fla. filed
July 8, 2020) may use or rely on the information, opinions, and conclusions contained in the report. It is assumed that the users of the report have read the entire report, including all of
the definitions, assumptions, and limiting conditions contained therein.
This appraisal is subject to extraordinary assumption(s) and hypothetical condition(s) as stipulated in the letter of transmittal. Their use might have affected the
assignment results.




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The subject is the existing Lennox Miami Beach Hotel located in Miami Beach, FL. Originally built in 1936, the
subject opened in August 2019 and has 119 rooms. Amenities include one restaurant, lobby bar, pool bar,
pool, meeting room and fitness center. The subject is operated by a third-party management company. The
underlying site consists of one parcel with a total of 0.70 acres or 30,483 square feet.
Property Identification
Property Name                              Lennox Hotel Miami Beach
Address                                    1900 Collins Avenue
                                           Miami Beach, Florida 33139
Tax ID                                     02-3226-001-0140
Owner of Record                            Lennox Miami Corp
Source: Miami Dade County

Ownership and Transaction History

To the best of our knowledge, no sale or transfer of ownership has occurred within the past three years.



Operating Structure
The subject hotel is operated as an independent property and not subject to any franchise agreement.
However, it is operated by a third-party management company. A management agreement along with
subsequent amendments has been provided for our review.


Hotel Management Agreement - Key Terms Summary
Clause                                   Descriptions
Owner                                    Lennox Miami Corp
Operator                                 Driftwood Hospitality Management II, LLC
Contract Date                            November 8, 2017
Expiration Date                          August 1, 2024
Initial Term                             Five years from hotel opening
Renewal                                  Two consecutive successive periods of five years
Base Management Fee                      3% of Gross Revenues
Incentive Management Fee                 Not specified
Termination Upon Sale                    Yes, if 18 months after the Opening Date
Performance Termination                  Not specified
FF&E Reserve                             Not specified
Encumbered Upon Sale?                    No
Are owner/operator related?              No
Source: Subject Owner




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Scope of Work
According to the Uniform Standards of Professional Appraisal Practice, it is the appraiser’s responsibility to
develop and report a scope of work that results in credible results that are appropriate for the appraisal
problem and intended user(s).

Scope of work is the type and extent of research and analyses involved in an assignment. To determine the
appropriate scope of work for the assignment, we considered the intended use of the appraisal, the needs of
the user, the relevant characteristics of the subject property, and other pertinent factors. Our concluded
scope of work is summarized below, and in some instances, additional scope details are included in the
appropriate sections of the report.

 Summary
 Research                                              We inspected the property via a virtual inspection on December 21,
                                                       2020 and also via a physical inspection on June 24, 2021. Physical
                                                       information on the subject was obtained from the property owner’s
                                                       representative, public records, and/or third-party sources.
                                                       Regional economic and demographic trends, as well as the specifics of
                                                       the subject’s local area were investigated. Data on the local and
                                                       regional property market (supply and demand trends, rent levels, etc.)
                                                       was also obtained. This process was based on interviews with regional
                                                       and/or local market participants, primary research, available
                                                       published data, and other various resources.
                                                       Other relevant data was collected, verified, and analyzed. Comparable
                                                       property data was obtained from various sources (public records,
                                                       third-party data-reporting services, etc.) and confirmed with a party to
                                                       the transaction (buyer, seller, broker, owner, tenant, etc.) wherever
                                                       possible. It is, however, sometimes necessary to rely on other sources
                                                       deemed reliable, such as data reporting services.
 Analysis                                              Based upon the subject property characteristics, prevailing market
                                                       dynamics, and other information, we developed an opinion of the
                                                       property’s Highest and Best Use.
                                                       We analyzed the data gathered using generally accepted appraisal
                                                       methodology to arrive at a probable value indication via each
                                                       applicable approach to value.
                                                       The results of each valuation approach are considered and reconciled
                                                       into a reasonable value estimate.




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Applicable Requirements
This appraisal is intended to conform to the requirements of the Uniform Standards of Professional Appraisal
Practice (USPAP), the Code of Professional Ethics and Standards of Professional Appraisal Practice of the
Appraisal Institute, and applicable state appraisal regulations.

Client, Intended Use, and User(s)
 Client:                                     Lennox Miami Corp

 Intended Use:                               The intended use of the appraisal is to determine the Fair Market Value of the
                                             hotel as of the effective date and to be used by the intendent users to
                                             calculate the fair value of the minority shares of Lennox Miami Corp and any
                                             other purposes Lennox Miami Corp chooses.

 Intended User(s):                           The intended users of the appraisal are Lennox Miami Corp (Client), Shutts &
                                             Bowen LLP, Gordon Brothers, and the Court, in the case styled: Agnelli v.
                                             Lennox Miami Corp, CASE NO. 20-22800-CIV-SCOLA/TORRES (S.D. Fla. filed
                                             July 8, 2020).

Asset Appraised
The subject property is valued on a going concern basis. When a property is valued based upon the going
concern premise, the valuation may include real estate, personal property financial assets and intangible
asset, which constitute the Total Assets of a Business (TAB).

However, it should be noted that some of the assets included in the definition of TAB such as cash on hand,
working capital, accounts receivable, and accounts payable, are not commonly included in the market value
of a lodging and hospitality asset. As such, such items are excluded from our valuation. More specifically, we
have provided an allocation of the contributory value of the real estate, personal property, and business
enterprise value from our concluded value.

Note that the allocation is based upon the continuation of the going concern. If it ceases operations, the
values of the individual components would likely be different than the value allocated to the components
based upon the continuation of the business operation.

Purpose of the Appraisal
The purpose of the appraisal is to estimate the Subject’s:
Appraisal Premise                                     Interest Appraised     Date of Value
Retrospective Fair Market Value                       Fee Simple           August 16, 2020


The date of the report is August 3, 2021. The appraisal is valid only as of the stated effective date or dates.




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Approaches to Value
Appraisers usually consider the use of three approaches to value when developing a market value opinion for
real property. These are the cost approach, sales comparison approach, and income capitalization approach.
Applicability and utilization of the approaches in this assignment is described as follows.
 Approach                Description                                         Applicability     Utilization
 Cost                            A cost approach is most applicable in valuing     Not Applicable        Not Utilized
                                 new or proposed construction when the
                                 improvements represent the highest and best
                                 use of the land and the land value, cost new
                                 and depreciation are well supported.
                                 Given the nature of the property as a historic
                                 hotel building that was renovated, the
                                 reliability of cost estimates and depreciation
                                 estimates could be limited, which could
                                 render the conclusion less meaningful.
                                 Exclusion of the cost approach does not
                                 diminish the credibility of the report.


 Sales Comparison                A sales approach is most applicable when            Applicable            Utilized
                                 sufficient data on recent market transactions
                                 is available and there is an active market for
                                 the property type.
                                 We have placed less weight on the sales
                                 comparison approach in this appraisal
                                 because of the market conditions as of the
                                 effective date of value caused by the COVID-
                                 19 pandemic and the limited transactions
                                 occurring during that time. We have utilized
                                 this approach in general support of the
                                 income approach.
 Income                          An income approach is most applicable when          Applicable            Utilized
                                 the subject is an income producing property
                                 or has the ability to generate income in the
                                 future as an investment.

Prior Services
USPAP requires appraisers to disclose to the client any other services they have provided in connection with
the subject property in the prior three years, including valuation, consulting, property management,
brokerage, or any other services.

           We have not performed any services, as an appraiser or in any other capacity, regarding the property
           that is the subject of this report within the three-year period immediately preceding acceptance of
           this assignment.
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Report Option
 Based on the intended users understanding of the subject's physical, economic and legal characteristics, and
 the intended use of this appraisal, an appraisal report format was used. Appraisal Report is defined as below.
 Appraisal Report         This is an Appraisal Report as defined by Uniform Standards of Professional Appraisal
                          Practice under Standards Rule 2-2(a). This format provides a summary or description of
                          the appraisal process, subject and market data and valuation analyses.

Definition of Values
 Market Value                       The most probable price, as of a specified date, in cash, or in terms equivalent to cash,
                                    or in other precisely revealed terms, for which the specified property rights should sell
                                    after reasonable exposure in a competitive market under all conditions requisite to a
                                    fair sale, with the buyer and seller each acting prudently, knowledgeably, and for self-
                                    interest, and assuming that neither is under undue duress.
                                    Source: Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015), p.141.



 Fair Market Value                  1. In nontechnical usage, a term that is equivalent to the contemporary usage of
                                    market value.2. As used in condemnation, litigation, income tax, and property tax
                                    situations, a term that is similar in concept to market value but may be defined
                                    explicitly by the relevant agency.
                                    Source: Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015), p.86


 Retrospective Value                A value opinion effective as of a specified historical date. The term retrospective does
 Opinion                            not define a type of value. Instead, it identifies a value opinion as being effective at
                                    some specific prior date.
                                    Source: Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015), p.201



 Market Value of the                The market value of all of the tangible and intangible assets of a business as if sold in
 Total Assets of the                aggregate as a going concern.
 Business
                                    Source: Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015), p. 143



 Market Value of the                The market value of an established and operating business including the real
 Going Concern                      property, personal property, financial assets, and the intangible assets of the
                                    business.

                                    Source: Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015), p. 143




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Definition of Property Rights Appraised

 Fee simple estate                 Absolute ownership unencumbered by any other interest or estate, subject only to the
                                   limitations imposed by the governmental powers of taxation, eminent domain, police
                                   power, and escheat.
                                    Source: Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015)


Inspection
Charlotte Kang, MAI, FRICS and Roberta Oncken, conducted a virtual interior and exterior inspection of the
property on December 21, 2020. Charlotte Kang, MAI, FRICS conducted a physical interior and exterior
inspection of the property on June 24, 2021.


Compensation
The compensation received for this appraisal was $16,500 (Sixteen thousand five hundred dollars). Additional
compensation of $4,800 (Four thousand and eight hundred dollars) was received for the physical inspection
conducted on June 24, 2021. The compensation for time spent regarding the preparation for and testimony
will occur based on hourly rates ($600 per hour for Managing Director and $300 per hour for Vice President).

Significant Appraisal Assistance
It is acknowledged that Roberta Oncken made a significant professional contribution to this appraisal,
consisting of participating in the virtual property inspection, conducting research on the subject and
transactions involving comparable properties, performing appraisal analyses, and assisting in report writing,
under the supervision of the persons signing the report.




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Miami MSA Area Demographics
The subject is located in the Miami-Fort Lauderdale-West Palm Beach, FL Metropolitan Statistical Area,
hereinafter called the Miami MSA, as defined by the U.S. Office of Management and Budget. The Miami MSA is
5,066 square miles in size and is the eighth most populous metropolitan area in the nation.

Population
The Miami MSA has an estimated 2020 population of 6,140,484, which represents an average annual 1.0%
increase over the 2010 census amount of 5,564,635. Miami MSA added an average of 57,585 residents per year
over the 2010 - 2020 period, and its annual growth rate is less than that of the State of Florida.


Population Trends
                                                                     Population                      Compound Ann. % Chng
Area                                                  2010 Census      2020 Est.       2025 Est.   2010 - 2020 2020 - 2025
1 mi. radius                                               19,890        20,892          21,382           0.5%        0.5%
3 mi. radius                                               57,305        60,251          62,146           0.5%        0.6%
5 mi. radius                                              192,630       239,304         265,363           2.2%        2.1%
Miami-Dade County                                       2,496,435     2,759,670       2,894,298           1.0%        1.0%
Miami MSA                                               5,564,635     6,140,484       6,440,580           1.0%        1.0%
Florida                                                18,801,310    21,587,015      23,056,641           1.4%        1.3%
United States                                         308,745,538   333,793,107     346,021,282           0.8%        0.7%


Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



Looking forward, the Miami MSA’s population is projected to increase at a 1.0% annual rate from 2020 - 2025,
equivalent to the addition of an average of 60,019 residents per year. The Miami MSA growth rate is expected
to lag that of Florida, which is projected to be 1.3%.

Employment
The 2019 estimate of total employment in the Miami MSA is 2,718,125 jobs. Since 2010, employment grew by
522,908 jobs, equivalent to a 23.8% gain over the entire period. Employment increased every year over that
same period of time despite the national economic downturn and slow recovery.

The Miami MSA's rate of change in employment underperformed the State of Florida, which experienced an
increase in employment of 24.8% or 1,777,417 over this period.




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Employment Trends
                                                   Total Employment (Annual Average)                                               Unemployment Rate (Ann. Avg.)
                                                                                                                                Miami-
              Miami-Dade                                                                                                          Dade                          United
Year                County Change Miami MSA Change                          Florida Change United States Change                 County Miami MSA       Florida States
2006            1,007,587        - 2,400,225      -                      7,985,267        - 136,435,417        -                  2.8%      3.1%         3.2% 4.6%
2007             1,014,998   0.7%  2,422,883  0.9%                       8,000,808    0.2% 137,981,250     1.1%                   3.1%      3.6%         4.0% 4.6%
2008             1,006,416 -0.8%   2,359,650 -2.6%                       7,717,375 -3.5% 137,223,833 -0.5%                        4.8%      5.5%         6.3% 5.8%
2009               950,977 -5.5%   2,213,225 -6.2%                       7,234,667 -6.3% 131,296,083 -4.3%                       10.4%     10.0%        10.4% 9.3%
2010               947,091 -0.4%   2,195,217 -0.8%                       7,175,192 -0.8% 130,345,000 -0.7%                       11.1%     10.8%        11.0% 9.6%
2011               970,129   2.4%  2,234,100  1.8%                       7,254,833    1.1% 131,914,417     1.2%                   9.4%      9.6%        10.0% 9.0%
2012               992,676   2.3%  2,286,883  2.4%                       7,399,792    2.0% 134,157,417     1.7%                   8.3%      8.2%         8.5% 8.1%
2013             1,017,400   2.5%  2,349,150  2.7%                       7,585,525    2.5% 136,363,833     1.6%                   7.4%      7.1%         7.2% 7.4%
2014             1,046,237   2.8%  2,428,308  3.4%                       7,827,892    3.2% 138,939,750     1.9%                   6.7%      6.3%         6.3% 6.2%
2015             1,079,316   3.2%  2,510,708  3.4%                       8,110,750    3.6% 141,824,917     2.1%                   5.9%      5.5%         5.5% 5.3%
2016             1,107,359   2.6%  2,585,042  3.0%                       8,388,283    3.4% 144,335,833     1.8%                   5.3%      4.9%         4.8% 4.9%
2017             1,122,550   1.4%  2,631,475  1.8%                       8,572,042    2.2% 146,607,583     1.6%                   4.5%      4.3%         4.2% 4.4%
2018             1,144,432   1.9%  2,681,583  1.9%                       8,782,917    2.5% 148,908,417     1.6%                   3.5%      3.5%         3.6% 3.9%
2019             1,164,271   1.7%  2,718,125  1.4%                       8,952,608    1.9% 150,939,333     1.4%                   2.4%      2.8%         3.1% 3.7%
10 Yr Change       217,180 22.9%     522,908 23.8%                       1,777,417 24.8%     20,594,333 15.8%
Avg Unemp. Rate 2010-2019                                                                                                          6.5%           6.3%                    6.4%   6.2%
Unemployment Rate - Nov 2020                                                                                                       7.4%           7.0%                    6.3%   6.4%

Source: Bureau of Labor Statistics. County employment is from the Quarterly Census of Employment & Wages (QCEW), all other areas use the Current Employment Survey (CES).
Unemployment rates use the Current Population Survey (CPS). Data is not seasonally adjusted.



                                              Employment / Unemployment Historical Trends
                         3,000                                                                                                                  12.0%

                                                                                                                                                11.0%
                         2,500
                                                                                                                                                10.0%

                                                                                                                                                9.0%
  Employment [x 1,000]




                         2,000




                                                                                                                                                           Unemployment
                                                                                                                                                8.0%

                         1,500                                                                                                                  7.0%

                                                                                                                                                6.0%
                         1,000
                                                                                                                                                5.0%

                                                                                                                                                4.0%
                          500
                                                                                                                                                3.0%

                            0                                                                                                                   2.0%
                                 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019
                                              Miami-Dade County Emp.             Miami MSA Emp.
                                              Florida Emp.                       Miami-Dade County Unemp.
                                              Miami MSA Unemp.                   Florida Unemp.
                                              US Unemp.




Source: Bureau of Labor Statistics. County employment is from the Quarterly Census of Employment & Wages (QCEW), all other areas use the Current Employment
Survey (CES). Unemployment rates use the Current Population Survey (CPS). Data is not seasonally adjusted.




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                                                   Employment % Growth Year-Over-Year
                      6.0%


                      4.0%


                      2.0%
  Employment Growth




                      0.0%
                              2006   2007   2008   2009   2010   2011    2012   2013     2014    2015   2016     2017   2018   2019

                      -2.0%


                      -4.0%


                      -6.0%


                      -8.0%


                                      Miami-Dade County Emp.            Miami MSA Emp.            Florida Emp.          US Emp.



Source: Bureau of Labor Statistics. County employment is from the Quarterly Census of Employment & Wages (QCEW), all other areas use the Current Employment
Survey (CES). Unemployment rates use the Current Population Survey (CPS). Data is not seasonally adjusted.



A comparison of unemployment rates is another way of gauging an area’s economic health, where a higher
unemployment rate is a negative indicator. Over the past decade, the Miami MSA unemployment rate of 6.3%
has been lower than the Florida rate of 6.4%. In the latter half of the decade that trend has continued, as the
Miami MSA has consistently overperformed Florida. Employment rates have been affected by the Covid-19
pandemic. Data shows that the Miami MSA unemployment rate is 7.0%, in comparison to a 6.3% rate for
Florida, a negative sign for the Miami MSA economy.

Employment Sectors
The composition of the Miami MSA job market is illustrated in the chart below, paired with that of Florida.
Total employment for the areas is stratified by eleven major employment sectors, ranked from largest to
smallest based on the percentage of Miami MSA jobs in each sector.




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                                                 Employment Sectors - 2020
                                                0%             5%               10%      15%         20%          25%       30%
            Trade, Transportation, Utilities

                Education, Health Services

                             Other Services

                        Leisure, Hospitality

            Professional, Business Services

                         Financial Activities

                               Construction

                             Manufacturing

                               Government

                                Information

                 Natural Resources, Mining


                        Miami-Dade County                           Miami MSA            Florida           United States



Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



The Miami MSA has a greater percentage employment than Florida in the following categories:
       1. Trade, Transportation, Utilities - which accounts for 21.4% of Miami MSA payroll employment
           compared to 20.0% for Florida as a whole. This sector includes jobs in retail trade, wholesale
           trade, trucking, warehousing, and electric, gas, and water utilities.
            2. Other Services - which accounts for 11.7% of Miami MSA payroll employment compared to 10.8%
               for Florida as a whole. This sector includes establishments that do not fall within other defined
               categories, such as private households, churches, and laundry and dry cleaning establishments.
            3. Professional, Business Services - which accounts for 8.4% of Miami MSA payroll employment
               compared to 7.9% for Florida as a whole. This sector includes legal, accounting, and engineering
               firms, as well as management of holding companies.
            4. Financial Activities - which accounts for 8.3% of Miami MSA payroll employment compared to
               8.1% for Florida as a whole. Banking, insurance, and investment firms are included in this sector,
               as are real estate owners, managers, and brokers.
The Miami MSA is underrepresented in the following categories:
       1. Education, Health Services - which accounts for 21.2% of Miami MSA payroll employment
           compared to 22.0% for Florida as a whole. This sector includes employment in public and private
           schools, colleges, hospitals, and social service agencies.


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           2. Leisure, Hospitality - which accounts for 10.0% of Miami MSA payroll employment compared to
              10.7% for Florida as a whole. This sector includes employment in hotels, restaurants, recreation
              facilities, and arts and cultural institutions.
           3. Government - which accounts for 3.6% of Miami MSA payroll employment compared to 4.4% for
              Florida as a whole. This sector includes public administration at the federal, state, and county
              level, as well as other government positions.
           4. Manufacturing - which accounts for 4.8% of Miami MSA payroll employment compared to 5.3% for
              Florida as a whole. This sector includes all establishments engaged in the manufacturing of
              durable and nondurable goods.


Major Employers
The table below contains major employers in the Miami MSA.
Major Employers - Miami MSA
   Name                                                                                          Employees
1 Publix Super Markets Inc.                                                                     50,241
2 Tenet Healthcare Corp.                                                                        24,136
3 HCA East Florida Division Office                                                              15,000
4 University of Miami                                                                           12,818
5 Jackson Health System                                                                         12,100
6 Memorial Healthcare System                                                                    11,500
7 Baptist Health Systems of Southern Florida                                                    11,353
8 American Airlines                                                                             11,031
9 Miami Cardio Vascular Institute                                                               10,000
10 Broward Health                                                                               8,234
11 Comcast                                                                                      8,000
12 Nova Southeastern University                                                                 7,462
13 AT&T                                                                                         6,629
14 Winn-Dixie Stores                                                                            6,000
15 West Kendall Outpatient Center                                                               5,000
16 NextEra Energy/Florida Power & Light Co.                                                     4,005
17 AutoNation                                                                                   4,000
18 The Continental Group                                                                        3,900
19 Florida International University                                                             3,534
20 Carnival Cruise Lines                                                                        3,500
Sources(s): City of Pompano Beach, 2017; Greater Fort Lauderdale Alliance, 2017; City of Miami Beach, 2016; City of Miami, 2016; Florida Research
and Economic Information Database, 2017; South Florida Business Journal Book of Lists, 2017; Business Development Board of Palm Beach
County, 2017; City of Delray Beach, 2017; City of West Palm Beach, 2017



Household Income
The Miami MSA has a higher level of household income than Florida. Median household income for the Miami
MSA is $57,562, which is 2.1% higher than Florida.



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Median Household Income
                                                                          Med. Household Income              Compound Ann. % Chng
Area                                                                     2020 Est.            2025 Est.                2020 - 2025
Miami-Dade County                                                         $53,726               $57,987                       1.5%
Miami MSA                                                                 $57,562               $62,562                       1.7%
Florida                                                                   $56,362               $60,749                       1.5%
United States                                                             $62,203               $67,325                       1.6%
                             l db           l           d

Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



                         2020 Median Household Income Area Comparison
                        $48,000         $50,000          $52,000    $54,000   $56,000   $58,000    $60,000      $62,000   $64,000


 Miami-Dade County



            Miami MSA



                 Florida



         United States




Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



The Miami MSA has a comparable concentration of households in the lower income levels than Florida.
Specifically, 30% of the Miami MSA households are below the $35,000 level in household income as compared
to 30% of Florida households. A greater concentration of households exists in the higher income levels, as
39% of the Miami MSA households are at the $75,000 or greater levels in household income versus 38% of
Florida households.




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                       2020 Median Household Income Distribution
                           0%             2%            4%          6%   8%      10%     12%         14%   16%        18%


        $15,000-$24,999



        $25,000-$34,999



        $35,000-$49,999



        $50,000-$74,999



        $75,000-$99,999



     $100,000-$149,999



     $150,000-$199,999



     $200,000 or greater


                                             Miami-Dade County           Miami MSA         Florida         United States



Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



Education and Age
Residents of the Miami MSA have a higher level of educational attainment than those in Florida. An estimated
33.6% of the Miami MSA residents are college graduates with four-year degrees or higher, while Florida
residents have an estimated 31.0% with at least a four-year degree. People in the Miami MSA are younger than
their peers in Florida. The median age of the Miami MSA is 41 years, while Florida is 43 years.




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    Population % with at least 4-Year Degree                                                   Median Age
                      0%        10%         20%        30%          40%   50%   60%     10        20        30       40        50

       1 mi. radius

       3 mi. radius

       5 mi. radius

      Miami-Dade…

        Miami MSA

            Florida

     United States




Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



Conclusion
We acknowledge that the outbreak of the COVID‐19 pandemic and subsequent social distancing and stay at
home orders have caused significant market uncertainty as of the effective date of value. While we do not
expect a long‐term effect on the market, it is reasonable to expect that during the near‐term, overall market
economics in the metro area and submarket will not increase at similar levels experienced over the past few
years. Thus, our assumptions used to project near term market conditions throughout our analysis reflect this
sentiment consistent with current market views. However, the Miami MSA's economy will benefit from a
growing population base, and higher income and education levels.




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Surrounding Area Analysis
Boundaries
The subject is located within the South Beach submarket, which is generally bound as follows:
North            Dade Boulevard
South            5th Street
East             Atlantic Ocean
West             Biscayne Bay

Surrounding Demographics
A snapshot of the surrounding area demographics, including population, households, and income data, is
displayed in the following table.

Surrounding Area Demographics
                                                                                         Miami-Dade                                United
                                           1 mi. radius 3 mi. radius 5 mi. radius            County    Miami MSA       Florida     States
Population
 2010                                            19,890             57,305    192,630      2,496,435    5,564,635   18,801,310 308,745,538
 2020                                            20,892             60,251    239,304      2,759,670    6,140,484   21,587,015 333,793,107
 2025                                            21,382             62,146    265,363      2,894,298    6,440,580   23,056,641 346,021,282
 Compound Chg 2010 - 2020                        0.49%              0.50%      2.19%          1.01%        0.99%        1.39%       0.78%
 Compound Chg 2020 - 2025                        0.46%              0.62%      2.09%          0.96%        0.96%        1.33%       0.72%
 Density                                          6,655              2,131      3,047          1,454        1,212          403          95
Households
 2010                                            11,585             32,381     95,929       867,352     2,097,626    7,420,802 116,716,292
 2020                                            11,990             33,468    119,836       951,252     2,289,532    8,438,100 126,083,849
 2025                                            12,182             34,336    132,926       995,690     2,393,417    8,989,496 130,658,485
 Compound Chg 2010 - 2020                        0.34%              0.33%      2.25%         0.93%         0.88%        1.29%       0.77%
 Compound Chg 2020 - 2025                        0.32%              0.51%      2.10%         0.92%         0.89%        1.27%       0.72%
Other Demographics
 Med. Household Income                         $55,743          $64,170       $59,318       $53,726      $57,562      $56,362     $62,203
 Avg. Household Size                                1.7             1.8            2.0           2.9          2.7         2.5          2.6
 College Graduate %                             51.4%            55.8%         49.8%         30.8%        33.6%        31.0%       33.1%
 Median Age                                         41               43             39           39            41          43           39
 Owner Occupied %                                 29%              33%           35%           49%          58%          65%         64%
 Renter Occupied %                                71%              67%           65%           51%          42%          35%         36%
 Med. Home Value                              $418,981         $580,682      $452,776      $307,701     $298,694     $237,555    $235,127

Source: ESRI. Compiled by JLL Valuation & Advisory Services, LLC.



As illustrated above, the current population within a three-mile radius of the subject is 60,251, and the
average household size is 1.8. Population in the area has risen since the 2010 census, and this trend is
expected to continue in the ensuing five years. The pace of population growth within a three-mile radius is
projected to be less than that of the Miami MSA overall.




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Median household income is $64,170, which is considerably higher than the household income for the Miami
MSA as a whole. The populace within a three-mile radius has a notably higher level of formal college
education than residents in the Miami MSA, and median home values in the area are also substantially higher.


Neighborhood Overview

The Hotel is surrounded by a mixture of hotel, commercial and residential developments. The hotel has a
corner location in the intersection of Collins Avenue and 19th Street. To the north of the Subject is the Baoli
Restaurant and to the south, across the street, is the Dorchester Hotel. To the west of the Subject along 19th St
are mostly residences.

Major demand drivers in the local market include the beach, retail and entertainment as well as the Miami
Beach Convention Center.


Access and Linkages
The subject is located along Collins Avenue/Florida A1A, which is the primary thoroughfare in Miami Beach
providing north-south access. The area is served by public transportation with the nearest bus stop in the
immediate vicinity of the subject along Collins Avenue. The subject has a walk score of 89 indicating an above
average walkability factor. The subject is most commonly accessed via car or on foot.

The following table presents a summary of the convenience of walking and biking to amenities in the
neighborhood around the subject property, as well as its accessibility to public transportation.

Walk, Bike, and Transit Information
Metric                           Rating (0-100)          Description
Walk Score                                   89          Very Walkable
Bike Score                                   68          Bikeable
Transit Score                                61          Good Transit
Mass Transit         Mi. from Subj. Location
 Nearest Bus Stop           < 0.5 mi. Collins Av & 20 St
Summary: 11 nearby routes: 11 bus, no rail/other

Source: Walkscore.com . Compiled by JLL Valuation & Advisory Services, LLC.



The nearest commercial airport is the Miami International Airport and is located within 13 miles of the subject
property.

Safety and Support Services
The nearest police and fire stations are within one and one and a half miles, respectively.




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Outlook and Conclusion
The subject’s area is one of the most notable tourist destinations in the United States and construction and
redevelopment activity has been relatively steady. However, given the current COVID-19 pandemic, it is
concluded that the subject’s area is in the recession stage of its life cycle as of the effective date of value. As
the pandemic eases in the future, it is anticipated that the market will improve and recover, strengthening the
demand for real estate overall.




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Land Description
Physical Characteristics
Shape:                                                              Irregular
Corner Location:                                                    Yes
Primary Street Frontage:                                            1900 Collins Avenue
Traffic Volume Rating:                                              High
Access Rating:                                                      Excellent
Visibility Rating:                                                  Excellent
Functional Utilitiy:                                                Excellent
Topography:                                                         Level
Drainage:                                                           No drainage problems were observed or disclosed to us during our
                                                                    inspection. This appraisal assumes that surface water collection is
                                                                    adequate and there are no drainage issues that impact value.
Soil Conditions:                                                    Appear typical of the region and adequate to support development

Wetlands/Watershed:                                                 None noted
Flood Zone
FEMA Map Number:                                                    12086CO317L
FEMA Map Date:                                                      9/11/2009
Flood Zone Designation:                                             AE
Flood Zone Description:                                             Within 100-year floodplain
Insurance Required?                                                 Yes

Utilities
Utilities:                                                          All public utilities are available to the site including public water and
                                                                    sewer, gas, electric, and telephone
Utilities Adequacy:                                                 Typical/Adequate




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Zoning Analysis
Zoning Jurisdiction                                                 Miami Dade County
Zoning Designation                                                  CD-2
Description                                                         Commercial-Central
Permitted Uses                                                      General commercial use including apartments, hotels, bars and
                                                                    restaurants
Legally Conforming?                                                 Appears to be legally conforming
Zoning Change Likely?                                               Unlikely

Other Land Use Regulations                                          We are not aware of any other land use regulations that would affect
                                                                    the property.
Zoning Comments                                                     None

We are not experts in the interpretation of zoning ordinances. An appropriately qualified land use attorney
should be engaged if a determination of compliance is required.


Encumbrance/Easements/Restrictions
Based upon a review of the deed and property survey, there do not appear to be any easements,
encroachments, or restrictions that would adversely affect value. Our valuation assumes no adverse impacts
from easements, encroachments, or restrictions, and further assumes that the subject has clear and
marketable title.

Seismic Activity
A geological survey has not been provided or obtained. We are not aware that the subject is located near or
within fault line or areas for earthquakes or liquefaction zone. We are not qualified to determine if fault lines
or areas do or do not affect the subject property. If such concerns exist, we recommend obtaining an
engineering study relating to the geological stability of the Site and surrounding areas.


Environmental Hazards
An environmental assessment was not provided for review. No environmental hazards were apparent from
inspection and it is assumed the Subject is free and clear of any environmental hazards including, without
limitation, hazardous waste, toxic substances and mold.


Overall Site Utility
Overall, the physical characteristics of the site and the availability of utilities result in functional utility
suitable for a variety of uses including those permitted by zoning.




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Improvements Description
The subject is the existing Lennox Miami Beach Hotel located in Miami Beach, FL. Originally built in 1936, the
subject opened in August 2019 and has 119 rooms. Amenities include one restaurant, lobby bar, pool bar,
pool, meeting room and fitness center. The subject is operated by a third-party management company. The
underlying site consists of one parcel with a total of 0.70 acres or 30,483 square feet.

The Subject is composed by four buildings including the former Peter Miller Hotel (a historic hotel building)
and three other buildings that were all converted into one hotel.

Improvements Summary
Overall Property                              Subject
Name of Property                              Lennox Hotel Miami Beach
General Property Type                         Hotel
Property Subtype                              Upper Upscale
Hotel Brand                                   Independent
Entry Type                                    Interior and Exterior
Occupancy Type                                Independent and Third-Party Operated
Number of Buildings                           4
Stories                                       4/2/2/5
Construction Class                            B
Construction Type                             Reinforced concrete frame
Construction Quality                          Excellent
Condition                                     Excellent
Number of Rooms                               119
Rooms per Acre (Density)                      170.1
Gross Building Area (SF)                      71,691
Floor Area Ratio (GBA/Land SF)                2.35
Building Area Source                          Public Records
Year Built                                    1936
Year Renovated                                2019
Actual Age (Yrs.)                             84
Estimated Effective Age (Yrs.)                1
Total Economic Life (Yrs.)                    60
Remaining Economic Life (Yrs.)                59
Number of Parking Spaces                      24
Source of Parking Count                       Hotel Management
Parking Type                                  Underground
Parking Spaces/Room                           0.2




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Guestrooms
The subject’s room type mix and in-room features are presented in the following tables.

Room Mix

Room Type                                                           Count
King Bed                                                               55
Queen Bed                                                              30
Double Room                                                            34

Total                                                                119
Source: Hotel Management



Room Features
Features                                             At Subject
Work desk                                                X
Arm chair                                                X
Sleeper Sofa
Television                                                 X
Pay-Per-View                                               X
Iron / Board                                               X
Hair Dryer                                                 X
Coffee Maker                                               X
Jacuzzi
Wireless Internet                                          X
Wired Internet                                             X
Keycard Access                                             X
In-room Safe                                               X
Mini-Fridge                                                X
Microwave
Kitchenette
Tub shower
Walk-in shower                                             X




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Hotel Amenities
Amenities                                   At Subject      Comments
Restaurant                                      X           One restaurant
Bar / Lounge                                    X
Meeting Space                                   X           One 12-persons board room
Market/Pantry
Gift Shop
Parking                                          X          Underground
Indoor Swimming Pool
Outdoor Swimming Pool                            X
Fitness Center                                   X
Business Center
Guest Laundry
Vending Machine                                  X
Wireless Internet                                X




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Hazardous Substances
An environmental assessment report was not provided for review and environmental issues are beyond our
scope of expertise. No hazardous substances were observed during our inspection of the improvements;
however, we are not qualified to detect such substances. Unless otherwise stated, we assume no hazardous
conditions exist on or near the subject.

Improvements Analysis
The following sections describe our analysis of the improvements

Quality and Condition

The hotel opened in August of 2019.The improvements are of excellent quality construction and are in
excellent condition.

The quality of the subject is considered to be superior to that of competing properties, and maintenance
appears to have been consistent with superior to that of competing properties. Overall, the market appeal of
the subject is superior to that of competing properties.

Functional Utility
The improvements appear to be adequately suited to their current use. Our inspection did not reveal any
significant items of functional obsolescence.

Planned Capital Expenditures
It is our understanding that no capital expenditures are planned at the property during the near term.


Conclusion of Improvements Analysis

Overall, the quality, condition, and functional utility of the improvements are above average for their age and
location.




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Subject Photographs – December 21, 2020




Façade                                                              Front Desk
(Photo Taken on December 21, 2020)                                  (Photo Taken on December 21, 2020)




Boardroom                                                           Restaurant
(Photo Taken on December 21, 2020)                                  (Photo Taken on December 21, 2020)




Terrace                                                             Lobby Bar
(Photo Taken on December 21, 2020)                                  (Photo Taken on December 21, 2020)



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Pool                                                                Pool Bar
(Photo Taken on December 21, 2020)                                  (Photo Taken on December 21, 2020)




Fitness Center                                                      Double Queen Room
(Photo Taken on December 21, 2020)                                  (Photo Taken on December 21, 2020)




King Room                                                           Bathroom
(Photo Taken on December 21, 2020)                                  (Photo Taken on December 21, 2020)




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Subject Photographs – June 24, 2021




Lobby                                                               Pool
(Photo Taken on June 24, 2021)                                      (Photo Taken on June 24, 2021)




Boardroom                                                           Restaurant
(Photo Taken on June 24, 2021)                                      (Photo Taken on June 24, 2021)




King Room                                                           Fitness Center
(Photo Taken on June 24, 2021)                                      (Photo Taken on June 24, 2021)



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Assessment and Taxes

The Subject Hotel is located in the taxing jurisdiction of Miami-Dade County and its real estate parcel ID is
identified as 02-3226-001-0140.
Real estate in the State of Florida is assessed at the fair market value, as determined by the Miami-Dade
County Property Appraiser’s Office. The tax is levied on the assessed value of the property. In Florida, the
property’s assessed value equals to 100% of the fair market value less any exemptions unless otherwise
specified by law. In the case of commercial property such as the Subject, the non-homestead cap limits
annual increases in assessed value to 10% in the absence of a change of ownership. As a result, any increase in
the assessed value of the property in excess of 10% qualifies as an exemption.
The assessment cycle is annual. A change of property ownership or completion of new construction on real
property does not trigger a reassessment before the assessment cycle.
The tax bills received by property owners from the counties will include both the fair market value and the
assessed value of the property. Fair market value as it relates to taxes means "the amount a knowledgeable
buyer would pay for the property and a willing seller would accept for the property at an arm's length, bona
fide sale."
Tax rates are based on the City of Miami Beach and Miami-Dade County budgets, which change annually. Tax
rates have remained stable in the area from 2016 to 2018 but have increased in 2019. The base year's property
tax burden is calculated by multiplying the estimated market value of the Subject Property determined by this
appraisal with the stabilized tax rate.


The following table summarizes the Subject’s historical fair market value, assessed value and taxes.

Property Tax Assessment
 Assessing Jurisdiction                                 Miami Dade County
 Current Tax Year                                       2020, from January 1, 2020 to December 31, 2020
 Assessment Date of Value                               January 1, 2020
 Assessment Cycle (years)                               Every Year
 Next Assessment Date                                   January 1, 2021
 Does sale trigger reassessment?                        No




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Property Tax History
Real Estate
Tax Year                                                                  2020          2019           2018
Real Property - 02-3226-001-0140
Market Value
  Land                                                               $8,824,200    $6,096,600     $4,173,045
  Improvements                                                       $7,175,800       $12,585         $7,809
Total Market Value                                                  $16,000,000    $6,109,185     $4,180,854
Assessment Ratio
  Land                                                                   100%          100%           100%
  Improvements                                                           100%          100%           100%
Total Assessment Ratio                                                   100%          100%           100%
Assessed Value
  Land                                                               $8,824,200    $6,096,600     $4,173,045
  Improvements                                                       $7,175,800       $12,585         $7,809
  Ancillary / Special Features                                               $0            $0             $0
Total Assessed Value                                                $16,000,000    $6,109,185     $4,180,854
Non-Homestead Cap
  Land                                                                   100%          100%             84%
  Improvements                                                           100%          100%             84%
Total Non-Homestead Cap                                                  100%          100%             84%
Taxable Value
  Land                                                               $8,824,200    $6,096,600     $3,485,757
  Improvements                                                       $7,175,800       $12,585         $6,523
  Ancillary / Special Features                                               $0            $0             $0
Total Taxable Value                                                 $16,000,000    $6,109,185     $3,492,280
Millage Rate
  Land                                                                  1.936%        1.938%         1.880%
  Improvements                                                          1.936%        1.938%         1.880%
Total Millage Rate                                                      1.936%        1.938%         1.880%
Direct / Special Assessments
  Direct / Special Assessments                                              $0            $0             $0
Total Direct / Special Assessments                                          $0            $0             $0
Real Estate Tax
  Land                                                                $170,832      $118,143         $65,547
  Improvements                                                        $138,921          $244            $123
  Ancillary / Special Features                                              $0            $0              $0
  Direct / Special Assessments                                              $0            $0              $0
Total Real Estate Tax                                                 $309,753      $118,387         $65,670
Effective Tax Rate                                                    1.9360%       1.9379%         1.5707%
[Tax Amount ÷ Market Value ]




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Real Estate Tax Comparables
                                                                                        Total Market    Total Market
No.        Property Name                                                  Rooms                Value    Value/Room     Total Taxes   Taxes/Room
1          Hyatt Centric                                                     105         $31,400,000       $299,048      $583,575         $5,558
2          The Gale                                                           87         $18,700,000       $214,943      $318,354         $3,659
3          The Redbury                                                        69         $16,500,000       $239,130      $319,433         $4,629
4          The Betsy                                                         125         $22,000,000       $176,000      $371,994         $2,976
5          Plymouth                                                          100         $12,000,000       $120,000      $186,530         $1,865
Subject Lennox Hotel Miami Beach                                             119        $16,000,000       $134,454      $309,753         $2,603



Tax assessments for comparable properties range from $120,000 to $299,048 per room, as compared with the
subject at $134,454 per room. On balance, the subject’s appears reasonable.

Personal Property
The subject is currently listed with two different Personal Property ID’s. The ID 50-000-863 has an assessed
value of $5,192,208 and the ID 50-006-374 has an assessed value of $110,063 for 2020. According to hotel
management, ID 50-006-374 is the correct one that was filed by the subject’s accountants. The issue is being
addressed with the Assessor, but it is uncertain to us what the final assessed value is. Due to the considerable
difference in the values, we have analyzed the personal property assessed values of the properties in the
competitive set as presented in the table below.

Personal Property Tax Comparables - 2020
                                                                    Personal Property             Total   Total
No.          Property Name                         Rooms               Assessed Value      Value/Room     Taxes        Taxes/Room
1            Hotel Victor                              91                    $703,313           $7,729 $13,567                $149
2            The Gale                                  87                  $1,049,545          $12,064 $20,246                $233
3            Kimpton Anglers                          132                  $5,447,288          $41,267 $105,078               $796
4            The Betsy                                125                  $1,076,189           $8,610 $20,760                $166
5            Plymouth                                 100                    $936,467           $9,365 $18,064                $181
6            COMO                                      74                     $25,631             $346     $494                 $7
             Average                                                                          $13,230
Source: Miami-Dade Property Appraiser Site

The personal property assessed values ranged from $346 to $41,267 per room, with an average of $13,230. We
have considered that the preceding average assessed value per room to be reasonable, and have applied it
to the subject’s 119 rooms, resulting in an estimated personal property assessed value of $1,574,370. The
millage in 2020 was 1.936% which equates to personal property taxes in the amount of $30,480.

In 2018 and 2019 there were no personal property taxes because the subject was still under construction.




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Total Property Taxes

The table below presents the total property taxes estimated for the subject, including the real estate taxes
and personal property taxes.

Total Property
Tax Year                                                                  2020          2019           2018
Lennox Hotel Miami Beach
Real estate value                                                   $16,000,000    $6,109,185     $4,180,854
Personal property value                                              $1,574,370            $0             $0
Market Value                                                        $17,574,370    $6,109,185     $4,180,854
Assessment Ratio                                                          100%          100%           100%
Assessed Value                                                      $17,574,370    $6,109,185     $4,180,854
Non-Homestead Cap                                                         100%          100%            84%
Taxable Value                                                       $17,574,370    $6,109,185     $3,492,280
Millage Rate                                                           1.9360%        1.938%         1.880%
Total Property Tax                                                     $340,233      $118,387        $65,670
Effective Tax Rate                                                     1.9360%       1.9379%        1.5707%
[Tax Amount ÷ Market Value ]




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National Trends
The following graph summarizes the U.S. hotel performance trends during the calendar year periods from
2001 to 2019, as measured by average daily rate (ADR), room revenue per available room (RevPAR) and
occupancy.

United States Lodging Market Performance
                         Occupancy                              ADR              RevPAR         Supply   Demand Room Revenue
Year                  This Year Change                   This Year Change   This Year Change    Change    Change      Change
2001                     59.8%     -                       $84.45    -        $50.49     -         -         -             -
2002                     59.0%    -1.3%                    $83.15   -1.5%     $49.04    -2.9%     1.8%       0.8%       -0.7%
2003                     59.1%     0.2%                    $83.11    0.0%     $49.11     0.1%     1.3%       1.6%        1.6%
2004                     61.3%     3.7%                    $86.24    3.8%     $52.88     7.7%     1.0%       4.6%        8.8%
2005                     63.1%     2.9%                    $90.95    5.5%     $57.39     8.5%     0.4%       3.3%        8.8%
2006                     63.3%     0.3%                    $97.89    7.6%     $61.96     8.0%     0.6%       1.1%        8.1%
2007                     63.1%    -0.4%                   $104.04    6.3%     $65.61     5.9%     1.4%       1.2%        7.2%
2008                     60.3%    -4.4%                   $106.96    2.8%     $64.49    -1.7%     2.7%      -1.6%        0.7%
2009                     54.5%    -9.6%                    $98.17   -8.2%     $53.50 -17.0%       3.2%      -5.8%      -14.1%
2010                     57.5%     5.5%                    $98.06   -0.1%     $56.43     5.5%     2.0%       7.7%        7.6%
2011                     59.9%     4.2%                   $101.85    3.9%     $61.02     8.1%     0.6%       5.0%        8.8%
2012                     61.3%     2.3%                   $106.25    4.3%     $65.15     6.8%     0.5%       3.0%        7.3%
2013                     62.2%     1.5%                   $110.30    3.8%     $68.58     5.3%     0.7%       2.2%        6.2%
2014                     64.4%     3.5%                   $114.92    4.2%     $74.04     8.0%     0.9%       4.5%        9.2%
2015                     65.4%     1.6%                   $120.30    4.7%     $78.68     6.3%     1.1%       2.9%        7.4%
2016                     65.4%     0.0%                   $124.13    3.2%     $81.15     3.1%     1.6%       1.7%        4.8%
2017                     65.9%     0.8%                   $126.77    2.1%     $83.53     2.9%     1.8%       2.7%        4.9%
2018                     66.1%     0.3%                   $129.97    2.5%     $85.96     2.9%     2.0%       2.5%        5.0%
2019                     66.1%     0.0%                   $131.21    1.0%     $86.76     0.9%     2.0%       2.0%        3.0%
YTD July 2019            67.0%     -                      $131.77    -        $88.27     -         -         -             -
YTD July 2020            43.7% -34.7%                     $107.91 -18.1%      $47.17 -46.6%      -4.2%     -37.5%      -48.8%
Compound Annual Growth Rate (CAGR)
2001-2019                 0.6%                                2.5%             3.1%               1.4%     2.2%          4.5%
2010-2019                 1.6%                                3.3%             4.9%               1.2%     2.9%          6.3%
2010-2015                 2.6%                                4.2%             6.9%               0.8%     3.5%          7.8%
2015-2019                 0.3%                                2.2%             2.5%               1.9%     2.2%          4.4%
Source: Smith Travel Research


Prior to the 2008/2009 recession, U.S. hotels reached their peak performance in 2007, achieving RevPAR of $66
during that year. Because of the global financial crisis and the great recession that followed in 2008 and 2009,
coupled with supply increase in dire market conditions, hotel performance took a severe hit. RevPAR in 2009
was $54, about 17.0% lower than that achieved in 2007.

In 2010, the U.S. lodging market condition began to improve. Occupancy increased consistently year-over-
year since 2010, growing from 54.5% in 2009 to 66.1% in 2019. ADR in 2010 was flat from that achieved in 2009.
However, as demand continued to strengthen, ADR began to increase in 2011 and has been growing year-
over-year since then. By 2012, the US hotels achieved RevPAR of $65, close to its previous peak level in 2007.
It took a little over three years for the nation’s lodging market to recover to its pre-recession levels on an
actual dollar basis (without adjustment for inflation).
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While both occupancy and ADR experienced increases since the beginning of the cycle in 2010, the pace of
growth has markedly decelerated to more stabilized levels in recent years. During the period from 2010 to
2015, the compound annual growth rate (CAGR) for occupancy was 2.6%, and that for ADR was 4.2%. During
the period from 2015 to 2019, the CAGRs for occupancy and ADR were 0.3% and 2.2%, respectively.

As a result of the occupancy and ADR movements, RevPAR CAGRs during the 2010-2015 and 2015-2019 periods
were 6.9% and 2.5%, respectively. Overall, RevPAR CAGR was 4.9% for the current cycle from 2010 to 2019,
constituted of occupancy and ADR CAGRs of 1.6% and 3.3%, respectively. Backed by a strong economy, the
lodging market benefited from increased demand. However, new supply also picked up pace. Therefore, the
slower occupancy growth in the later years of the cycle, although partly caused by the market approaching a
natural ceiling, was also caused by supply increase keeping occupancy growth in check. Moreover, new supply
also created a more competitive environment thereby moderating the room rate growth in the recent years.

During the latest year-to-date period in 2020, the lodging market was severely impacted by the COVID-19
outbreak. When compared with the same period in the prior year, both occupancy and ADR experienced
significant declines at -34.7% and -18.1%, respectively, resulting in a -46.6% decrease in RevPAR.

The impact of COVID-19 on the lodging industry was immediate. As shown in the following weekly
performance chart, the U.S. lodging market hit its trough during the week of April 5-11, with RevPAR
decreasing -83.6% from that achieved during the same period last year. Since then, RevPAR decline has
moderated. Memorial Day and July 4th weekends saw one-time surges, but RevPAR were still significantly
lower from a year ago. During the Week of July 26 - Aug 1, 2020, occupancy and ADR were -34.5% and -25.3%
lower than same time last year, with RevPAR still lower by -51.1%.

    Weekly US Lodging Market Performance % Change
    From the Week of Feb 2-8 to the Week of July 26 - Aug 1
                                                                                                                                10.0%

                                                                                                                                0.0%

                                                                                                                                -10.0%

                                                                                                              -20.9%            -20.0%

                                                                                   -33.3%                     -30.2%            -30.0%

                                                                                   -43.2%                                       -40.0%
                                                      -45.6%                                                  -44.8%
                                                                                                                                -50.0%

                                                                                   -62.1%                                       -60.0%

                                                      -69.8%                                                                    -70.0%

                                                                                                                                -80.0%
                                                      -83.6%
                                                                                                                                -90.0%




                                                     Occupancy % Change   ADR % Change      RevPAR % Change




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COVID-19
As demonstrated earlier, COVID-19’s impact on the U.S. lodging has been immediate with steep declines in
demand and RevPAR. Markets with high number of cases at the onset of COVID 19 pandemic posted the
largest declines. While the market performance bottomed out in mid-April 2020, recovery has been slow.
During the latest 12-Week Average ending the Week of July 26 - Aug 1, occupancy and ADR were 42.6% and
$91.63, respectively. This is significantly lower than that achieved a year ago, with occupancy and ADR at
72.6% and $133.20, respectively. RevPAR during the latest 12-week period was $39.47, a steep decline from
$96.89 achieved during the same period last year.

Immediate Impacts
           Shelter in place orders drastically decreased demand and placed downward pressure on lodging
           fundamentals.
           At the onset of the pandemic, many markets were hovering in the low 20% range, supported by
           essential travel and frontline workers.
           Luxury and upper upscale hotels were observing virtually no demand at the onset of the pandemic,
           running occupancy in the single digits for most.
           All sporting, concert, fundraising and corporate events were canceled or postponed.
           Government mandates and low demand levels were forcing temporary hotel closures across the
           country, resulting in hotel owners facing heightened liquidity constraints.
           Travel restrictions and country lockdowns severely impact international demand; as such, gateway
           markets that tend to be denser and more reliant on international demand have become
           underperformers.
           Cancelled conferences and large group events coupled with social distancing is placing downward
           pressure on markets that rely heavily on group demand.
           Short-term outperformers at the effective date of appraisal were economy to mid-tier hotels, small
           metro markets, interstate locations and drive-to destinations.
           High unemployment rates with employees furloughed at both unit and corporate level.
           Hoteliers greatest challenge was to manage carrying costs given operating shortfalls, debt service
           payments and working capital.
           Owners were using FF&E reserves and Paycheck Protection Program (PPP) funding to manage
           working capital, if servicer, lender, or manager allows it.
           Stimulus measures were introduced by governments and central banks to support businesses and
           employees.

Shifting Trends
           Markets with high exposure to urban or group-driven demand fare worse in this pandemic given the
           perception of being “less safe” and more prone to virus contraction.
           Food & Beverage operations have been forced to pivot as guest preferences shift to less social
           interaction and brand standards mandate safety measures such as no buffet offerings.
           Decreased interaction of guests and staff and potentially service levels.


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           Reduced amenities as high-risk areas such as recreational facilities, gyms, spas, locker rooms were
           either have to be closed or operate at limited capacity.
           New hygiene & sanitation standards were rolling out; housekeepers were being trained, resulting in
           higher cleaning and sanitation procedures and costs.

Recovery
           Events that more negatively impact the economy result in a steeper and more protracted decline in
           RevPAR performance. During the prior cycle, it took five years for RevPAR to recover.
           Occupancy is expected to recover first before ADR, supported by pent up travel demand and
           constrained supply growth.
           ADR takes longer to recover than occupancy as operators turn to price discounts to encourage
           bookings and economic pressures make guests more price sensitive.
           Leisure transient demand is expected to recover first.
           Business transient and group demand shall follow but are expected to face limitations such as travel
           restrictions imposed by corporate management, challenging in-person meetings caused by workplace
           shifts and work-from-home practice, and impact from economic headwinds, social distancing and
           restrictions on size of events.
           Contract business such as airline crew shall recover once airlines relaunch operations. International
           crew demand was expected to take longer to recover as international airlift were challenged by
           depressed demand.
           Domestic demand was expected to rebound before international demand given ease of travel and
           typically lower total trip costs, as well as people shifting travel patterns to drive-to markets.
           Select service hotels were expected to recover before full service and big box hotels.
           Per PricewaterhouseCoopers (PwC) revised forecast released in its Hospitality Directions U.S. report in
           May 2020, US RevPAR is expected to decline 53.1% and increase by 65.9% in 2021.

Future Considerations
           Supply growth was expected to remain constrained as pipelines moderate and construction spending
           decrease. Moreover, certain markets were seeing alternative or adaptive reuse of existing hotels such
           as residential condominiums, student housing or seniors housing. The supply dynamics shall bode
           well for the industry’s recovery.
           Consumers have allocated more spending to travel and lodging accommodations over the past 20
           years. There is growing consumer focus on travel and experiences has contributed to a 32% increase
           in lodging accommodations’ share of spending since 2000. This trend is expected to continue in the
           long term.
           Continued push to digitalization and automation is to be expected to allow for contact less hotel
           experience and efficiency.




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           All operators and hotel owners were having to revisit business models and operations to become
           more efficient. The “surviving mode” has challenged the industry to rethink, reinvent, to be creative,
           do more and better, with much less resources. NOI and margins should rise as revenues return to
           normalized levels.

Capital Market
           Hotel transaction volume plunges 49% in Q1 2020 to a 10-year low, as investors shifted to “asset
           management” mode.
           Private equity’s abundance of dry powder on hand made it the dominant buyer of hotel assets in Q1
           2020, representing 58% of total activity.
           Private equity acquisition was more prominent after global financial crisis. Similar to its investment
           behavior following the global financial crisis, private equity is expected to be a major provider of
           liquidity when the hotel transactions market resumes activity.
           Foreign investor appetite remains focused on higher tier properties in primary markets such as New
           York, Washington D.C., Los Angeles, Chicago and Miami.
           Lenders are being flexible given the profound impact on total cashflows but have paused debt
           issuance for acquisitions and new construction.
           Starting off the year of 2020 on firm footing, CMBS market, however, was on hold for hotels as the lack
           of revenue was placing downward pressure on property owners ability to service their mortgages,
           ricocheting through to CMBS deals backed by those loans.
           With regulatory support, banks were offering hotel owners 90-day loan forbearance to help stall
           distress, in some cases another 90-day extension

Regional and State Trends
The subject is located South Atlantic (SA) Region within the State of Florida.




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The SA Region and State of Florida had the following recent performance metrics:
   • In terms of occupancy, the SA region reported 46.4% and this represents a -33.8% decrease from the
       prior year. The State of Florida reported an occupancy of 50.6%, which represents a -33.7% decrease
       from the prior year. The State of Florida reported an occupancy rate that was approximately 115.8% of
       the national average occupancy rate.
   • In terms of ADR, the SA region reported $115.29 and this represents a -13.4% decrease from the prior
       year. The State of Florida reported an ADR of $146.91, which represents a -4.7% decrease of from the
       prior year. The State of Florida reported an ADR that was approximately 136.1% of the national
       average ADR.
   • In terms of RevPAR, the SA region reported $53.45 and this represents a -42.6% decrease from the
       prior year. The State of Florida reported a RevPAR figure of $74.34 which represents a -36.8% decrease
       from the prior year. The State of Florida reported a RevPAR that was approximately 157.6% of the
       national average RevPAR.
   • Consistent with the national lodging market trends, the region’s performance has also been
       negatively affected by COVID-19 as reflected in the comparison of the year-to-date performance.

The tables on the following page highlight the performance for the subject’s other competitive segments
discussed above and also compares the State of Florida to other states in the SA Region.




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Hotel Performance by Chain Scale, Class, Region, and Location
                                                   Occupancy                                             Average Daily Rate (ADR)                         Room Revenue Per Available Room (RevPAR)
                                YTD July YTD July                                         YTD July YTD July                                         YTD July YTD July
Segment                            2020     2019 Change    2019         2018 Change           2020    2019 Change         2019    2018 Change           2020    2019 Change       2019      2018 Change
United States                     43.7%    67.0% -34.7% 66.1%          66.1%   0.0%        $107.91 $131.77 -18.1% $131.21 $129.97        1.0%         $47.17 $88.27 -46.6% $86.76 $85.96           0.9%
Chain Scale
 Luxury                            38.4%      74.2%   -48.3%   73.9%   74.5%     -0.9%     $343.37   $342.04     0.4%   $343.44   $336.12    2.2%   $131.69 $253.96   -48.1% $253.67 $250.47       1.3%
 Upper Upscale                     37.3%      75.1%   -50.3%   73.9%   74.2%     -0.5%     $172.70   $190.34    -9.3%   $189.74   $187.10    1.4%    $64.37 $142.86   -54.9% $140.21 $138.91       0.9%
 Upscale                           42.5%      73.6%   -42.2%   72.6%   73.2%     -0.8%     $123.35   $143.71   -14.2%   $142.58   $142.14    0.3%    $52.46 $105.81   -50.4% $103.46 $103.98      -0.5%
 Upper Midscale                    43.6%      68.6%   -36.5%   67.6%   67.9%     -0.5%      $99.19   $113.77   -12.8%   $113.03   $112.72    0.3%    $43.20 $78.09    -44.7% $76.35 $76.52        -0.2%
 Midscale                          42.7%      59.2%   -28.0%   58.2%   58.6%     -0.7%      $77.79    $87.30   -10.9%    $86.56    $86.94   -0.4%    $33.18 $51.69    -35.8% $50.37 $50.95        -1.1%
 Economy                           49.9%      59.5%   -16.2%   58.8%   58.5%      0.5%      $57.69    $64.06    -9.9%    $63.68    $63.85   -0.3%    $28.76 $38.10    -24.5% $37.45 $37.36         0.2%
 Independents                      44.3%      64.2%   -31.1%   63.6%   63.2%      0.7%     $111.63   $132.73   -15.9%   $132.24   $130.21    1.6%    $49.44 $85.28    -42.0% $84.12 $82.27         2.2%
Class
 Luxury                            39.9%      71.8%   -44.4%   71.2%   71.1%      0.1%     $292.19   $304.19    -3.9%   $301.60   $298.12   1.2%    $116.53 $218.31   -46.6% $214.60 $211.97       1.2%
 Upper Upscale                     38.0%      73.6%   -48.4%   72.6%   72.9%     -0.4%     $171.22   $189.18    -9.5%   $188.71   $186.47   1.2%     $65.05 $139.29   -53.3% $137.04 $135.96       0.8%
 Upscale                           42.3%      72.5%   -41.6%   71.5%   71.8%     -0.4%     $125.33   $145.11   -13.6%   $143.92   $143.22   0.5%     $53.08 $105.26   -49.6% $102.93 $102.86       0.1%
 Upper Midscale                    43.6%      68.6%   -36.4%   67.6%   67.8%     -0.3%     $101.94   $116.63   -12.6%   $115.93   $115.40   0.5%     $44.43 $79.98    -44.4% $78.34 $78.21         0.2%
 Midscale                          42.9%      60.5%   -29.0%   59.6%   59.9%     -0.4%      $85.01    $96.27   -11.7%    $95.94    $95.68   0.3%     $36.50 $58.24    -37.3% $57.22 $57.31        -0.2%
 Economy                           48.2%      60.2%   -19.9%   59.4%   59.2%      0.5%      $65.41    $75.63   -13.5%    $74.24    $73.96   0.4%     $31.55 $45.55    -30.7% $44.13 $43.75         0.9%
Region
 New England                       36.7%      62.9%   -41.7%   65.0%   65.8%     -1.1%     $120.06   $157.33   -23.7%   $159.91   $158.93    0.6%    $44.03 $98.88    -55.5% $104.00 $104.56      -0.5%
                                                                                                                                                                                                                                                186




 Middle Atlantic                   41.0%      67.9%   -39.6%   69.1%   69.7%     -0.9%     $118.83   $158.48   -25.0%   $166.33   $166.57   -0.1%    $48.69 $107.59   -54.7% $114.91 $116.10      -1.0%
 South Atlantic                    46.4%      70.0%   -33.8%   67.6%   67.9%     -0.4%     $115.29   $133.11   -13.4%   $128.40   $126.38    1.6%    $53.45 $93.20    -42.6% $86.81 $85.76         1.2%
 East North Central                38.8%      61.0%   -36.5%   61.2%   61.5%     -0.6%      $88.41   $111.36   -20.6%   $112.69   $112.57    0.1%    $34.27 $67.95    -49.6% $68.96 $69.28        -0.5%
 East South Central                44.3%      63.8%   -30.6%   62.6%   61.9%      1.1%      $86.75   $103.57   -16.2%   $103.45   $100.91    2.5%    $38.39 $66.07    -41.9% $64.71 $62.44         3.6%
 West North Central                37.9%      58.3%   -35.1%   58.5%   57.7%      1.2%      $84.66    $99.40   -14.8%    $99.26    $99.03    0.2%    $32.06 $57.97    -44.7% $58.02 $57.18         1.5%
 West South Central                44.3%      64.6%   -31.4%   62.7%   62.7%      0.1%      $85.73   $103.52   -17.2%   $101.88   $102.56   -0.7%    $38.00 $66.87    -43.2% $63.92 $64.26        -0.5%
 Mountain                          46.4%      68.0%   -31.7%   66.9%   66.2%      1.0%     $111.08   $124.48   -10.8%   $122.23   $119.09    2.6%    $51.57 $84.68    -39.1% $81.76 $78.86         3.7%
 Pacific                           47.0%      74.3%   -36.7%   73.7%   73.8%     -0.1%     $137.76   $172.25   -20.0%   $171.42   $168.77    1.6%    $64.76 $127.95   -49.4% $126.36 $124.52       1.5%
Location
 Urban                             40.4%      73.6%   -45.0%   73.1%   73.4%     -0.4%     $138.76   $180.18   -23.0%   $183.71   $183.22   0.3%     $56.11 $132.55   -57.7% $134.36 $134.52      -0.1%
 Suburban                          45.7%      67.8%   -32.5%   66.8%   66.9%     -0.2%      $92.04   $112.18   -18.0%   $111.23   $110.65   0.5%     $42.09 $76.03    -44.6% $74.32 $74.07         0.3%
 Airport                           45.4%      75.4%   -39.7%   73.8%   73.7%      0.1%     $100.73   $120.87   -16.7%   $119.19   $118.33   0.7%     $45.78 $91.08    -49.7% $87.91 $87.21         0.8%
 Interstate                        42.5%      58.5%   -27.4%   58.0%   57.9%      0.1%      $78.23    $87.83   -10.9%    $87.79    $87.01   0.9%     $33.22 $51.39    -35.4% $50.90 $50.41         1.0%
 Resort                            45.6%      72.4%   -37.1%   70.1%   70.2%     -0.1%     $182.11   $188.65    -3.5%   $182.96   $178.81   2.3%     $83.02 $136.67   -39.3% $128.29 $125.51       2.2%
 Small Metro/Town                  41.6%      58.1%   -28.4%   58.0%   57.7%      0.4%      $93.79   $106.24   -11.7%   $106.72   $105.16   1.5%     $39.06 $61.77    -36.8% $61.90 $60.73         1.9%
 Note: Highlighted data are considered to be the most relevant to the subject classification
Source: Hotel Review, Smith Travel Research
                                                                                                                                                                                                          Case 1:20-cv-22800-RNS Document 66-2 Entered on FLSD Docket 11/21/2021 Page 116 of




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States in the South Atlantic Region
                                                      Occupancy                                            Average Daily Rate                                           RevPar
                                    YTD         YTD
                                    July        July                                   YTD July YTD July                                         YTD July YTD July
Segment                            2020        2019 Change    2019      2018 Change        2020    2019 Change          2019       2018 Change      2020      2019 Change         2019      2018 Change
 United States                    43.7%       67.0% -34.7% 66.1%       66.1%   0.0%     $107.91 $131.77 -18.1%        $131.21   $129.97   1.0%     $47.17   $88.27 -46.6%        $86.76    $85.96  0.9%
 South Atlantic                   46.4%       70.0% -33.8% 67.6%       67.9% -0.4%      $115.29 $133.11 -13.4%        $128.40   $126.38   1.6%     $53.45   $93.20 -42.6%        $86.81    $85.76  1.2%
State
 Delaware                         43.9%       61.2%   -28.2%   60.3%   59.1%    2.0%   $101.79   $127.86    -20.4%    $124.41   $122.98   1.2%    $44.69    $78.19   -42.8%    $75.02      $72.68    3.2%
 Florida                          50.6%       76.3%   -33.7%   72.3%   72.9%   -0.8%   $146.91   $154.19     -4.7%    $145.21   $143.64   1.1%    $74.34   $117.65   -36.8%   $104.92     $104.66    0.3%
 Georgia                          47.1%       67.4%   -30.1%   65.2%   65.4%   -0.3%    $88.19   $110.31    -20.1%    $107.47   $104.04   3.3%    $41.54    $74.38   -44.1%    $70.07      $68.03    3.0%
 Maryland                         42.7%       64.7%   -34.1%   64.6%   64.0%    0.9%   $101.40   $122.85    -17.5%    $122.90   $121.61   1.1%    $43.26    $79.52   -45.6%    $79.34      $77.82    2.0%
 North Carolina                   44.1%       66.8%   -34.0%   65.6%   64.9%    1.2%    $90.78   $106.62    -14.9%    $107.38   $105.31   2.0%    $40.03    $71.25   -43.8%    $70.45      $68.30    3.2%
 South Carolina                   45.2%       65.7%   -31.3%   63.0%   63.5%   -0.9%    $99.69   $121.22    -17.8%    $117.34   $116.82   0.5%    $45.04    $79.67   -43.5%    $73.91      $74.22   -0.4%
 Virginia                         42.0%       64.9%   -35.3%   64.2%   64.3%   -0.1%    $91.37   $113.80    -19.7%    $112.77   $110.86   1.7%    $38.41    $73.91   -48.0%    $72.43      $71.30    1.6%
 Washington, DC                   37.0%       77.9%   -52.5%   76.4%   77.5%   -1.4%   $185.24   $230.75    -19.7%    $225.93   $221.47   2.0%    $68.52   $179.78   -61.9%   $172.60     $171.59    0.6%
 West Virginia                    39.7%       60.6%   -34.5%   59.9%   63.2%   -5.2%    $88.84    $98.24     -9.6%     $99.77    $96.90   3.0%    $35.23    $59.52   -40.8%    $59.76      $61.21   -2.4%
Source: Hotel Review, Smith Travel Research
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Metro Area Trends
The subject is located in the Miami/Hialeah market and lodging market trends in the Miami/Hialeah market
provide a more meaningful benchmark than those for the State of Florida or SA Region, as a whole. After
examining the overall metro trends, we will examine the subject and its direct competitors (the competitive
set), which is the most meaningful market analysis for the subject.

     •     In terms of occupancy, the Miami/Hialeah market reported 51.0% and this represented a -35.4%
           decrease from the prior year. The Miami/Hialeah market’s overall occupancy rate is greater than the
           State of Florida and is greater than the SA Region, as a whole. The Miami/Hialeah market’s occupancy
           rate was approximately 117% of the national average.
     •     In terms of ADR, the Miami/Hialeah market reported $220.24 and this represented a 5.4% increase
           from the prior year. The Miami/Hialeah market’s overall ADR is greater than the State of Florida, and is
           greater than the SA region, as a whole. The Miami/Hialeah market’s ADR was approximately 204% of
           the national average.
     •     In terms of RevPAR, the Miami/Hialeah market reported $112.33 and this represented a -32% decrease
           from the prior year. The Miami/Hialeah market’s overall RevPAR is greater than the State of Florida,
           and is greater than the SA region, as a whole. The Miami/Hialeah market’s RevPAR was approximately
           238% of the national average.
     •     Consistent with the national lodging market trends, the metro’s performance has also been negatively
           affected by COVID-19 as reflected in the comparison of the year-to-date performance.

Miami/Hialeah Market
                                                 YTD July           YTD July
Segment                                             2020               2019     Change          2019      2018    Change
                                                                                   Occupancy
United States                                       43.7%             67.0%      -34.7%        66.1%     66.1%      0.0%
South Atlantic                                      46.4%             70.0%      -33.8%        67.6%     67.9%     -0.4%
Florida                                             50.6%             76.3%      -33.7%        72.3%     72.9%     -0.8%
Miami/Hialeah, FL                                   51.0%             79.0%      -35.4%        75.9%     76.6%     -0.9%

                                                                               Average Daily Rate
United States                                     $107.91           $131.77      -18.1%       $131.21   $129.97     1.0%
South Atlantic                                    $115.29           $133.11      -13.4%       $128.40   $126.38     1.6%
Florida                                           $146.91           $154.19       -4.7%       $145.21   $143.64     1.1%
Miami/Hialeah, FL                                 $220.24           $208.91        5.4%       $196.52   $198.86    -1.2%

                                                                                    RevPAR
United States                                      $47.17            $88.27     -46.6%      $86.76       $85.96     0.9%
South Atlantic                                     $53.45            $93.20     -42.6%      $86.81       $85.76     1.2%
Florida                                            $74.34           $117.65     -36.8%     $104.92      $104.66     0.3%
Miami/Hialeah, FL                                 $112.33           $164.96     -31.9%     $149.19      $152.33    -2.1%
Source: Hotel Review, Smith Travel Research




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Performance of the Competitive Market
The data is presented in Fiscal Years from August through July. For example, Fiscal Year 2014 corresponds to
August 1st, 2013 through July 31st, 2014.

The following table details the historical room nights available (RNA), room nights sold (RNS), average daily
rate (ADR) and room revenue per available room (RevPAR) for the competitive set.

Historical Performance of Existing Market Supply
Fiscal Year                     RNA  Change              RNS        Change   Occupancy     Change      ADR    Change   RevPAR    Change
Fiscal Year ending July 31st
 2014                        168,232    N/A          126,844           N/A      75.4%         N/A   $277.81      N/A   $209.46      N/A
 2015                        192,082  14.2%          151,285         19.3%      78.8%        4.5%   $285.14     2.6%   $224.58     7.2%
 2016                        191,078  -0.5%          149,189         -1.4%      78.1%       -0.9%   $263.83    -7.5%   $205.99    -8.3%
 2017                        229,611  20.2%          170,617         14.4%      74.3%       -4.8%   $237.58    -9.9%   $176.54   -14.3%
 2018                        262,220  14.2%          187,408          9.8%      71.5%       -3.8%   $250.78     5.6%   $179.23     1.5%
 2019                        283,877   8.3%          207,953         11.0%      73.3%        2.5%   $251.21     0.2%   $184.02     2.7%
 2020                        327,405  15.3%          157,014        -24.5%      48.0%      -34.5%   $265.11     5.5%   $127.14   -30.9%
Compound Annual Growth Rate (CAGR)
 FY 2014 - 2020               11.7%                     3.6%                     -7.3%               -0.8%              -8.0%


As shown above, the room nights available (RNA) have increased over the last seven years as new hotels
entered the market including the Subject Property that opened in August of 2019.

In terms of demand, room nights sold (RNS) grew every year from fiscal year 2014 through fiscal year 2019
except for fiscal years 2016 and 2017 when the Miami Beach market was affected by the Zika virus outbreak.
During the fiscal year 2020 period, the demand declined 24.5% as a result of the Covid-19 pandemic.
Occupancies ranged from 71.5% to 78.8% during the fiscal years 2014-2019 period and declined to 48% in
fiscal year 2020. Average Daily Rate (ADR) declined in 2016 and 2017 as a result of the Zika outbreak as well as
overall additions to supply in the market and has recovered slowly. However, ADR has not yet reached the
previous peak of $285 achieved in 2015. In 2020, Miami hosted the Superbowl, which boosted ADR’s in
February and helped offset the negative impact of the Covid-19 pandemic, resulting in an overall ADR increase
over that in previous fiscal year.

Based on the preceding occupancy and ADR movements, RevPAR fluctuated during the seven fiscal years
analyzed. Overall, RevPAR achieved an annual compound average growth rate (CAGR) of -8.0% during the FY
2014 to FY 2020 period.

It should be noted that April and May 2020 returned no monthly data because several hotels were closed
during these two months.

The following tables highlight key lodging metric trends by month and year for the competitive set.




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    Competitive Set Occupancy by Month


    80%

    60%

    40%

    20%

     0%
                Aug        Sep        Oct        Nov        Dec        Jan      Feb      Mar     Apr    May    Jun     Jul

                                                          2017       2018     2019      2020


     Competitive Set ADR by Month
   $425
   $375
   $325
   $275
   $225
   $175
   $125
    $75
    $25
               Aug        Sep         Oct        Nov        Dec        Jan     Feb       Mar    Apr    May     Jun     Jul

                                                       2017         2018     2019     2020




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     Competitive Set RevPAR by Month
   $400
   $350
   $300
   $250
   $200
   $150
   $100
     $50
      $0
                Aug        Sep        Oct        Nov         Dec     Jan    Feb      Mar     Apr    May     Jun     Jul

                                                           2017     2018   2019     2020




Segmentation of Demand
Demand for hotel accommodations among the competitive hotels is comprised of the following market
segments:

Transient Demand
Transient traveler segment largely consists of commercial demand and leisure demand.

Commercial demand is primarily room nights generated by the office, businesses, and commercial activity in
the nearby area. When examining a market and projecting future growth trends, a substantial commercial
demand base is critical as it is the least rate sensitive of the three segments and provides for a reliable base
business. Commercial demand generally includes transient business travelers that stay for one to two nights.
Corporations that generate high volume of visitors also tend to establish corporate negotiated contracts and
room rates with local hotels that meet their needs. This segment also includes commercial transient travelers
eligible for government per diem rates. Commercial demand is strongest Monday through Thursday nights
and is relatively constant throughout the year.

Leisure demand is primarily comprised of individual travelers and families traveling for sightseeing,
recreation, or visiting friends and relatives. Leisure demand is the strongest on Friday and Saturday nights and
all week during holiday periods and the summer months particularly for resort locations. These peak periods
represent the inverse of commercial visitation trends, underscoring the stabilizing effect of capturing
weekend and summer tourist travel. As personal travel is considered a discretionary spending, leisure
demand is quite susceptible to the overall economic health of the region and the nation. Trends showing

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changes in provincial and regional unemployment and disposable personal income correlate strongly with
leisure travel levels. This segment is also generally more price-sensitive than the other segments.

Meeting and Group Demand
Generally consisting of a block of ten rooms or more, group demand is an important business segment for
hotels. There are numerous classifications within the meeting and group segment. The primary categories are
corporate groups, associations, and SMERFE (social, military, ethnic, religious, fraternal, and educational)
groups. Corporate groups typically meet during the business week and is generated by corporate,
commercial, or association groups that either meet at hotels or at company offices. These groups tend to be
the most profitable for hotels as they usually generate ancillary revenues including food, beverage, and
banquet revenue. National, state and local association groups also typically meet on weekdays and can either
be held at a single venue permanently or on a rotational basis moving from one location to another.
Additionally, conventions, trade shows and other events are also major demand generators for group room
nights. SMERFE groups are typically more price-sensitive and tend to meet on weekends and/or during the
summer months or holiday season, when greater discounts are usually available.

Peak convention demand typically occurs in the spring and fall. While the length of stay varies depending on
the type of group, it is typically two or three nights and can sometimes include a weekend night. Although
meeting and groups may be high revenue generators, hotels that rely too heavily on this segment may be
vulnerable. Past downturns in the economy proved that in addition to job cuts, corporations cut group and
incentive travel and found ways to conduct business remotely in an effort to reduce costs.

Contract Demand
Contract segment includes a minimum committed block of rooms at a pre-negotiated contract rates
regardless of use, such as airline crews, government contracts, short-term construction or consulting projects,
or extended stay guests over a period of 30 days or more. This segment generally brings in room nights
volume but at lower average daily rates. However, it provides for a consistent revenue base and supports
hotel operations particularly during low occupancy periods. For example, hotels that are located in heavily
commercial districts with little leisure activities generally rely mostly on commercial demand and have lower
occupancy during the weekends. Having guaranteed room nights during the weekends would help support
fixed expenses at the hotels and enhance yield management strategy in some cases.

In the competitive market, demand is driven mostly by the Leisure market. Friday and Saturday have the
highest occupancy and ADR of any other night. Additionally, the competitive market is comprised of mostly
smaller boutique hotels that are generally transient oriented with some small group demand and no contract
demand.



Development Pipeline
We have reviewed the known supply pipeline that could enter the market. The following table summarizes the
development pipeline in the subject market area known as of the effective date of value.




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New Supply
Project Name                              Address                        City          Rooms   Status          Projected Opening
Collins Park Hotel                        2000 Park Ave                  Miami Beach   295     In Construction       Aug-20
MOXY Miami South Beach                    915 Washington Ave             Miami Beach   202     In Construction       Nov-20
The Good Time                             601 Washington Ave             Miami Beach   269     In Construction       Aug-20
The Variety Hotel                         1700 Alton Rd                  Miami Beach   70      In Construction       Sep-20
Radisson Red Miami                        900 SW 2nd Ave                 Miami Beach   124     Final Planning        Aug-21
The Fifth Hotel                           803 5th St                     Miami Beach   50      Final Planning        Feb-22
Grand Hyatt Miami Beach Convention Center 1701 Convention Center Dr      Miami Beach   800     Final Planning        Dec-23
Raleigh Hotel                             1775 Collins Ave               Miami Beach   70      Planning               N/A
CitizenM Miami Beach                      1212 Lincoln Rd                Miami Beach   168     Planning               N/A
Urbanica The Beach                        6747 Collins Ave               Miami Beach   200     Planning               N/A
Park Avenue Hotel                         355 19th St                    Miami Beach   100     Planning               N/A
Bohemian House Hotel                      1409, 1413 Washington Ave      Miami Beach   50      Planning               N/A
Urbin Retreat Miami Beach                 1234, 1240, 1260 Washington AveMiami Beach   56      Planning               N/A
Sterling Building                         927-929 Lincoln Rd             Miami Beach   144     Planning               N/A
Sanctuary Hotel                           1745 James Ave                 Miami Beach   90      Planning               N/A

Total                                                                                  2,688


Given the outbreak of COVID-19 and the then market conditions, projects in the planning phases were facing a
significantly higher degree of uncertainty. Several projects have been deferred, and new supply was expected
be tempered in the near term

We have not included any new supply that would be directly competitive with the Subject Property.

Market Performance Projections
Based on historical market performance, we have projected market occupancy and ADR movements for the
next seven years. Given the hotel closures and effects from the current COVID-19 pandemic, monthly analysis
for the next 36 months has been conducted as summarized on the following page.




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Monthly Analysis and Near Term Forecast

Number of Rooms                                                                                                                                                % Change
Fiscal Year             August September       October   November   December   January   February   March    April       May     June     July    Total Year    Total Year
2014                       298          417        389        458        457       468        409     527     527        527      527     527            461             -
2015                       527          565        527        526        526       544        475     526     526        526      526     526            526        14.2%
2016                       526          564        523        523        523       540        472     523     523        523      523     523            524        -0.5%
2017                       523          560        523        523        650       698        628     695     685        685      685     690            629        20.2%
2018                       690          739        690        690        690       713        623     690     775        775      775     775            718        14.2%
2019                       775          834        778        778        778       804        703     778     778        778      778     778            778         8.3%
2020                       897          897        897        897        897       897        897     897     897        897      897     897            897        15.3%
2021F                      897          897        897        897        897       897        897     897     897        897      897     897            897         0.0%
2022F                      897          897        897        897        897       897        897     897     897        897      897     897            897         0.0%
2023F                      897          897        897        897        897       897        897     897     897        897      897     897            897         0.0%
Note: Forecasts are shown in shaded areas
Occupancy (%)                                                                                                                                                  % Change
Fiscal Year            August   September      October   November   December   January   February   March    April        May    June      July   Total Year    Total Year
2014                    77.0%       57.7%       71.1%       76.7%      75.5%     84.4%     86.0%    76.4%   83.2%       73.2%   69.0%    72.9%       75.4%               -
2015                    80.7%       68.7%       75.3%       78.1%      82.7%     84.1%     86.4%    86.1%   84.3%       76.7%   68.9%    73.5%       78.8%           4.5%
2016                    73.9%       68.2%       74.5%       78.3%      81.2%     84.5%     84.7%    87.6%   85.1%       78.4%   65.8%    75.0%       78.1%          -0.9%
2017                    67.8%       65.3%       66.2%       77.2%      75.3%     72.9%     79.2%    85.8%   82.2%       69.5%   67.5%    77.9%       74.3%          -4.8%
2018                    67.2%       49.5%       69.3%       75.3%      78.2%     81.7%     86.9%    87.9%   73.4%       60.3%   60.6%    70.6%       71.5%          -3.8%
2019                    66.8%       56.1%       65.8%       69.7%      69.4%     76.4%     85.3%    88.0%   83.7%       74.3%   72.9%    71.6%       73.3%           2.5%
2020                    62.1%       50.9%       64.4%       77.1%      79.0%     87.3%     89.0%    43.3%    0.0%        0.0%   14.4%    10.4%       48.0%         -34.5%
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2021F                   25.0%       35.0%       45.0%       50.0%      50.0%     59.7%     63.8%    65.4%   59.8%       51.0%   53.6%    58.7%       51.3%           7.1%
2022F                   52.8%       41.6%       53.1%       59.9%      60.4%     75.6%     80.8%    82.9%   75.8%       64.6%   63.7%    69.7%       65.0%          26.6%
2023F                   62.7%       52.7%       63.1%       71.1%      75.5%     79.6%     85.1%    87.2%   79.8%       68.0%   67.0%    73.4%       72.0%          10.8%


ADR ($)                                                                                                                                                        % Change
Fiscal Year             August September       October   November   December   January   February   March    April       May     June     July    Total Year    Total Year
2014                     $212          $193      $224        $219       $394     $320       $348    $370    $300        $248     $211    $215         $278               -
2015                     $210          $193      $243        $262       $390     $342       $387    $369    $309        $249     $206    $212         $285           2.6%
2016                     $203          $194      $229        $259       $361     $315       $331    $327    $265        $235     $195    $209         $264          -7.5%
2017                     $186          $183      $204        $237       $315     $256       $288    $277    $250        $214     $186    $200         $238          -9.9%
2018                     $177          $172      $192        $217       $348     $280       $322    $333    $270        $233     $195    $197         $251           5.6%
2019                     $184          $173      $194        $219       $378     $291       $317    $325    $271        $221     $191    $195         $251           0.2%
2020                     $174          $156      $183        $213       $347     $334       $383    $277      $0          $0     $167    $176         $265           5.5%
2021F                    $134          $125      $142        $162       $268     $226       $255    $247    $203        $170     $155    $157         $194         -26.8%
2022F                    $143          $125      $152        $173       $286     $272       $307    $296    $243        $204     $174    $177         $222          14.1%
2023F                    $169          $159      $180        $205       $351     $296       $334    $323    $265        $222     $189    $192         $248          11.8%
Note: Forecasts are shown in shaded areas
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Historical and Projected Performance of Competitive Set
Fiscal Year*          RNA           Change          RNS             Change    Occupancy    Change       ADR Change RevPAR     Change
2014               168,232             N/A       126,844                N/A       75.4%        N/A   $277.81    N/A $209.46       N/A
2015               192,082           14.2%       151,285              19.3%       78.8%       4.5%   $285.14   2.6% $224.58      7.2%
2016               191,078           -0.5%       149,189              -1.4%       78.1%      -0.9%   $263.83  -7.5% $205.99     -8.3%
2017               229,611           20.2%       170,617              14.4%       74.3%      -4.8%   $237.58  -9.9% $176.54    -14.3%
2018               262,220           14.2%       187,408               9.8%       71.5%      -3.8%   $250.78   5.6% $179.23      1.5%
2019               283,877            8.3%       207,953              11.0%       73.3%       2.5%   $251.21   0.2% $184.02      2.7%
2020               327,405           15.3%       157,014             -24.5%       48.0%     -34.5%   $265.11   5.5% $127.14    -30.9%
2021F              327,405            0.0%       168,093               7.1%       51.3%       7.1%   $194.10 -26.8% $99.65     -21.6%
2022F              327,405            0.0%       212,780              26.6%       65.0%      26.6%   $221.54 14.1% $143.98      44.5%
2023F              327,405            0.0%       235,832              10.8%       72.0%      10.8%   $247.65 11.8% $178.38      23.9%
2024F              327,405            0.0%       242,907               3.0%       74.2%       3.0%   $266.22   7.5% $197.51     10.7%
2025F              327,405            0.0%       242,907               0.0%       74.2%       0.0%   $272.88   2.5% $202.45      2.5%
2026F              327,405            0.0%       242,907               0.0%       74.2%       0.0%   $279.70   2.5% $207.51      2.5%
2027F              327,405            0.0%       242,907               0.0%       74.2%       0.0%   $286.69   2.5% $212.70      2.5%
* Ending July 31st

The overall occupancy for the fiscal year 2021 period is projected to be 51.3%, which represents an overall
70% recovery from 2019 levels. The occupancy is projected to grow to 65.0% in fiscal year 2022, 72.0% in fiscal
year 2023 and stabilized at 74.2% in fiscal year 2024.

ADR’s are projected to decline 26.8% to $194 in fiscal year 2021 as compared to fiscal year 2020. This reflects
the depressed rate levels seen since June of 2020 due to the Covid-19 pandemic and were expected to
continue for the next several months. ADR’s are projected to grow 14.1% to $222 in fiscal year 2022, 11.8% to
$248 in fiscal year 2023, 7.5% to $266 in fiscal year 2024 and grow at an inflationary rate of 2.5%thereafter

Overall, the competitive market's RevPAR is projected to grow to $198 in year 4 or during the fiscal year
ending July 2024, surpassing the RevPAR level achieved in fiscal year 2019. As of the effective date of value,
market participants were generally underwriting a three to four years recovery to 2019 levels. The projections
are generally consistent with market expectations.


Subject Fair Share Analysis
The subject’s fair share of the market is developed as follows.
Fair Share Analysis
Fiscal Year Ending July 31st                      Subject RNA                 Market RNA    Subject Fair Share
2020                                                   43,435                    327,405                 13.3%
2021                                                   43,435                    327,405                 13.3%
2022                                                   43,435                    327,405                 13.3%
2023                                                   43,435                    327,405                 13.3%
2024                                                   43,435                    327,405                 13.3%
2025                                                   43,435                    327,405                 13.3%
2026                                                   43,435                    327,405                 13.3%
2027                                                   43,435                    327,405                 13.3%


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A property achieves 100% occupancy penetration when it is earning its fair share of the market. For example,
in a market of 1,000 rooms, a 100-room hotel constitutes 10% of total rooms (100 ÷ 1000). If there were
200,000 RNS, the hotel should sell 20,000 rooms (10% x 200,000). More than 20,000 RNS would indicate a
penetration above 100%, less than 20,000 RNS would be a penetration of less than 100%.

Subject Occupancy and ADR Projection Summary
The subject opened in August of 2019 and achieved a 65% occupancy penetration index and 107% ADR
penetration index in its first year of operation. The subject’s occupancy, ADR and RevPAR projections, as well
as their penetration indices are summarized in the table below.

Subject Performance Projections
                                    Occupancy                                     ADR                                          RevPAR
Year              Market   % Chg      Subject   % Chg   Index   Market   % Chg    Subject   % Chg    Index   Market   % Chg     Subject   % Chg   Index
Historical (FY)
2020              48.0%    -34.5%      31.1%      -      65%     $265    5.5%     $283.11     -      107%     $127    -30.9%     $88.05     -      69%
Forecast (FY)
2021              51.3%     7.1%       41.1%    31.8%    80%     $194    -26.8%   $207.69   -26.6%   107%     $100    -21.6%     $85.30   -3.4%    86%
2022              65.0%    26.6%       61.7%    50.3%    95%     $222     14.1%   $241.48    16.3%   109%     $144     44.5%    $149.09   74.8%   104%
2023              72.0%    10.8%       72.0%    16.7%   100%     $248     11.8%   $269.94    11.8%   109%     $178     23.9%    $194.44   30.4%   109%
2024              74.2%     3.0%       74.2%     3.0%   100%     $266      7.5%   $290.18     7.5%   109%     $198     10.7%    $215.29   10.7%   109%
2025              74.2%     0.0%       74.2%     0.0%   100%     $273      2.5%   $297.44     2.5%   109%     $202      2.5%    $220.67    2.5%   109%
2026              74.2%     0.0%       74.2%     0.0%   100%     $280      2.5%   $304.87     2.5%   109%     $208      2.5%    $226.19    2.5%   109%
2027              74.2%     0.0%       74.2%     0.0%   100%     $287      2.5%   $312.49     2.5%   109%     $213      2.5%    $231.84    2.5%   109%



The subject was expected to ramp up its occupancy penetration index as it continued to get more established
in the market. We have projected the occupancy penetration index to increase to 80% in fiscal year 2021, 95%
in fiscal year 2022 and stabilize at 100% in fiscal year 2024. As a result, the occupancy for the subject is
projected at 41.1% in fiscal year 2021, growing to 61.7% in fiscal year 2022 and 72.0% in fiscal year 2023, and
stabilizing at 74.2% in fiscal year 2024.

The subject achieved an ADR premium over that of the market with a penetration index of 107% in its first year
of operation. We have projected the ADR penetration index to remain at 107% in fiscal year 2021 and stabilize
at 109% in fiscal year 2022 and thereafter. ADR is estimated to decline 26.6% to $208 in fiscal year 2021, then
grow 16.3% in fiscal year 2022, 11.8% in fiscal year 2023, 7.5% in fiscal year 2024 and grow at an inflationary
rate of 2.5% thereafter.

Overall, the subject's RevPAR penetration index is projected to reach 109% by fiscal year 2023 and remain
more or less at that level in the subsequent years.




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Conclusion
The calculations of the subject room revenue are summarized below.

Rooms Revenue Projections Summary
Fiscal Year                      Occupancy                             ADR              Revenue                     RevPAR
Historical
 2020                                   31.1%                       $283.11          $3,824,331                      $88.05
Projected
 2021                                   41.1%                       $207.69          $3,705,127                      $85.30
 2022                                   61.7%                       $241.48          $6,475,710                     $149.09
 2023                                   72.0%                       $269.94          $8,445,429                     $194.44
 2024                                   74.2%                       $290.18          $9,351,069                     $215.29
 2025                                   74.2%                       $297.44          $9,585,004                     $220.67
 2026                                   74.2%                       $304.87          $9,824,559                     $226.19
 2027                                   74.2%                       $312.49         $10,070,085                     $231.84
  Note: Beyond 2027, the subject's occupancy is estimated to stabilize at 74.2%, and ADR to grow at inflationary rates




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Highest and best use may be defined as the reasonably probable and legal use of vacant land or improved
property, which is physically possible, appropriately supported, financially feasible, and that results in the
highest value.
        Legally Permissible: What uses are permitted by zoning and other legal restrictions?
           Physically Possible: To what use is the site physically adaptable?
           Financially Feasible: Which possible and permissible use will produce any net return to the owner of
           the site?
           Maximally Productive: Among the feasible uses which use will produce the highest net return, (i.e.,
           the highest present worth?)

Highest and Best Use of the Site
Legally Permissible
The site is zoned CD-2, Commercial-Central. Permitted uses include general commercial use including
apartments, hotels, bars and restaurants . To our knowledge, there are no legal restrictions such as
easements or deed restrictions that would effectively limit the use of the property. Given prevailing land use
patterns in the area, only hotel use is given further consideration in determining highest and best use of the
site, as though vacant.

Physically Possible
The physical characteristics of the site do not appear to impose any unusual restrictions on development.
Overall, the physical characteristics of the site and the availability of utilities result in functional utility
suitable for a variety of uses

Financially Feasible
Based on our analysis of the market, there is limited demand for additional hotel development at the current
time. It appears that a newly developed hotel use on the site would not have a value commensurate with its
cost; therefore, hotel use is not considered to be financially feasible. Nevertheless, we expect an eventual
recovery of the market accompanied by a rise in property values to a level that will justify the cost of new
construction. Thus, it is anticipated that hotel development will become financially feasible in the future.

Maximally Productive
There does not appear to be any reasonably probable use of the site that would generate a higher residual
land value than holding the property for future development of a hotel use. Accordingly, it is our opinion that
holding the property for future hotel use, based on the normal market density level permitted by zoning, is
the maximally productive use of the property.




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Conclusion

Holding the property for future development of a hotel use is the only use that meets the four tests of highest
and best use. Therefore, it is concluded to be the highest and best use of the property as if vacant.

Highest and Best Use as Improved
The subject site is developed with a hotel. The existing improvements were producing positive cash flow that
we expect will continue. Therefore, a continuation of this use is concluded to be financially feasible.

Based on our analysis, there does not appear to be any alternative use that could reasonably be expected to
provide a higher present value than the current use, and the value of the existing improved property exceeds
the value of the site, as if vacant. For these reasons, continued hotel use is concluded to be maximally
productive and the highest and best use of the property as improved.

Most Probable Buyer
Taking into account the size and characteristics of the property, the likely buyer is national or regional
investor.




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Three basic approaches may be applicable and utilized, then reconciled to arrive at an estimate of market
value. An approach to value is included or eliminated based on its applicability to the property type being
value and the information available. The reliability of each approach depends on the availability and
comparability of market data as well as the motivation and thinking of purchasers. Applicable approaches
and whether or not they were utilized are summarized below:


Cost Approach
The Cost Approach is based on the proposition that an informed purchaser would pay no more for the subject
than the cost to produce a substitute property with equivalent utility. In the Cost Approach, the appraiser
forms an opinion of the cost of all improvements, depreciation from physical, functional and external causes.
The land value, entrepreneurial profit and depreciated improvement costs are then added, resulting in
indication of value.


Sales Comparison Approach
The Sales Comparison Approach compares sales of similar properties with the subject property. Each
comparable sale is adjusted for its inferior or superior characteristics. The values derived from the adjusted
comparable sales form a range of value for the subject. A gross income multiplier and / or effective gross
income multiplier may also be analyzed. By process of correlation and analysis, a final indicated value is
derived.


Income Approach
In the Income Capitalization Approach the income-producing capacity of a property is estimated by using
contract rents on existing leases and by estimating market rent from rental activity at competing properties
for the vacant space. Deductions are then made for vacancy and collection loss and operating expenses. The
resulting net operating income is divided by an overall capitalization rate to derive an opinion of value for the
subject property. The capitalization rate represents the relationship between net operating income and value.
This method is referred to as Direct Capitalization.

Related to the Direct Capitalization Method is the Yield Capitalization Method. In this method periodic cash
flows (which consist of net operating income less capital costs) and a reversionary value are developed and
discounted to a present value using a discount rate or an internal rate of return.

The Income Approach converts the anticipated flow of future benefits (income) to a present value estimate
through a capitalization and or a discounting process.


Final Reconciliation
The appraisal process concludes with the Final Reconciliation of the values derived from the approaches
applied for a single estimate of market value. Different properties require different means of analysis and lend
themselves to one approach over the others.


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Analyses Applied
Applicability and utilization of the approaches in this assignment is described as follows.

 Approach                        Description                                         Applicability        Utilization
 Cost                            A cost approach is most applicable in valuing      Not Applicable       Not Utilized
                                 new or proposed construction when the
                                 improvements represent the highest and best
                                 use of the land and the land value, cost new
                                 and depreciation are well supported.
                                 Given the nature of the property as a historic
                                 hotel building that was renovated, the
                                 reliability of cost estimates and depreciation
                                 estimates could be limited, which could render
                                 the conclusion less meaningful.
 Sales Comparison                A sales approach is most applicable when             Applicable           Utilized
                                 sufficient data on recent market transactions
                                 is available and there is an active market for
                                 the property type.
                                 We have placed less weight on the sales
                                 comparison approach in this appraisal because
                                 of the market conditions as of the effective
                                 date of value caused by the COVID-19
                                 pandemic and the limited transactions
                                 occurring during that period. We have utilized
                                 this approach in general support of the
                                 income approach.
 Income                          An income approach is most applicable when           Applicable           Utilized
                                 the subject is an income producing property or
                                 has the ability to generate income in the
                                 future as an investment.




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Sales Comparison Approach
The Sales Comparison Approach is based on the premise that a buyer would pay no more for a specific
property than the cost of obtaining a property with the same quality, utility, and perceived benefits of
ownership. It is based on the principles of supply and demand, balance, substitution and externalities. The
following steps describe the applied process of the Sales Comparison Approach.

     1. The market in which the subject property competes is investigated; comparable sales, contracts for
        sale and current offerings are reviewed.
     2. The most pertinent data is further analyzed, and the quality of the transaction is determined.
     3. The most meaningful unit of value for the subject property is determined.
     4. Each comparable sale is analyzed and where appropriate, adjusted to equate with the subject
        property.
     5. The value indication of each comparable sale is analyzed, and the data reconciled for a final indication
        of value via the Sales Comparison Approach.
We have researched comparables for this analysis, which are documented on the following pages, followed by
a location map and analysis grid. All sales have been researched through numerous sources and, when
possible, verified by a party to the transaction.




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Summary of Comparable Improved Sales
                                                     Sale Date;      Yr. Blt.;    # Rooms;                          $/Room;
No. Name/Address                                         Status # Stories                       Sale Price
1   Lord Balfour                                        Aug-19          1940             81 $34,750,000             $429,012
    350 Ocean Drive                                 Closed Sale             3
    Miami Beach, FL
    Tax ID: 02-4203-003-0450
    Grantor: Green Comet LLC
    Grantee: Henley Investment Managemen
    Sale Comments: The 81-room Lord Balfour Hotel was sold by Green Comet, LLC to Henley Investment Management in
    August of 2019. The hotel sold for $34,750,000 or $429,012 per key. The hotel includes 64 rooms in a 1940's tower and
    a new tower with 17 rooms. The new owner invested $5.0 million and converted the hotel into the Life House Ocean
    Drive after the sale. We have attempted to confirm the sale with the parties involved with no success. The sale was
    confirmed by secondary sources and the recorded deed.
2   Vintro Hotel                                        Sep-18          1934             50 $20,000,000             $400,000
    2216 Park Ave.                                  Closed Sale             3
    Miami Beach, FL
    Tax ID: 02-3226-001-0310
    Grantor: Encotell, LLC
    Grantee: HUSA LH VN, LLC
    Sale Comments: The 50-room Vintro hotel was sold by Encotel LLC to Henley USA, LLC on August 2018. The hotel sold
    for $20,000,000 or $400,000 per key. The hotel includes a restaurant, bar, rooftop lounge and pool. It is located in the
    Collins Park neighborhood of Miami Beach, near the Miami Beach Convention Center. The hotel was built in 1934 and
    renovated in 2014, according to property records. The hotel was converted into the Life House Collin Park after the
    sale. We have reached out to the partiess involved but were unable to confirm the sale. The sale was confirmed by a
    secondary source and the recorded deed.
3   The Haddon Hall                                     Jan-18          1940            163 $63,500,000             $389,571
    1500 Collins Avenue                             Closed Sale             3
    Miami Beach, FL
    Tax ID: 02-3234-019-1190
    Grantor: Rockwood Capital
    Grantee: Grup Peralada
    Sale Comments: The 163-room hotel fomerly known as The Hall was sold in January of 2018 by Rockwood Capital LLC
    to Grupo Peralada. The hotel was sold for $63,500,000 or approximately $389,600 per key. The new owners closed the
    hotel and invested another $12.2 million to convert it into the Axel Hotel.
4   The Redbury South Beach                             Jun-17          1951             69 $32,000,000             $463,768
    1776 Collins Ave                                Closed Sale             5
    Miami Beach, FL
    Tax ID: 02-3234-019-0360
    Grantor: Heyat Hospitality Group
    Grantee: Blue Road LLC
    Sale Comments: The 69-room The Redbury was sold by SBE Entertainment to Blue Road LLC in June of 2017. The
    hotel was sold for $32,000,000 or $463,768 per key. The new owner owns the hotel next door (Hotel 18) which will be
    demolished and rebuilt as an expansion of the Redbury. Once completed, the Redbury will have a total of 138 rooms.
    The information about the sale was reported by a secondary source. We have tried to contact the buyer and the seller
    to confirm the sale but were unable to get a response.
       Subject                                                        1936             119
       Lennox Hotel Miami Beach
       Miami Beach, FL
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Adjustment Factors
The sales are compared to the subject and adjusted to account for material differences that affect value.
Adjustments are considered for the following factors, in the sequence shown below.

   Adjustment Factor              Accounts For                                     Comments

   Effective Sale Price           Accounts for atypical economics of a             No adjustments necessary.
                                  transaction, such as demolition cost,
                                  expenditures by the buyer at time of
                                  purchase, or other similar factors. Usually
                                  applied directly to sale price on a lump sum
                                  basis.

   Real Property                  Fee simple, leased fee, leasehold, partial       No adjustments necessary.
   Rights                         interest, etc.

   Financing Terms                Seller financing, or assumption of existing      No adjustments necessary.
                                  financing, at non-market terms.

   Conditions of Sale             Extraordinary motivation of buyer or seller,     A downward adjustment was made
                                  assemblage, forced sale, related parties         to Comparable 4 due to the buyer’s
                                  transaction.                                     intention of assembling the
                                                                                   property.

   Market Conditions              Changes in the economic environment over         All sales occurred before 2020.
                                  time that affect the appreciation and            Downward adjustments were made
                                  depreciation of real estate.                     to all Comparables to account for
                                                                                   the impact of the Covid-19
                                                                                   pandemic in hotel values generally
                                                                                   expected by market participants at
                                                                                   the effective date of value. Based on
                                                                                   the market RevPAR change during
                                                                                   the 2017 to 2019 period, we have
                                                                                   made slightly varied adjustments to
                                                                                   each of the sales

   Location                       Market or submarket area influences on sale      An upward adjustment was made to
                                  price; surrounding land use influences.          Comparable 3 due to its less
                                                                                   desirable location.

   Size                           Inverse relationship that often exists between   No adjustments necessary.
                                  building size and unit value.

   Age/Condition                  Construction quality, amenities, market          An upward adjustment was made to
                                  appeal, functional utility. Effective age;       Comparables 2, 3 and 4 as they
                                  physical condition.                              were not recently renovated at the
                                                                                   time of the sale.

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   Adjustment Factor              Accounts For                                   Comments

   Building Quality               Construction quality, amenities, market        An upward adjustment was made to
                                  appeal, functional utility.                    all the Comparables due to the
                                                                                 better quality of the Subject.
   Economic                       Non-stabilized occupancy, above/below          No adjustments necessary.
   Characteristics                market rates, and other economic factors.
                                  Excludes differences in rent levels that are
                                  already considered in previous adjustments,
                                  such as for location or quality.
   Hotel Brand Rating             JD Power Guest Satisfaction Rankings           No adjustments necessary.




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The following table summarizes the adjustments we make to each sale.
Improved Sales Adjustment Grid
                                                      Subject Comparable 1            Comparable 2       Comparable 3        Comparable 4
Property Name                             Lennox Hotel Miami     Lord Balfour          Vintro Hotel    The Haddon Hall        The Redbury
                                                        Beach                                                                 South Beach
Address                                   1900 Collins Avenue 350 Ocean Drive         2216 Park Ave. 1500 Collins Avenue   1776 Collins Ave

City                                              Miami Beach        Miami Beach       Miami Beach         Miami Beach       Miami Beach
State                                                 Florida                  FL                FL                  FL                 FL
Sale Date                                                                  Aug-19            Sep-18              Jan-18            Jun-17
Sale Status                                                           Closed Sale       Closed Sale         Closed Sale       Closed Sale
Sale Price                                                            $34,750,000       $20,000,000         $63,500,000       $32,000,000
Gross Building Area                                    71,691              28,714            25,931              72,554             81,000
Number of Rooms                                           119                  81                50                 163                 69
Year Built                                               1936                1940              1934                1940              1951
Year Renovated                                           2019                2020              2014                2016              2017
Stories                                               4/2/2/5                   3                 3                   3                  5
Product Segment                                 Upper Upscale             Upscale           Upscale             Upscale     Upper Upscale
ID                                                          –              369836            305925              371043            369833
Price per Room                                                           $429,012          $400,000            $389,571          $463,768
Property Rights                                                        Fee Simple        Fee Simple          Fee Simple        Fee Simple
% Adjustment                                                                    –                 –                   –                  –
Financing Terms
% Adjustment                                                                    –                 –                   –                  –
Conditions of Sale
% Adjustment                                                                    –                 –                    –               -5%
$ Adjustment                                                                   $0                $0                   $0          -$23,188
Market Conditions                                     8/16/2020            Aug-19            Sep-18              Jan-18             Jun-17
Adjustment                                                                    $12               $23                  $31                $38
Annual % Adjustment                                                         -20%              -17%                 -17%               -16%
Cumulative Adjusted Price                                                $343,210          $332,000            $323,344           $370,087
Location                                                                        –                 –                  5%                   –
Size (# of Rooms)                                                               –                 –                    –                  –
Building Quality                                                              5%                5%                   5%                 5%
Age/Condition                                                                 5%                5%                   3%                   –
JD Power Franchise Ranking                                                      –                 –                    –                  –
Economic Characteristics                                                        –                 –                    –                  –
Final Adjusted Price                                                     $377,531          $365,200            $365,378           $388,591
Overall Adjustment                                                           30%               27%                  30%                26%

Range of Adjusted Prices                                       $365,200 - $388,591
Median                                                                    $371,455
Average                                                                   $374,175
Indicated Value                                                         $380,000




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Value Indication – Sale Price Analysis
All of the value indications have been considered, and in the final analysis, comparables 2 and 4 have been
given most weight in arriving at our final reconciled value, as depicted below.

Based on the preceding analysis, we arrive at a value indication as follows:
Price per Room Analysis
Indicated Value per Room                   $380,000
Subject Rooms                                   119
Indicated Value                         $45,220,000
Rounded                                $45,200,000




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Income Capitalization Approach
The Income Approach to value is based on the present worth of the future rights to income. This type of
analysis considers the property from an investor's point of view, the basic premise being that the amount and
quality of the income stream are the basis for value of the property. The market in which the subject property
competes is investigated; comparable sales, contracts for sale and current offerings are reviewed.

In this analysis, we use discounted cash flow analysis because investors in this property type typically rely on
this method.

Room Revenue Projection
Economic rent is market rent or the average room rate a potential patron is warranted in paying and the
motel operator is warranted in receiving for services. Forecasting of the subject’s economic income involves
an analysis of room sales. This is best accomplished by stabilized historical operation in conjunction with
comparison with other similar motel properties available within the subject's effective market area. This was
conducted in the Market Analysis section of this report. Stabilized average daily rate (ADR) and occupancy
levels on a stabilized basis were previously concluded.

Total room nights available (RNA), room nights sold (RNS) and room revenue is calculated as follows.
Rooms Revenue Projections Summary
Fiscal Year                     Occupancy                           ADR                 Revenue                     RevPAR
Historical
 2020                                 31.1%                    $283.11               $3,824,331                      $88.05
Projected
 2021                                 41.1%                    $207.69               $3,705,127                      $85.30
 2022                                 61.7%                    $241.48               $6,475,710                     $149.09
 2023                                 72.0%                    $269.94               $8,445,429                     $194.44
 2024                                 74.2%                    $290.18               $9,351,069                     $215.29
 2025                                 74.2%                    $297.44               $9,585,004                     $220.67
 2026                                 74.2%                    $304.87               $9,824,559                     $226.19
 2027                                 74.2%                    $312.49              $10,070,085                     $231.84
  Note: Beyond 2027, the subject's occupancy is estimated to stabilize at 74.2%, and ADR to grow at inflationary rates


Income and Expense Data
To develop projections of income and expenses, we analyze industry benchmarks, recent financial statements
of the subject, and data from comparable properties. Industry data from Smith Travel Research are presented
first in the following tables.




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2020 HOST Data - Full Service Hotels
                                                                                  South Atlantic                                       Urban                             Resort                            Luxury
                                                                              % of    $ / Avail.           $/Occ.            % of      $ / Avail.    $/Occ.       % of    $ / Avail.    $/Occ.      % of    $ / Avail.    $/Occ.
                                                                           Revenue       Room              Room          Revenue          Room       Room     Revenue        Room       Room     Revenue       Room       Room
Revenue
 Rooms                                                                       60.0%         $51,507       $190.51               67.6%    $60,095     $218.35     53.7%     $68,258      $251.18     56.5%    $93,843      $347.23
  Food                                                                       19.1%         $16,406        $60.68               16.0%    $14,265      $51.83     19.6%     $24,946       $91.80     19.1%    $31,731      $117.41
  Beverage                                                                    6.0%          $5,161        $19.09                5.0%     $4,491      $16.32      6.9%      $8,809       $32.42      7.3%    $12,168       $45.02
  Other Food and Beverage                                                     6.0%          $5,130        $18.98                6.0%     $5,344      $19.42      5.2%      $6,592       $24.26      5.9%     $9,803       $36.27
 Food and Beverage Income                                                    31.1%         $26,697        $98.74               27.1%    $24,100      $87.57     31.7%     $40,347      $148.47     32.3%    $53,703      $198.70
 Other Operated Departments                                                   5.0%          $4,288        $15.86                2.6%     $2,274       $8.26      8.4%     $10,628       $39.11      7.3%    $12,053       $44.60
 Miscellaneous Income                                                         3.8%          $3,282        $12.14                2.8%     $2,490       $9.05      6.2%      $7,918       $29.14      3.9%     $6,459       $23.90
Total Revenue                                                               100.0%         $85,773       $317.25              100.0%    $88,959     $323.23    100.0%    $127,151      $467.89    100.0%   $166,057      $614.42
Departmental Expenses
 Rooms                                                                        24.3%        $12,516        $46.29              28.2%     $16,944      $61.57     25.1%     $17,103       $62.94     27.7%    $25,995       $96.18
 Food and Beverage                                                            66.9%        $17,872        $66.10              75.8%     $18,276      $66.41     69.3%     $27,946      $102.84     75.9%    $40,735      $150.72
 Other Operated Departments                                                   67.4%         $2,890        $10.69              62.6%      $1,424       $5.17     78.1%      $8,299       $30.54     79.2%     $9,550       $35.33
Total Departmental Expenses                                                   38.8%        $33,279       $123.09              41.2%     $36,645     $133.15     42.0%     $53,348      $196.31     45.9%    $76,279      $282.24
Total Departmental Profit                                                    61.2%        $52,495       $194.16               58.8%    $52,314      $190.08    58.0%     $73,803       $271.58    54.1%    $89,778       $332.18
Undistributed Operating Expenses
 Administrative & General                                                      8.1%         $6,967         $25.77              8.1%      $7,249      $26.34      7.2%      $9,094       $33.47      8.0%    $13,240       $48.99
 Information & Telecommunications Systems                                      1.3%         $1,128          $4.17              1.5%      $1,341       $4.87      1.2%      $1,569        $5.77      1.5%     $2,436        $9.01
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   Marketing                                                                   7.3%         $6,238         $23.07              7.2%      $6,444      $23.41      6.4%      $8,151       $29.99      6.8%    $11,254       $41.64
   Franchise Fees                                                              1.2%         $1,028          $3.80              1.1%        $952       $3.46      0.6%       $760         $2.80      0.2%       $394        $1.46
 Sales & Marketing                                                             8.5%         $7,266         $26.87              8.3%      $7,396      $26.87      7.0%      $8,911       $32.79      7.0%    $11,648       $43.10
 Property Operations & Maintenance                                             4.0%         $3,422         $12.66              4.0%      $3,551      $12.90      4.0%      $5,070       $18.66      3.9%     $6,413       $23.73
 Utilities                                                                     2.8%         $2,435          $9.01              2.7%      $2,434       $8.84      2.8%      $3,506       $12.90      2.4%     $4,048       $14.98
Total Undistributed Expenses                                                  24.7%        $21,217         $78.48             24.7%     $21,970      $79.83     22.1%     $28,150      $103.59     22.8%    $37,785      $139.81
Gross Operating Profit                                                       36.5%        $31,277       $115.68               34.1%    $30,344      $110.25    35.9%     $45,653       $168.00    31.3%    $51,993       $192.38
  Management Fee                                                               3.5%         $2,975        $11.00               3.5%      $3,108      $11.29      3.4%      $4,297       $15.81      3.3%     $5,532       $20.47
Income Before Fixed Charges                                                   33.0%        $28,303       $104.68              30.6%     $27,236      $98.96     32.5%     $41,356      $152.18     28.0%    $46,460      $171.91
Selected Fixed Charges
 Taxes                                                                         3.1%          $2,626         $9.71              4.4%      $3,956      $14.37      2.5%       $3,205      $11.79      3.5%      $5,734      $21.22
 Insurance                                                                     1.2%           $988          $3.65              0.8%        $702       $2.55      1.1%       $1,455       $5.36      1.0%      $1,624       $6.01
EBITDA*                                                                      28.8%        $24,689         $91.32              25.4%    $22,578       $82.04    28.9%     $36,696       $135.03    23.5%    $39,103       $144.68
 Less: Replacement Reserve                                                     2.7%         $2,346          $8.68              2.7%      $2,358       $8.57      2.5%      $3,227       $11.87      2.5%     $4,093       $15.14
EBITDA Less Replacement Reserve                                               26.0%        $22,344         $82.64             22.7%     $20,220      $73.47     26.3%     $33,469      $123.16     21.1%    $35,010      $129.54
Average Daily Rate                                                         $190.51                                       $218.35                              $251.18                            $347.23
Occupancy (of Sample)                                                       74.2%                                         75.6%                                74.5%                              74.3%
Average Size Of Property (Rooms)                                               298                                           384                                  387                                310
*EBITDA shown only includes property taxes and insurance. It does not include all fixed expenses or non-operating expenses.
Source: HOST Study 2020, Smith Travel Research
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Income and expense statements for the subject property were obtained for the first year of operation, from
August 2019 to July 2020. The following table summarizes our analysis.


Lennox Hotel Miami Beach Operating Performance

All Values In (USD)                                                                2020

Period Ending                                                                     July 31

Available Hotel Rooms                                                              119
Available Room Nights                                                             43,554
Occupied Room Nights                                                              13,540

Occupancy                                                                         31.1%
Average Daily Rate                                                                283.11
RevPAR                                                                            88.01

OPERATING REVENUE                                                    Amount      Ratio        PAR     POR
   Rooms Revenue                                                    3,833,365    88.5%      32,213   283.11
   Other Operated Departments Revenue                                 496,286    11.5%       4,170    36.65
  Total Operating Revenue                                           4,329,651   100.0%      36,384   319.77

DEPARTMENTAL EXPENSES
   Rooms Expenses                                                   1,314,552   34.3%       11,047    97.09
   Other Operated Departments Expenses                                192,198   38.7%        1,615    14.19

  Total Departmental Expenses                                       1,506,750   34.8%       12,662   111.28
  Total Departmental Income                                         2,822,901   65.2%       23,722   208.49

UNDISTRIBUTED EXPENSES
   Administrative & General                                          530,577    12.3%        4,459    39.19
   Information & Telecommunication                                    59,593     1.4%          501     4.40
   Sales & Marketing                                                 313,893     7.2%        2,638    23.18
   Property Operations and Maintenance (POM)                         318,009     7.3%        2,672    23.49
   Utilities                                                         130,006     3.0%        1,092     9.60

  Total Undistributed Expenses                                      1,352,078   31.2%       11,362    99.86
  Gross Operating Profit                                            1,470,823   34.0%       12,360   108.63

   Management Fee                                                    142,732     3.3%        1,199    10.54

  Income Before Non-Operating Income & Expenses                     1,328,091   30.7%       11,160    98.09

NON-OPERATING INCOME & EXPENSES
   Property Taxes                                                    118,386     2.7%          995     8.74
   Insurance                                                         154,800     3.6%        1,301    11.43

  Total Non-Operating Income & Expenses                               273,785    6.3%        2,301    20.22
  EBITDA                                                            1,054,306   24.4%        8,860    77.87

   Replacement Reserves (FF&E)                                             0

  EBITDA Less Replacement Reserve                                   1,054,306   24.4%        8,860    77.87




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All Values In (USD)                                            2021                                      2022                                      2023                                       2024                                       2025                                        2026

Period Ending                                                 July 31                                   July 31                                   July 31                                    July 31                                     July 31                                    July 31
Days Open in Period                                            365                                       365                                       365                                        366                                         365                                        365

Available Hotel Rooms                                          119                                       119                                       119                                         119                                        119                                        119
Available Room Nights                                         43,435                                    43,435                                    43,435                                      43,554                                     43,435                                     43,435
Occupied Room Nights                                          17,840                                    26,817                                    31,286                                      32,313                                     32,225                                     32,225

Occupancy                                                     41.1%                                     61.7%                                     72.0%                                       74.2%                                      74.2%                                      74.2%
Average Daily Rate                                            207.28                                    241.47                                    269.93                                      290.18                                     297.43                                     304.87
RevPAR                                                        85.14                                     149.08                                    194.43                                      215.29                                     220.67                                     226.19

OPERATING REVENUE                                 Amount      Ratio       PAR     POR      Amount      Ratio        PAR     POR       Amount      Ratio       PAR     POR       Amount      Ratio         PAR     POR       Amount      Ratio         PAR     POR       Amount      Ratio        PAR     POR
   Rooms Revenue                                 3,697,869    78.3%     31,075   207.28   6,475,470    76.7%      54,416   241.47    8,445,284    77.3%     70,969   269.93    9,376,660    77.2%       78,795   290.18    9,584,817    77.2%       80,545   297.43    9,824,437    77.2%      82,558   304.87
   Food & Beverage Revenue                         356,799     7.6%      2,998    20.00     938,592    11.1%       7,887    35.00    1,251,460    11.4%     10,516    40.00    1,454,102    12.0%       12,219    45.00    1,486,382    12.0%       12,491    46.12    1,523,542    12.0%      12,803    47.28
   Other Operated Departments Revenue              670,241    14.2%      5,632    37.57   1,032,690    12.2%       8,678    38.51    1,234,929    11.3%     10,378    39.47    1,307,348    10.8%       10,986    40.46    1,336,370    10.8%       11,230    41.47    1,369,779    10.8%      11,511    42.51
 Total Operating Revenue                         4,724,909   100.0%     39,705   264.85   8,446,751   100.0%      70,981   314.98   10,931,672   100.0%     91,863   349.41   12,138,110   100.0%      102,001   375.64   12,407,569   100.0%      104,265   385.03   12,717,759   100.0%     106,872   394.65

DEPARTMENTAL EXPENSES
   Rooms Expenses                                1,529,469   41.4%      12,853    85.73   1,979,755   30.6%       16,637    73.82    2,280,227   27.0%      19,162    72.88    2,437,932   26.0%        20,487    75.45    2,492,052   26.0%        20,942    77.33    2,554,354   26.0%       21,465    79.27
   Food & Beverage Expenses                        338,959   95.0%       2,848    19.00     797,803   85.0%        6,704    29.75      976,139   78.0%       8,203    31.20    1,090,576   75.0%         9,165    33.75    1,114,787   75.0%         9,368    34.59    1,142,656   75.0%        9,602    35.46
   Other Operated Departments Expenses             303,279   45.2%       2,549    17.00     470,968   45.6%        3,958    17.56      536,647   43.5%       4,510    17.15      562,758   43.0%         4,729    17.42      575,708   43.1%         4,838    17.87      590,101   43.1%        4,959    18.31

 Total Departmental Expenses                     2,171,708   46.0%      18,250   121.73   3,248,525   38.5%       27,299   121.14    3,793,013   34.7%      31,874   121.23    4,091,266   33.7%        34,380   126.61    4,182,547   33.7%        35,147   129.79    4,287,111   33.7%       36,026   133.04
 Total Departmental Income                       2,553,201   54.0%      21,455   143.12   5,198,226   61.5%       43,683   193.84    7,138,660   65.3%      59,989   228.17    8,046,844   66.3%        67,621   249.03    8,225,022   66.3%        69,118   255.24    8,430,648   66.3%       70,846   261.62

UNDISTRIBUTED EXPENSES
   Administrative & General                       527,097    11.2%       4,429    29.55    683,622     8.1%        5,745    25.49     791,158     7.2%       6,648    25.29     848,055     7.0%         7,127    26.24     867,905     7.0%         7,293    26.93     889,602     7.0%        7,476    27.61
   Information & Telecommunication                 60,217     1.3%         506     3.38     61,723     0.7%          519     2.30      63,266     0.6%         532     2.02      64,847     0.5%           545     2.01      66,468     0.5%           559     2.06      68,130     0.5%          573     2.11
   Sales & Marketing                              380,800     8.1%       3,200    21.35    714,000     8.5%        6,000    26.62     833,000     7.6%       7,000    26.62     892,500     7.4%         7,500    27.62     914,813     7.4%         7,688    28.39     937,683     7.4%        7,880    29.10
   Property Operations and Maintenance (POM)      321,300     6.8%       2,700    18.01    378,344     4.5%        3,179    14.11     418,726     3.8%       3,519    13.38     441,885     3.6%         3,713    13.67     452,470     3.6%         3,802    14.04     463,782     3.6%        3,897    14.39
   Utilities                                      208,250     4.4%       1,750    11.67    229,340     2.7%        1,927     8.55     245,095     2.2%       2,060     7.83     255,335     2.1%         2,146     7.90     261,568     2.1%         2,198     8.12     268,108     2.1%        2,253     8.32

 Total Undistributed Expenses                    1,497,664   31.7%      12,585    83.95   2,067,028   24.5%       17,370    77.08    2,351,244   21.5%      19,758    75.15    2,502,623   20.6%        21,030    77.45    2,563,224   20.7%        21,540    79.54    2,627,305   20.7%       22,078    81.53
 Gross Operating Profit                          1,055,538   22.3%       8,870    59.17   3,131,197   37.1%       26,313   116.76    4,787,415   43.8%      40,230   153.02    5,544,221   45.7%        46,590   171.58    5,661,798   45.6%        47,578   175.70    5,803,343   45.6%       48,768   180.09

   Management Fee                                 141,747     3.0%       1,191     7.95    253,403     3.0%        2,129     9.45     327,950     3.0%       2,756    10.48     364,143     3.0%         3,060    11.27     372,227     3.0%         3,128    11.55     381,533     3.0%        3,206    11.84

 Income Before Non-Operating Income & Expenses    913,790    19.3%       7,679    51.22   2,877,795   34.1%       24,183   107.31    4,459,465   40.8%      37,474   142.54    5,180,078   42.7%        43,530   160.31    5,289,571   42.6%        44,450   164.14    5,421,810   42.6%       45,561   168.25
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NON-OPERATING INCOME & EXPENSES
   Property Taxes                                 340,233     7.2%       2,859    19.07     348,739    4.1%        2,931    13.00      357,457    3.3%       3,004    11.43      366,394    3.0%         3,079    11.34      375,554    3.0%         3,156    11.65      384,942    3.0%        3,235    11.95
   Insurance                                      339,150     7.2%       2,850    19.01     347,629    4.1%        2,921    12.96      356,319    3.3%       2,994    11.39      365,227    3.0%         3,069    11.30      374,358    3.0%         3,146    11.62      383,717    3.0%        3,225    11.91
 Total Non-Operating Income & Expenses            679,383    14.4%       5,709    38.08     696,368    8.2%        5,852    25.97      713,777    6.5%       5,998    22.81      731,621    6.0%         6,148    22.64      749,912    6.0%         6,302    23.27      768,660    6.0%        6,459    23.85
 EBITDA                                           234,407     5.0%       1,970    13.14   2,181,427   25.8%       18,331    81.35    3,745,688   34.3%      31,476   119.72    4,448,457   36.6%        37,382   137.67    4,539,659   36.6%        38,148   140.87    4,653,151   36.6%       39,102   144.40

   Replacement Reserves (FF&E)                     94,498     2.0%        794      5.30    253,403     3.0%        2,129     9.45     437,267     4.0%       3,675    13.98     485,524     4.0%         4,080    15.03     496,303     4.0%         4,171    15.40     508,710     4.0%        4,275    15.79

 EBITDA Less Replacement Reserve                  139,909     3.0%       1,176     7.84   1,928,025   22.8%       16,202    71.90    3,308,422   30.3%      27,802   105.75    3,962,932   32.6%        33,302   122.64    4,043,357   32.6%        33,978   125.47    4,144,440   32.6%       34,827   128.61
                                                                                                                                                                                                                                                                                                                 Case 1:20-cv-22800-RNS Document 66-2 Entered on FLSD Docket 11/21/2021 Page 148 of




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All Values In (USD)                                           2027                                      2028                                      2029                                      2030                                      2031

Period Ending                                                July 31                                   July 31                                   July 31                                   July 31                                   July 31
Days Open in Period                                           365                                       366                                       365                                       365                                       365

Available Hotel Rooms                                         119                                        119                                       119                                      119                                       119
Available Room Nights                                        43,435                                     43,554                                    43,435                                   43,435                                    43,435
Occupied Room Nights                                         32,225                                     32,313                                    32,225                                   32,225                                    32,225

Occupancy                                                    74.2%                                      74.2%                                     74.2%                                    74.2%                                     74.2%
Average Daily Rate                                           312.49                                     320.30                                    328.31                                   336.52                                    344.93
RevPAR                                                       231.84                                     237.64                                    243.58                                   249.67                                    255.91

OPERATING REVENUE                                Amount      Ratio    PAR         POR      Amount      Ratio    PAR         POR      Amount      Ratio    PAR         POR      Amount      Ratio    PAR         POR      Amount      Ratio    PAR         POR
   Rooms Revenue                               10,070,048    77.2% 84,622       312.49   10,350,078    77.2% 86,975       320.30   10,579,845    77.2% 88,906       328.31   10,844,341    77.2% 91,129       336.52   11,115,449    77.2% 93,407       344.93
   Food & Beverage Revenue                      1,561,630    12.0% 13,123        48.46    1,605,056    12.0% 13,488        49.67    1,640,688    12.0% 13,787        50.91    1,681,705    12.0% 14,132        52.19    1,723,748    12.0% 14,485        53.49
   Other Operated Departments Revenue           1,404,024    10.8% 11,799        43.57    1,443,067    10.8% 12,127        44.66    1,475,103    10.8% 12,396        45.77    1,511,980    10.8% 12,706        46.92    1,549,780    10.8% 13,023        48.09
 Total Operating Revenue                       13,035,703   100.0% 109,544      404.52   13,398,202   100.0% 112,590      414.63   13,695,635   100.0% 115,089      425.00   14,038,026   100.0% 117,967      435.62   14,388,977   100.0% 120,916      446.51

DEPARTMENTAL EXPENSES
   Rooms Expenses                               2,618,213   26.0%      22,002    81.25    2,691,020   26.0%      22,614    83.28    2,750,760   26.0%      23,116    85.36    2,819,529    26.0%     23,694    87.49    2,890,017   26.0%      24,286    89.68
   Food & Beverage Expenses                     1,171,223   75.0%       9,842    36.35    1,203,792   75.0%      10,116    37.25    1,230,516   75.0%      10,340    38.19    1,261,279    75.0%     10,599    39.14    1,292,811   75.0%      10,864    40.12
   Other Operated Departments Expenses            604,853   43.1%       5,083    18.77      621,179   43.0%       5,220    19.22      635,474   43.1%       5,340    19.72      651,361    43.1%      5,474    20.21      667,645   43.1%       5,610    20.72

 Total Departmental Expenses                    4,394,289   33.7%      36,927   136.36    4,515,992   33.7%      37,950   139.76    4,616,749   33.7%      38,796   143.27    4,732,168    33.7%     39,766   146.85    4,850,472   33.7%      40,760   150.52
 Total Departmental Income                      8,641,414   66.3%      72,617   268.16    8,882,210   66.3%      74,640   274.88    9,078,886   66.3%      76,293   281.73    9,305,858    66.3%     78,200   288.78    9,538,504   66.3%      80,155   296.00

UNDISTRIBUTED EXPENSES
   Administrative & General                      911,842     7.0%       7,663    28.30     936,094     7.0%       7,866    28.97      958,004    7.0%       8,050    29.73      981,954    7.0%       8,252    30.47    1,006,503    7.0%       8,458    31.23
   Information & Telecommunication                69,833     0.5%         587     2.17      71,579     0.5%         602     2.22       73,369    0.5%         617     2.28       75,203    0.5%         632     2.33       77,083    0.5%         648     2.39
   Sales & Marketing                             961,125     7.4%       8,077    29.83     985,153     7.4%       8,279    30.49    1,009,782    7.4%       8,486    31.34    1,035,026    7.4%       8,698    32.12    1,060,902    7.4%       8,915    32.92
   Property Operations and Maintenance (POM)     475,377     3.6%       3,995    14.75     487,759     3.6%       4,099    15.09      499,442    3.6%       4,197    15.50      511,929    3.6%       4,302    15.89      524,727    3.6%       4,409    16.28
   Utilities                                     274,810     2.1%       2,309     8.53     281,842     2.1%       2,368     8.72      288,723    2.1%       2,426     8.96      295,941    2.1%       2,487     9.18      303,339    2.1%       2,549     9.41
                                                                                                                                                                                                                                                                                                       186




 Total Undistributed Expenses                   2,692,987   20.7%      22,630    83.57    2,762,427   20.6%      23,214    85.49    2,829,320   20.7%      23,776    87.80    2,900,053    20.7%     24,370    89.99    2,972,554   20.7%      24,979    92.24
 Gross Operating Profit                         5,948,427   45.6%      49,987   184.59    6,119,783   45.7%      51,427   189.39    6,249,566   45.6%      52,517   193.93    6,405,805    45.6%     53,830   198.78    6,565,950   45.6%      55,176   203.75

   Management Fee                                391,071     3.0%       3,286    12.14     401,946     3.0%       3,378    12.44     410,869     3.0%       3,453    12.75     421,141     3.0%       3,539    13.07     431,669     3.0%       3,627    13.40

                                                5,557,356   42.6%      46,700   172.45    5,717,837   42.7%      48,049   176.95    5,838,697   42.6%      49,065   181.18    5,984,664    42.6%     50,291   185.71    6,134,281   42.6%      51,549   190.36

NON-OPERATING INCOME & EXPENSES
   Property Taxes                                 394,566    3.0%       3,316    12.24      404,430    3.0%       3,399    12.52      414,541    3.0%       3,484    12.86      424,904     3.0%      3,571    13.19      435,527    3.0%       3,660    13.52
   Insurance                                      393,310    3.0%       3,305    12.21      403,143    3.0%       3,388    12.48      413,221    3.0%       3,472    12.82      423,552     3.0%      3,559    13.14      434,141    3.0%       3,648    13.47
 Total Non-Operating Income & Expenses            787,876    6.0%       6,621    24.45      807,573    6.0%       6,786    24.99      827,762    6.0%       6,956    25.69      848,456     6.0%      7,130    26.33      869,668    6.0%       7,308    26.99
 EBITDA                                         4,769,480   36.6%      40,080   148.01    4,910,264   36.6%      41,263   151.96    5,010,934   36.6%      42,109   155.50    5,136,208    36.6%     43,161   159.39    5,264,613   36.6%      44,240   163.37

   Replacement Reserves (FF&E)                   521,428     4.0%       4,382    16.18     535,928     4.0%       4,504    16.59     547,825     4.0%       4,604    17.00     561,521     4.0%       4,719    17.42     575,559     4.0%       4,837    17.86

 EBITDA Less Replacement Reserve                4,248,051   32.6%      35,698   131.82    4,374,336   32.6%      36,759   135.37    4,463,109   32.6%      37,505   138.50    4,574,687    32.6%     38,443   141.96    4,689,054   32.6%      39,404   145.51
                                                                                                                                                                                                                                                                 Case 1:20-cv-22800-RNS Document 66-2 Entered on FLSD Docket 11/21/2021 Page 149 of




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Revenues
Rooms Revenue
Room revenue was projected at the beginning of this section at $3,697,869. This is supported by a detailed
penetration and yield study within the Market Analysis section.

Rooms Revenue
                                                                                  2020 HOST Study
                                                                South
                                                               Atlantic            Urban            Resort            Luxury
% of Total Revenue                                              60.0%              67.6%            53.7%              56.5%
$ / Avail Room                                                 $51,507            $60,095          $68,258           $93,843
$ / Occ Room Night                                             $190.51            $218.35          $251.18           $347.23
                                              Comp 1       Comp 2       Comp 3        Comp 4        Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                                2019          2019         2019         2019          2020         Year 1           Year 2         Year 3         Year 4
Total                                      $3,744,000   $7,307,000   $5,057,000   $11,427,000   $3,833,365   $3,697,869       $6,475,470     $8,445,284     $9,376,660
% of Rooms Revenue                            100.0%       100.0%       100.0%        100.0%       100.0%        100.0%          100.0%         100.0%         100.0%
$/ Avail.Room                                 $49,920      $69,590      $61,671       $78,267      $32,213       $31,075         $54,416        $70,969        $78,795
$/Occ. Room Night                             $195.69      $227.70      $207.31       $269.35      $283.11       $207.28         $241.47        $269.93        $290.18


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.


Food and Beverage Income
This revenue includes all food and beverage sales from the restaurant as well as from the bars and room
service.

Food and Beverage Revenue
                                                                                  2020 HOST Study
                                                                South
                                                               Atlantic            Urban            Resort            Luxury
% of Total Revenue                                              31.1%              27.1%            31.7%              32.3%
$ / Avail Room                                                 $26,697            $24,100          $40,347           $53,703
$ / Occ Room Night                                              $98.74             $87.57          $148.47           $198.70
                                             Comp 1       Comp 2       Comp 3         Comp 4        Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019          2019         2019          2019         2020          Year 1           Year 2         Year 3         Year 4
Total                                       $458,000     $949,000     $404,000     $5,440,000           $0     $356,799         $938,592     $1,251,460     $1,454,102
% of Rooms Revenue                            12.2%        13.0%         8.0%          47.6%             –          9.6%          14.5%          14.8%          15.5%
$/ Avail.Room                                 $6,107       $9,038       $4,927        $37,260            –        $2,998          $7,887        $10,516        $12,219
$/Occ. Room Night                             $23.94       $29.57       $16.56        $128.23            –        $20.00          $35.00         $40.00         $45.00


The subject did not have any revenue booked in the food and beverage department because it was leased.

According to management, the tenant has not been paying rent since the third month of operation. We have
assumed that the hotel will terminate the existing restaurant and bar lease. The restaurant of the hotel was
closed, and the bars were operating on limited days/hours as of the effective date of value.


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Based on our research, the market rates for restaurant leases in the area range from $50 to $85 per square
foot depending on quality and location. Also, due to the Covid-19 pandemic, the feedback from market
participants indicates that it would be challenging to find a new tenant given the then market conditions.

We have analyzed the potential profit from the food & beverage department considering the restaurant and
bars are to be managed instead of are to be leased. The profit would yield $17,840 in FY2021, $140,789 in
FY2022, $275,321 in FY 2023 and $363,525 in FY 2024. The expected lease based on market rates would be
approximately $212,000 per year (2,500 square feet x $85) The profit would be higher than a lease at market
rates. Therefore, we have concluded that it would be more economically beneficial to operate the restaurant
and bars. As such, we have assumed the hotel will reopen and start operating the restaurant beginning
January 2021.

We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.


Other Operated Departments
At the subject, this category includes miscellaneous sources, such as guest laundry, vending machine
commissions, valet parking and resort fee that are offset by a corresponding expense

Other Operated Departments Revenue
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban          Resort            Luxury
% of Total Revenue                                               5.0%            2.6%           8.4%               7.3%
$ / Avail Room                                                 $4,288           $2,274        $10,628           $12,053
$ / Occ Room Night                                             $15.86            $8.26         $39.11            $44.60
                                             Comp 1       Comp 2     Comp 3       Comp 4       Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019          2019       2019        2019         2020         Year 1           Year 2         Year 3         Year 4
Total                                       $363,000     $398,000   $261,000     $304,000    $496,286     $670,241       $1,032,690     $1,234,929     $1,307,348
% of Rooms Revenue                             9.7%         5.4%       5.2%         2.7%       12.9%         18.1%           15.9%          14.6%          13.9%
% of Total Operating Revenue                   8.0%         4.6%       4.6%         1.8%       11.5%         14.2%           12.2%          11.3%          10.8%
$/ Avail.Room                                 $4,840       $3,790     $3,183       $2,082      $4,170        $5,632          $8,678        $10,378        $10,986
$/Occ. Room Night                             $18.97       $12.40     $10.70        $7.17      $36.65        $37.57          $38.51         $39.47         $40.46


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.


Total Revenue Projections
The following table summarizes historical and both the budgeted and our projection of total revenue.
Income History and Projections
                                                           Actual    JLL Projection         JLL Projection
                                                            2020             Year 1                 Year 4
Rooms                                                  $3,833,365       $3,697,869             $9,376,660
Food & Beverage                                                $0         $356,799             $1,454,102
Other Operated Departments                               $496,286         $670,241             $1,307,348
Total Income                                       $4,329,651            $4,724,909          $12,138,110
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Departmental Expenses
Rooms Expense
Rooms expense includes wages for front desk and housekeeping personnel, payroll taxes, guest supplies,
cleaning supplies and laundry, linens, and miscellaneous expenses.

Rooms Expense
                                                                                  2020 HOST Study
                                                                South
                                                               Atlantic            Urban            Resort            Luxury
% of Room Revenue                                               24.3%              28.2%            25.1%              27.7%
$ / Avail Room                                                 $12,516            $16,944          $17,103           $25,995
$ / Occ Room Night                                              $46.29             $61.57           $62.94            $96.18
                                              Comp 1       Comp 2       Comp 3        Comp 4        Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                                2019          2019         2019         2019          2020         Year 1           Year 2         Year 3         Year 4
Total                                      $1,034,000   $1,931,000   $1,515,000    $2,414,000   $1,314,552   $1,529,469       $1,979,755     $2,280,227     $2,437,932
% of Rooms Revenue                             27.6%        26.4%        30.0%         21.1%        34.3%         41.4%           30.6%          27.0%          26.0%
$/ Avail.Room                                 $13,787      $18,390      $18,476       $16,534      $11,047       $12,853         $16,637        $19,162        $20,487
$/Occ. Room Night                              $54.05       $60.17       $62.11        $56.90       $97.09        $85.73          $73.82         $72.88         $75.45


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.

Food and Beverage Expense
This expense is an offset to the associated Food & Beverage revenue. It consists of cost of goods sold and
wages and associated benefits.

Food & Beverage Expense
                                                                                  2020 HOST Study
                                                                South
                                                               Atlantic            Urban            Resort            Luxury
% of F & B Revenue                                              66.9%              75.8%            69.3%              75.9%
$ / Avail Room                                                 $17,872            $18,276          $27,946           $40,735
$ / Occ Room Night                                              $66.10             $66.41          $102.84           $150.72
                                             Comp 1        Comp 2      Comp 3         Comp 4        Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019           2019        2019          2019         2020          Year 1           Year 2         Year 3         Year 4
Total                                       $447,000    $1,001,000    $273,000     $4,708,000           $0     $338,959         $797,803       $976,139     $1,090,576
% of Food & Beverage Revenue                  97.6%        105.5%       67.6%          86.5%             –        95.0%           85.0%          78.0%          75.0%
$/ Avail.Room                                 $5,960        $9,533      $3,329        $32,247            –        $2,848          $6,704         $8,203         $9,165
$/Occ. Room Night                             $23.36        $31.19      $11.19        $110.97            –        $19.00          $29.75         $31.20         $33.75


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.


Other Operated Departments Expense
The expense is an offset of the related miscellaneous income.




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Other Operated Departments
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban          Resort            Luxury
% of Other Income                                              67.4%            62.6%          78.1%              79.2%
$ / Avail Room                                                 $2,890           $1,424         $8,299            $9,550
$ / Occ Room Night                                             $10.69            $5.17         $30.54            $35.33
                                             Comp 1      Comp 2      Comp 3       Comp 4       Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019        2019         2020         Year 1           Year 2         Year 3         Year 4
Total                                        $86,000    $101,000     $26,000          $0     $192,198     $303,279         $470,968       $536,647       $562,758
% of Other Operated Departments Revenue       23.7%       25.4%       10.0%            –       38.7%         45.2%           45.6%          43.5%          43.0%
$/ Avail.Room                                 $1,147        $962        $317           –       $1,615        $2,549          $3,958         $4,510         $4,729
$/Occ. Room Night                              $4.50       $3.15       $1.07           –       $14.19        $17.00          $17.56         $17.15         $17.42


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.

Undistributed Operating Expenses

Administrative and General
Administrative and General expenses include the general manager and administrative salaries, office
expenses, supplies, credit card fees, accounting, bookkeeping, computer expense and systems, bank charges,
professional fees, etc.
Administrative & General Expense
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban          Resort            Luxury
% of Total Revenue                                               8.1%            8.1%           7.2%               8.0%
$ / Avail Room                                                 $6,967           $7,249         $9,094           $13,240
$ / Occ Room Night                                             $25.77           $26.34         $33.47            $48.99
                                             Comp 1      Comp 2      Comp 3        Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019         2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $463,000    $602,000    $710,000    $1,908,000   $530,577     $527,097         $683,622       $791,158       $848,055
% of Total Operating Revenue                  10.1%        7.0%       12.4%         11.1%      12.3%         11.2%            8.1%           7.2%           7.0%
$/ Avail.Room                                 $6,173      $5,733      $8,659       $13,068     $4,459        $4,429          $5,745         $6,648         $7,127
$/Occ. Room Night                             $24.20      $18.76      $29.11        $44.97     $39.19        $29.55          $25.49         $25.29         $26.24


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.

Info & Telecom Systems
Includes wireless internet and telephone.




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Information And Telecommunications Systems
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban          Resort            Luxury
% of Total Revenue                                               1.3%            1.5%           1.2%               1.5%
$ / Avail Room                                                 $1,128           $1,341         $1,569            $2,436
$ / Occ Room Night                                              $4.17            $4.87          $5.77             $9.01
                                             Comp 1      Comp 2      Comp 3       Comp 4       Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019        2019         2020         Year 1           Year 2         Year 3         Year 4
Total                                       $200,000    $164,000     $44,000     $325,000     $59,593       $60,217         $61,723        $63,266        $64,847
% of Total Operating Revenue                   4.4%        1.9%        0.8%         1.9%        1.4%           1.3%           0.7%           0.6%           0.5%
$/ Avail.Room                                 $2,667      $1,562        $537       $2,226        $501          $506            $519           $532           $545
$/Occ. Room Night                             $10.45       $5.11       $1.80        $7.66       $4.40         $3.38           $2.30          $2.02          $2.01


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.

Sales and Marketing Costs
Marketing expenses include national franchise marketing fees including both the royalty fee and the national
advertising fee. Additionally, it includes the cost of local marketing efforts.

Sales & Marketing
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban          Resort            Luxury
% of Total Revenue                                               8.5%            8.3%           7.0%               7.0%
% of Room Revenue                                              14.1%            12.3%          13.1%              12.4%
$ / Avail Room                                                 $7,266           $7,396         $8,911           $11,648
$ / Occ Room Night                                             $26.87           $26.87         $32.79            $43.10
                                             Comp 1       Comp 2     Comp 3        Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019          2019       2019         2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $619,000   $1,264,000   $624,000    $1,832,000   $313,893     $380,800         $714,000       $833,000       $892,500
% of Total Operating Revenue                  13.6%        14.6%      10.9%         10.7%       7.2%           8.1%           8.5%           7.6%           7.4%
$/ Avail.Room                                 $8,253      $12,038     $7,610       $12,548     $2,638        $3,200          $6,000         $7,000         $7,500
$/Occ. Room Night                             $32.35       $39.39     $25.58        $43.18     $23.18        $21.35          $26.62         $26.62         $27.62


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject. We have placed more weight in expense comp 3 given that it is an
independent property like the subject but smaller. Therefore, we have projected the Sales & Marketing
expenses to stabilize at $7,500 per available room, slightly lower than Comp 3, given the subject is larger and
could achieve better economies of scale.


Property Operation and Maintenance
Repair and maintenance expenses include building maintenance and repair, parking lot maintenance, lawn
care, landscaping, minor room repair and maintenance costs.




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Property Operations & Maintenance Expense
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban         Resort            Luxury
% of Total Revenue                                               4.0%            4.0%          4.0%               3.9%
$ / Avail Room                                                 $3,422           $3,551        $5,070            $6,413
$ / Occ Room Night                                             $12.66           $12.90        $18.66            $23.73
                                             Comp 1      Comp 2      Comp 3       Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019        2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $231,000    $331,000    $368,000     $673,000   $318,009     $321,300         $378,344       $418,726       $441,885
% of Total Operating Revenue                   5.1%        3.8%        6.4%         3.9%       7.3%           6.8%           4.5%           3.8%           3.6%
$/ Avail.Room                                 $3,080      $3,152      $4,488       $4,610     $2,672        $2,700          $3,179         $3,519         $3,713
$/Occ. Room Night                             $12.07      $10.31      $15.09       $15.86     $23.49        $18.01          $14.11         $13.38         $13.67


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.


Utility Costs
Energy costs include all heat, light and power costs.

Utilities Expense
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban         Resort            Luxury
% of Total Revenue                                               2.8%            2.7%          2.8%               2.4%
$ / Avail Room                                                 $2,435           $2,434        $3,506            $4,048
$ / Occ Room Night                                              $9.01            $8.84        $12.90            $14.98
                                             Comp 1      Comp 2      Comp 3       Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019        2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $120,000    $144,000    $183,000     $335,000   $130,006     $208,250         $229,340       $245,095       $255,335
% of Total Operating Revenue                   2.6%        1.7%        3.2%         2.0%       3.0%           4.4%           2.7%           2.2%           2.1%
$/ Avail.Room                                 $1,600      $1,371      $2,232       $2,295     $1,092        $1,750          $1,927         $2,060         $2,146
$/Occ. Room Night                              $6.27       $4.49       $7.50        $7.90      $9.60        $11.67           $8.55          $7.83          $7.90


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject.


Management
Management costs are for off-site professional management. The projection is based on typical hotel
operations. Management expense classified by hotel type is in the following chart.




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Investor Survey Q1 2020 Management Fees (% of Total Revenue)
 Property Type                                   Management Fees
US
                                  Range                2.0% – 5.0%
   Limited Service
                                  Average                 3.5%
                                  Range                1.0% – 4.0%
   Full Service
                                  Average                 2.6%
                                  Range                2.5% – 5.0%
   Luxury/Upper Upscale
                                  Average                 3.3%
                                  Range                2.0% - 4.0%
   Select Service
                                  Average                 3.1%
Source: PwC Real Estate Investor Survey.



Management Fees
                                                                                2020 HOST Study
                                                               South
                                                              Atlantic           Urban         Resort            Luxury
% of Total Revenue                                               3.5%             3.5%          3.4%               3.3%
$ / Avail Room                                                 $2,975            $3,108        $4,297            $5,532
$ / Occ Room Night                                             $11.00            $11.29        $15.81            $20.47
                                             Comp 1       Comp 2      Comp 3       Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019          2019        2019        2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $137,000     $183,000    $229,000     $515,000   $142,732     $141,747         $253,403       $327,950       $364,143
% of Total Operating Revenue                   3.0%         2.1%        4.0%         3.0%       3.3%           3.0%           3.0%           3.0%           3.0%
$/ Avail.Room                                 $1,827       $1,743      $2,793       $3,527     $1,199        $1,191          $2,129         $2,756         $3,060
$/Occ. Room Night                              $7.16        $5.70       $9.39       $12.14     $10.54         $7.95           $9.45         $10.48         $11.27




Considering all of the available data, a management fee of 3.0% appears to be reasonable and is applied as
the projected amount.



Fixed Expenses
Property and Other Taxes
Property and other taxes were presented in the Real Estate Tax Analysis section of this report. While data is
shown for both national and competitive properties, taxation practices in the local area are a better measure
for estimating taxes on an ongoing basis.

Property and Other Taxes
                                                                                2020 HOST Study
                                                               South
                                                              Atlantic           Urban         Resort            Luxury
% of Total Revenue                                               3.1%             4.4%          2.5%               3.5%
$ / Avail Room                                                 $2,626            $3,956        $3,205            $5,734
$ / Occ Room Night                                              $9.71            $14.37        $11.79            $21.22



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                                             Comp 1      Comp 2      Comp 3       Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019        2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $265,000    $315,000    $278,000     $782,000   $118,386     $340,233         $348,739       $357,457       $366,394
% of Total Operating Revenue                   5.8%        3.6%        4.9%         4.6%       2.7%           7.2%           4.1%           3.3%           3.0%
$/ Avail.Room                                 $3,533      $3,000      $3,390       $5,356       $995        $2,859          $2,931         $3,004         $3,079
$/Occ. Room Night                             $13.85       $9.82      $11.40       $18.43      $8.74        $19.07          $13.00         $11.43         $11.34


The calendar year 2020 taxes for the Subject are $340,233 payable in November of 2020. For the remaining
years, Real Estate Taxes are projected to continue to grow at an inflationary rate of 2.5% per year.

Insurance
The insurance expense covers fire, theft and liability for the subject. This expense is fixed and is best
measured as the cost per available room.

Insurance
                                                                               2020 HOST Study
                                                               South
                                                              Atlantic          Urban         Resort            Luxury
% of Total Revenue                                               1.2%            0.8%          1.1%               1.0%
$ / Avail Room                                                   $988             $702        $1,455            $1,624
$ / Occ Room Night                                              $3.65            $2.55         $5.36             $6.01
                                             Comp 1      Comp 2      Comp 3       Comp 4      Actual JLL Projection   JLL Projection JLL Projection JLL Projection
                                               2019         2019        2019        2019        2020         Year 1           Year 2         Year 3         Year 4
Total                                       $172,000    $216,000    $255,000     $361,000   $154,800     $339,150         $347,629       $356,319       $365,227
% of Total Operating Revenue                   3.8%        2.5%        4.5%         2.1%       3.6%           7.2%           4.1%           3.3%           3.0%
$/ Avail.Room                                 $2,293      $2,057      $3,110       $2,473     $1,301        $2,850          $2,921         $2,994         $3,069
$/Occ. Room Night                              $8.99       $6.73      $10.45        $8.51     $11.43        $19.01          $12.96         $11.39         $11.30


We base this projection on the nation industry surveys and the expense comparables, which are in the same
competitive segment as the subject. Based on feedback from market participants in the lodging industry,
hotels were seeing increasing insurance premiums as of the effective date of value. Therefore, our insurance
estimate for the subject on a per available basis being on the higher end of the range is reasonable

Reserves for Replacement
A reserve for replacement is included in our analysis to account for long term replacement of items such as
paving, mechanicals, carpeting and furniture, fixtures and equipment. National survey data supporting this
estimate is presented below.

Investor Survey Q3 2020 Replacement Reserves (% of Total Revenue)
 Property Type                                    Replacement Reserves
US
                                   Range                 3.0% - 6.0%
  Limited Service
                                   Average                  4.4%
                                   Range                 2.5% - 5.0%
  Full Service
                                   Average                  4.0%
                                   Range                 4.0% – 6.0%
  Luxury/Upper Upscale
                                   Average                  4.6%
                                   Range                 2.0% - 7.0%
  Select Service
                                   Average                  4.5%
Source: PwC Real Estate Investor Survey.

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Replacement Reserves
                                                                             2020 HOST Study
                                                               South
                                                              Atlantic           Urban      Resort        Luxury
% of Total Revenue                                               2.7%             2.7%       2.5%           2.5%
$ / Avail Room                                                 $2,346            $2,358     $3,227        $4,093
$ / Occ Room Night                                              $8.68             $8.57     $11.87        $15.14

Based on all of the above information, and the subject’s newly renovated condition, we applied a reserve of
2.0% of Total Revenue for fiscal year 2021, increasing to 3.0% in fiscal year 2022 and stabilizing at 4.0% of
Total Revenue from fiscal year 2023 on. The ramp up in replacement reserves for new or newly renovated
hotels is not an atypical practice and is widely acceptable by market participants.

Net Operating Income
Based on the preceding income and expense projections, stabilized net operating income is projected as
follows:
Net Operating Income Projection
                                       JLL Projection Year 1                                JLL Projection Year 4
                                                                    % of Total                                      % of Total
                                    Total             $/Room          Income               Total        $/Room        Income
Room Revenue                   $3,697,869             $31,075           78.3%         $9,376,660        $78,795       198.5%
Total Revenue                  $4,724,909             $39,705         100.0%         $12,138,110       $102,001       256.9%
Total Expenses                 $4,584,999             $38,529           97.0%         $8,175,176        $68,699       173.0%
NOI                             $139,910               $1,176           3.0%         $3,962,934         $33,302        83.9%




Capitalization Rate
The capitalization rate is the factor that converts the stabilized net operating income (NOI) to a present value.
It is the ratio of net income to value or sale price.

NOI ÷ Sale Price = Capitalization Rate

National Investor Surveys
Data pertaining to investment grade properties are summarized in the following tables.




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Recent Investor Survey Hotel Cap Rates
 Property Type                  Source        Period                              Cap Rate
US
                                              20 Q3        Range        7.00% - 12.00%
   Economy/Ltd Service          PWC
                                              20 Q3        Average           9.50%
                                              20 Q3        Range         6.00% - 9.00%
   Full Service                 PWC
                                              20 Q3        Average           7.30%
                                              20 Q3        Range         4.00% - 9.50%
   Luxury/Upper Upscale PWC
                                              20 Q3        Average           7.40%
                                              20 Q3        Range        7.00% - 11.00%
   Select Service               PWC
                                              20 Q3        Average           8.50%


                                                          Hotel Cap Rate Trends
 10.00%

  9.50%

  9.00%

  8.50%

  8.00%

  7.50%

  7.00%

  6.50%

  6.00%

  5.50%

  5.00%
                   2016 Q3



                                 2017 Q1



                                                2017 Q3



                                                              2018 Q1



                                                                        2018 Q3



                                                                                         2019 Q1



                                                                                                   2019 Q3



                                                                                                             2020 Q1



                                                                                                                       2020 Q3




                                   US Economy/Ltd Service PWC               US Full Service PWC
                                   US Luxury PWC                            US Select Service PWC

Based on the survey data, a capitalization rate within a range of 4.00% to 9.50% could be expected for the
subject.


Band of Investment
The band of investment method derives a capitalization rate from the weighted average of the mortgage and
equity demands on net income generated from the property. This method involves an estimate of typical
financing terms as well as an estimated rate of return on equity capital sufficient to attract investors. The rate
indicated by this method is shown in the following table.

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Direct Capitalization Analysis
We have not used the Direct Capitalization Method to calculate the value of the subject because the property
has only one year of operation and part of this period was affected by the Covid-19 pandemic. Therefore, it is
not a representative year to apply a direct capitalization.




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Discounted Cash Flow Analysis
Holding Period
A ten-year holding period is consistent with typical investor analysis.

Discount Rate and Reversion Capitalization Rate Selection
Data from national investor surveys is summarized below.
Investor Survey Q3 2020 Hotel Statistics
                                                                                                         Expense Growth
 Property Type                                   Discount Rate      Exit Cap Rate    ADR Growth Rate          Rate
US
                                Range            7.00% - 12.00%     8.00% - 12.00%    (10.00%) - 4.00%    2.00% - 4.00%
  Economy/Ltd Service
                                Average               9.50%              9.50%             -0.10%             2.95%
                                Range            8.75% - 11.00%     7.00% - 10.00%     0.00% - 3.00%      0.00% – 4.00%
  Full Service
                                Average               9.93%              8.50%             0.70%              2.80%
                                Range            6.50% - 12.00%      5.75% - 9.50%    (10.00%) - 3.00%    1.00% - 7.00%
  Luxury/Upper Upscale
                                Average               9.63%              7.83%             -0.80%             3.40%
                                Range            8.00% - 12.00%     7.00% - 10.50%   (5.00%) to 20.00%   2.00% – 20.00%
  Select Service
                                Average              10.00%              8.68%             4.60%              6.45%
Source: PwC Real Estate Investor Survey



Discount Rate
The surveys indicate that discount rates for luxury/upper upscale hotel properties range from 6.5% to 12.00%
and average 9.63%. Rates have moved upward over the past year due to the negative impacts of Covid-19.
Considering the then economic conditions, the quality of the subject, and market area demographics and
trends, we conclude that a discount rate of 10.00% is appropriate for the subject.


Exit Capitalization Rate
The surveys indicate a range of exit capitalization rates of 5.75% to 9.50%, with an average of 7.83%, for
luxury/upper upscale hotel properties. For the subject, we conclude to an exit capitalization rate of 7.00%, at
the lower end of the range exhibited by the survey given its locational and physical characteristics and
positioning.

Value Indication – Discounted Cash Flow Analysis
The value indications produced by the discounted cash flow analysis are as follows:




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Lennox Hotel Miami Beach
Discounted Cash Flow Asset Value Analysis (USD'000)
Summary of Assessment                                               Key Variables                              Present Value Matrix - Net Value after Capital Deductions
Date of Valuation                           7/31/2020               Discount Rate             10.0%           Value USD'000, Value USD/ key, 2021 Adj. EBITDA Cap Rate
Holding Period                              10 Years                Terminal Cap Rate         7.0%     Discount Rate                     Terminal Cap Rate
Land Tenure                                 Freehold/Fee - Simple   Closing Costs %           2.0%                    6.0%        6.5%         7.0%        7.5%        8.0%
                                                                    Acquisition Costs %       0.0%                    53,100      50,600      48,500       46,600     45,000
                                                                    California Real Estate Ta 1.1%         9.0%      446 / key 425 / key 408 / key 392 / key 378 / key
Value Calculations                                                               Gross Yield Net Yield                  .3%         .3%         .3%          .3%        .3%
PV of Terminal                             25,300                   2021         0.3%         0.3%                    51,100      48,700      46,700       44,900     43,300
PV of Income Stream                        19,600                   2022         4.3%         4.3%         9.5%      429 / key 409 / key 392 / key 377 / key 364 / key
Gross Value                                45,000      378 / key    2023         7.4%         7.4%                      .3%         .3%         .3%          .3%        .3%
Acquisition Costs                          0                        2024       8.8%        8.8%                     49,200      46,900      45,000      43,300      41,800
Capital Deductions                         0                        2025       9.0%        9.0%          10.0%      413 / key   394 / key   378 / key   364 / key   351 / key
Net Value                                  45,000      378 / key    2026       9.2%        9.2%                       .3%         .3%         .3%         .3%         .3%
Terminal Value                                                      2027       9.4%        9.4%                     47,400      45,200      43,300      41,700      40,300
Year 11 EBITDA Less Replacement Reserve    4,689                    2028       9.7%        9.7%          10.5%      398 / key   380 / key   364 / key   350 / key   339 / key
Year 10 Terminal Value                     67,000                   2029       9.9%        9.9%                       .3%         .3%         .3%         .3%         .3%
Closing Costs                              1,340                    2030       156.3%      156.2%                   45,600      43,500      41,800      40,200      38,900
Net Reversion Proceeds                     65,700      552 / key    2031       0.0%        0.0%          11.0%      383 / key   366 / key   351 / key   338 / key   327 / key
Secondary Currency Value ('000)                                     2032       0.0%        0.0%                       .3%         .3%         .3%         .3%         .4%




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Final Reconciliation
Reconciliation involves the weighting of alternative value indications, based on the judged reliability and
applicability of each approach to value, to arrive at a final value conclusion. Reconciliation is required
because different value indications result from the use of multiple approaches and within the application of a
single approach. The values indicated by our analyses are as follows:
Summary of Value Indications
                                                       Retrospective Fair Market Value
Cost Approach                                                                Not Used
Sales Comparison Approach                                                  $45,200,000
Income Capitalization Approach                                             $45,000,000
Reconciled                                                                 $45,000,000

Cost Approach
As previously discussed, the reliability of the Cost Approach is judged to be limited due to the nature of the
property as a historic hotel building that was renovated. As such, a cost approach has been considered but
has not been utilized.


Sales Comparison Approach
The sales comparison approach is most reliable in an active market when an adequate quantity and quality of
comparable sales data are available. In addition, it is typically the most relevant method for owner-user
properties, because it directly considers the prices of alternative properties with similar utility for which
potential buyers would be competing.

Significant adjustments are required for many of the sales because of differences in the various elements of
comparison. This reduces the reliability of this approach. As a result, the sales comparison approach is used
primarily as support for the income capitalization approach.


Income Capitalization Approach
The income capitalization approach is usually given greatest weight when evaluating investment properties.
The value indication from the income capitalization approach is supported by market data regarding income,
expenses and required rates of return. An investor is the most likely purchaser of the appraised property, and
a typical investor would place greatest reliance on the income capitalization approach. For these reasons, the
income capitalization approach is given greatest weight in the conclusion of value.


Final Opinion of Value
Based on the preceding valuation analysis and subject to the definitions, assumptions, and limiting
conditions expressed in the report, our opinion of value is as follows:
Value Conclusion
Appraisal Premise                                     Interest Appraised   Effective Date of Value    Value Conclusion   Per Room
Retrospective Fair Market Value                       Fee Simple                  August 16, 2020          $45,000,000    $378,200


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Extraordinary Assumptions and Hypothetical Conditions
The value conclusions are subject to the following extraordinary assumptions that may affect the assignment
results. An extraordinary assumption is uncertain information accepted as fact. If the assumption is found to
be false as of the effective date of the appraisal, we reserve the right to modify our value conclusions.

1. As of the effective date of value, the hotel management indicated that the owner was seeking to
   terminate the food & beverage lease agreement with Mira South Beach LLC because of payment
   delinquency. Based on conversations with a leasing agent, due to the significant impact of the Covid-19
   pandemic in the food & beverage industry, finding a new tenant with similar terms as those in the existing
   contract would be challenging. We have assumed that the restaurant and bars will reopen beginning
   January 2021 and be operated as part of the hotel operation.
2. The subject has currently two personal property taxes IDs with two different assessed values for 2020
   ($5,192,208 and $110,063). It is our understanding that the disparity was caused by administrative errors.
   This has been communicated to the representatives at the Miami-Dade Assessor's office. However, since
   the final personal property tax assessment was not available at the time of the report preparation, we
   have reviewed the personal property tax assessments of comparables and estimated the personal
   property taxes applicable at the subject. We have assumed our estimate is accurate and similar to the final
3. We have assumed the condition of the subject as of the date of value was the same as that on the dates of
   our virtual inspection and physical inspection.
The value conclusions are based on the following hypothetical conditions that may affect the assignment
results. A hypothetical condition is a condition contrary to known fact on the effective date of the appraisal
but is supposed for the purpose of analysis.
1. It was brought to our attention that some of the rooms and public areas of the subject were not ADA
   compliant as of the effective date of value.However, there was no estimate of the cost of the
   remediations. We have made the hypothetical assumption that the hotel was ADA compliant as of the
   effective date of value. Estimating the cost is outside the scope of this assignment. As such, no associated
   cost to cure the deficiency has been deducted in our report. In reality (without the hypothetical
   condition), a knowledgeable buyer would likely deduct an estimated cost to arrive at the market value,
   which could potentially result in a lower value than that reported herein.

Exposure Time
Exposure time is the length of time the subject property would have been exposed for sale in the market had it
sold on the effective valuation date at the concluded market value. Exposure time is always presumed to
precede the effective date of the appraisal. Based on our review of recent sales transactions for similar
properties and our analysis of supply and demand in the local hotel market, it is our opinion that the probable
exposure time for the subject at the concluded market value stated previously is 6 to 12 months.

Marketing Time
Marketing time is an estimate of the amount of time it might take to sell a property at the concluded market
value immediately following the effective date of value. The outbreak of the COVID-19 virus (novel
coronavirus) since the end of January 2020 has resulted in market uncertainty and volatility. In some property
types we have already seen sale transaction closings postponed. Market evidence associated with marketing
times is something we are monitoring closely given current market conditions. Given the market uncertainty
and volatility, marketing times are currently difficult to predict. it is our opinion that a reasonable marketing
period for the subject is likely to be the same as the exposure time. Accordingly, we estimate the subject’s
marketing period at 6 to 12 months.

Our estimate is supported by the following national investor survey data.

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Investor Survey Q3 2020 Hotel Marketing Time
 Property Type                                    Marketing Time
US
                                  Range               2.0 – 12.0
   Economy/Ltd Service
                                  Average                 6.6
                                  Range                3.0 – 9.0
   Full Service
                                  Average                 6.3
                                  Range               3.0 – 12.0
   Luxury/Upper Upscale
                                  Average                 7.5
                                  Range               2.0 - 10.0
   Select Service
                                  Average                 5.2
Source: PwC Real Estate Investor Survey.




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Allocation of Going-Concern Value
As part of the assignment, we have been asked to separate the tangible, intangible, and real property
components of the going-concern value. In performing this analysis, we consider the following definitions
from The Dictionary of Real Estate Appraisal, Sixth Edition, Appraisal Institute, Chicago, Illinois, 2015.

 Going Concern                                    1) An established and operating business having an indefinite future life.
                                                  2) An organization with an indefinite life that is sufficiently long that, over
                                                     time, all currently incomplete transformations [transforming resources
                                                     from one form to a different, more valuable form] will be completed.

 Tangible Property                          Property that can be perceived with the senses; includes land, fixed
                                            improvements, furnishings, equipment and physical supplies, inventory, and
                                            merchandise. Some accounting sources indicate that tangible property includes
                                            all property not properly classified as identifiable intangible assets or goodwill.
                                            On that basis, tangible property includes real estate, personal property, and
                                            working capital assets such as cash, cash equivalents, accounts receivable,
                                            supplies, and inventory, although cash and accounts receivable are not
                                            themselves tangible per se.

 Real Property                              An interest or interests in real estate.

 Furniture, Fixtures and                    Business trade fixtures and personal property, exclusive of inventory.
 Equipment (FF&E)

 Intangible Property                        Nonphysical assets, including but not limited to franchises, trademarks,
                                            patents, copyrights, goodwill, equities, securities, and contracts as
                                            distinguished from physical assets such as facilities and equipment

In the case of the subject, our opinion of going-concern value reflects the continuing hotel operation,
including the contributory value of land, building improvements, furniture, fixtures and equipment (FF&E),
and intangible property assets. Specifically excluded from the valuation are cash and equivalents and current
liabilities.

Value of Furniture, Fixtures and Equipment (FF&E)
According to Marshall Valuation Service, the typical cost new range of FF&E is $18,000 to $35,000 for upper
upscale hotels at the time of construction. Considering that FF&E is short-lived and depreciates faster than
the overall property, it is reasonable to expect that the ratio declines as the items age.

Based on the age and condition of the subject FF&E, we estimate the contributory value as follows:
Furniture, Fixtures & Equipment
Appraisal Premise                                                   Rooms    Value/Room           Total      Rounded
Retrospective Fair Market Value                                        119       $32,200     $3,831,800     $3,830,000




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Allocation of Going-Concern Value
The allocation of value components is based on the going-concern premise, which holds that the value of a
business as a going-concern is equal to the sum of the values of the tangible and intangible assets.
Allocation of Going Concern Value
                                                                       Amount             % of Total
Tangible Property
  Land & Improvements                                               $41,170,000              91.5%
  Furniture, Fixtures & Equipment (FF&E)                             $3,830,000               8.5%
  Total Tangible Property                                           $45,000,000             100.0%
Intangible Property                                                          $0               0.0%
Retrospective Fair Market Value                                     $45,000,000             100.0%




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     1. The report represents an opinion of value, based on forecasts of net income such as are typically used
        in valuing income-producing properties. Actual results may vary from those forecast in the report.
        There is no guaranty or warranty that the opinion of value reflects the actual value of the property.
     2. The conclusions stated in our report apply only as of the effective date of value, and no representation
        is made as to the effect of subsequent events.
     3. We are not obligated to predict future political, economic or social trends. We assume no
        responsibility for economic factors that may affect or alter the opinions in this report if said economic
        factors were not present as of the date of the letter of transmittal accompanying this report.
     4. The report reflects a valuation of the property free and clear of any or all liens or encumbrances unless
        otherwise stated.
     5. Responsible ownership and competent property management are assumed.
     6. All facts set forth in this report are true and accurate to the best of our knowledge. However, it should
        be noted that the appraisal process inherently requires information from a wide variety of sources.
        The information furnished by others is believed to be correct and complete and is up to date and can
        be relied upon, but no warranty is given for its accuracy. We do not accept responsibility for erroneous
        information provided by others. We assume that no information that has a material effect on our
        valuations has been withheld.
     7. We assume, unless informed to the contrary, that each property has a good and marketable title, that
        all documentation is satisfactorily drawn and that there are no encumbrances, restrictions,
        easements or other adverse title conditions, which would have a material effect on the value of the
        interest under consideration, nor material litigation pending. Where we have been provided with
        documentation we recommend that reliance should not be placed on our interpretation without
        verification by your lawyers. We have assumed that all information provided by the client, or its
        agents, is correct, up to date and can be relied upon.
     8. We are not responsible for considerations requiring expertise in other fields, including but not limited
        to: legal descriptions and other legal matters, geologic considerations such as soils and seismic
        stability, engineering, or environmental and toxic contaminants.
     9. All engineering studies are assumed to be correct. The plot plans and illustrative material in this
        report are included only to help the reader visualize the property.
     10. It is assumed that there are no hidden or unapparent conditions of the property, subsoil or structures
         that render it more or less valuable. No responsibility is assumed for such conditions or for obtaining
         the engineering studies that may be required to discover them.
     11. It is assumed that the property is in full compliance with all applicable federal, state, and local
         environmental regulations and laws unless the lack of compliance is stated, described, and
         considered in the report. No environmental impact studies were either requested or made in
         conjunction with this appraisal, and we reserve the right to revise or rescind any of the value opinions
         based upon any subsequent environmental impact studies. If any environmental impact statement is
         required by law, the appraisal assumes that such statement will be favorable and will be approved by
         the appropriate regulatory bodies.
     12. Unless otherwise stated in this report, the existence of hazardous materials, which may or may not be
         present on the property, was not observed by us. We have no knowledge of the existence of such

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           materials on or in the property. We, however, are not qualified to detect such substances. The
           presence of substances such as asbestos, urea-formaldehyde foam insulation and other potentially
           hazardous materials may affect the value of the property. The value estimated is predicated on the
           assumption that there is no such material on or in the property that would cause a loss in value. No
           responsibility is assumed for such conditions or for any expertise or engineering knowledge required
           to discover them. Client is urged to retain an expert in this field, if desired. None of us and our
           affiliates, officers, owners, managers, directors, agents, subcontractors or employees shall be
           responsible for any such environmental conditions that do exist or for any engineering or testing that
           might be required to discover whether such conditions exist. Because we are not experts in the field of
           environmental conditions, the appraisal report cannot be considered as an environmental
           assessment of the property.
     13. The Americans with Disabilities Act (ADA) became effective January 26, 1992. We have not made a
         specific survey or analysis of the Subject Property to determine whether the physical aspects of the
         improvements meet the ADA accessibility guidelines. We claim no expertise in ADA issues, and render
         no opinion regarding compliance of the Subject Property with ADA regulations. Inasmuch as
         compliance matches each owner’s financial ability with the cost to cure the non-conforming physical
         characteristics of a property, a specific study of both the owner’s financial ability and the cost to cure
         any deficiencies would be needed for the Department of Justice to determine compliance.
     14. It is assumed that the property conforms to all applicable zoning and use regulations and restrictions
         unless a non-conformity has been identified, described and considered in the appraisal report.
     15. It is assumed that all required licenses, certificates of occupancy, consents, and other legislative or
         administrative authority from any local, state, or national government or private entity or
         organization have been or can be obtained or renewed for any use on which the value estimate
         contained in this report is based.
     16. It is assumed that the use of the land and improvements is confined within the boundaries or property
         lines of the property described and that there is no encroachment or trespass unless noted in the
         report.
     17. Although we reflect our general understanding of a tenant’s status in our valuations (i.e. the market’s
         general perception of their creditworthiness), inquiries as to the financial standing of actual or
         prospective tenants are not normally made unless specifically requested. Where properties are valued
         with the benefit of leasing, it is therefore assumed, unless we are informed otherwise, that the tenants
         are capable of meeting their financial obligations under the lease and that there are no arrears of rent
         or undisclosed breaches of covenant.
     18. Although we conducted cursory inspection of the subject sites, we did not conduct a formal survey of
         the property and assume no responsibility in connection with such matters. The spatial data,
         including sketches and/or surveys included in this report, have been supplied by the client and are
         assumed to be correct.
     19. Any allocation of the total value estimated in this report between the land and the improvements
         applies only under the stated program of utilization. The separate values allocated to the land and
         buildings must not be used in conjunction with any other appraisal and are invalid if so used.
     20. Neither all nor any part of this report, or copy thereof, shall be used for any purpose by anyone but the
         client and intended users specified in the report without our written consent. This report was
         prepared for the client’s use at their sole discretion within the framework of the intended use stated in
         this report. Its use for any other purpose or use by any party not identified as an intended user of this

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           report is beyond the scope of work of this assignment. Possession of this report, or a copy thereof,
           does not carry with it the right of publication.
     21. We, by reason of the report, are not required to give further consultation or testimony or to be in
         attendance in court with reference to the property in question unless arrangements have been
         previously made.
     22. Neither all nor any part of the contents of this report (especially any conclusions as to value, the
         identity of the consultant who prepared the report, or the firm with which the consultant is
         connected) shall be disseminated to the public through advertising, public relations, news, sales, or
         other media without the prior written consent and approval of us, except as outlined in the attached
         engagement letter.
     23. Unless expressly advised to the contrary we assume that appropriate insurance coverage is and will
         continue to be available on commercially acceptable terms.
     24. Unless otherwise stated our valuation excludes any additional value attributable to goodwill, or to
         fixtures and fittings which are only of value, in situ, to the present occupier. No allowance has been
         made for any plant, machinery or equipment unless it forms an integral part of the building and would
         normally be included in a sale of the building. We do not normally carry out or commission
         investigations into the capacity or condition of services. Therefore we assume that the services, and
         any associated controls or software, are in working order and free from defect. We also assume that
         the services are of sufficient capacity to meet current and future needs.
     25. It is assumed that no changes in any federal, state or local laws, regulations or codes (including,
         without limitation, the Internal Revenue Code) are anticipated.
     26. In the case of property where construction work is in progress, such as refurbishment or repairs, or
         where developments are in progress, we have relied upon cost information supplied to us by the
         client or their appointed specialist experts. In the case of property where construction work is in
         progress, or has recently been completed, we do not normally make allowance for any liability already
         incurred, but not yet discharged, in respect of completed work, or obligations in favor of contractors,
         subcontractors or any members of the professional or design team. We assume the satisfactory
         completion of construction, repairs or alterations in a workmanlike manner.
     27. By use of this report, each party that uses this report agrees to be bound by all the Assumptions and
         Limiting Conditions, Hypothetical Conditions and Extraordinary Assumptions stated herein.
     28. If the Report is submitted to a lender or investor with our prior approval, such party should consider
         this Report as only one factor, together with its independent investment considerations and
         underwriting criteria, in its overall investment decision. Such lender or investor is specifically
         cautioned to understand all Hypothetical Conditions and Extraordinary Assumptions and the
         Assumptions and Limiting Conditions incorporated in this Report.
     29. In the event of a claim against the company or its affiliates or our respective officers or employees in
         connection with or in any way relating to this report or this engagement, the maximum damages
         recoverable shall be the amount of the monies actually collected by us or our affiliates for this report
         and under no circumstances shall any claim for consequential damages be made.
     30. The persons signing the report may have reviewed available flood maps and may have noted in the
         appraisal report whether the property is located in an identified Special Flood Hazard Area. However,
         we are not qualified to detect such areas and therefore do not guarantee such determinations. The
         presence of flood plain areas and/or wetlands may affect the value of the property, and the value
         conclusion is predicated on the assumption that wetlands are non- existent or minimal.

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Definitions
The source of the following definitions is the Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th
ed. (Chicago: Appraisal Institute, 2015), unless otherwise noted.

As Is Market Value
The estimate of the market value of real property in its current physical condition, use, and zoning as of the
appraisal date.
Business Enterprise Value
The value contribution of the total intangible assets of a continuing business enterprise such as marketing
and management skill, an assembled workforce, working capital, trade names, franchises, patents,
trademarks, contracts, leases, customer base, and operating agreements.
Business Value
The market value of a going concern, including real estate, personal property, and the intangible assets of the
business.
Deferred Maintenance
Needed repairs or replacement of items that should have taken place during the course of normal
maintenance.
Depreciation
A loss in property value from any cause; the difference between the cost of an improvement on the effective
date of the appraisal and the market value of the improvement on the same date.
Discounted Cash Flow (DCF) Analysis
The procedure in which a discount rate is applied to a set of projected income streams and a reversion. The
analyst specifies the quantity, variability, timing, and duration of the income streams and the quantity and
timing of the reversion, and discounts each to its present value at a specified yield rate.
Disposition Value
The most probable price that a specified interest in real property should bring under the following conditions:
   1. Consummation of a sale within a future exposure time specified by the client.
     2. The property is subjected to market conditions prevailing as of the date of valuation.
     3. Both the buyer and seller are acting prudently and knowledgeably.
     4. The seller is under compulsion to sell.
     5. The buyer is typically motivated.
     6. Both parties are acting in what they consider to be their best interests.
     7. An adequate marketing effort will be made during the exposure time specified by the client.
     8. Payment will be made in cash in U.S. dollars or in terms of financial arrangements comparable
        thereto.
     9. The price represents the normal consideration for the property sold, unaffected by special or creative
        financing or sales concessions granted by anyone associated with the sale.
This definition can also be modified to provide for valuation with specified financing terms.
Effective Date of Appraisal
The date on which the analyses, opinions, and advice in an appraisal, review, or consulting service apply.
Entrepreneurial Profit


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     1. A market-derived figure that represents the amount an entrepreneur receives for his or her
        contribution to a project and risk; the difference between the total cost of a property (cost of
        development) and its market value (property value after completion), which represents the
        entrepreneur’s compensation for the risk and expertise associated with development. An
        entrepreneur is motivated by the prospect of future value enhancement (i.e., the entrepreneurial
        incentive). An entrepreneur who successfully creates value through new development, expansion,
        renovation, or an innovative change of use is rewarded by entrepreneurial profit. Entrepreneurs may
        also fail and suffer losses.
     2. In economics, the actual return on successful management practices, often identified with
        coordination, the fourth factor of production following land, labor, and capital; also called
        entrepreneurial return or entrepreneurial reward.
Excess Land
Land that is not needed to serve or support the existing improvement. The highest and best use of the excess
land may or may not be the same as the highest and best use of the improved parcel. Excess land may have
the potential to be sold separately and is valued independently.
Exposure Time
     1. The time a property remains on the market.
     2. The estimated length of time the property interest being appraised would have been offered on the
        market prior to the hypothetical consummation of a sale at market value on the effective date of the
        appraisal; a retrospective estimate based on an analysis of past events assuming a competitive and
        open market.
Fee Simple Estate
Absolute ownership unencumbered by any other interest or estate, subject only to the limitations imposed by
the governmental powers of taxation, eminent domain, police power, and escheat.
Floor Area Ratio (FAR)
The relationship between the above-ground floor area of a building, as described by the building code, and
the area of the plot on which it stands; in planning and zoning, often expressed as a decimal, e.g., a ratio of 2.0
indicates that the permissible floor area of a building is twice the total land area.
Furniture, Fixtures & Equipment (FF&E)
Business trade fixtures and personal property, exclusive of inventory.
Going Concern
     1. An established and operating business having an indefinite future life.
     2. An organization with an indefinite life that is sufficiently long that, over time, all currently incomplete
        transformations [transforming resources from one form to a different, more valuable form] will be
        completed.
Going Concern Premise
One of the premises under which the total assets of a business can be valued; the assumption that a company
is expected to continue operating well into the future (usually indefinitely).
Gross Building Area (GBA)
Total floor area of a building, excluding unenclosed areas, measured from the exterior of the walls of the
above-grade area. This includes mezzanines and basements if and when typically included in the region.
Highest and Best Use


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The reasonably probable and legal use of vacant land or an improved property that is physically possible,
appropriately supported, financially feasible, and that results in the highest value. The four criteria the highest
and best use must meet are legal permissibility, physical possibility, financial feasibility, and maximum
productivity. Alternatively, the probable use of land or improved property – specific with respect to the user
and timing of the use – that is adequately supported and results in the highest present value.

Intangible Property
Nonphysical assets, including but not limited to franchises, trademarks, patents, copyrights, goodwill,
equities, securities, and contracts as distinguished from physical assets such as facilities and equipment.
(USPAP, 2016-17 ed.)
Investment Value
     1. The value of a property to a particular investor or class of investors based on the investor’s specific
        requirements. Investment value may be different from market value because it depends on a set of
        investment criteria that are not necessarily typical of the market.
     2. The value of an asset to the owner or a prospective owner for individual investment or operational
        objectives.
Lease
A contract in which rights to use and occupy land or structures are transferred by the owner to another for a
specified period of time in return for a specified rent.
Leased Fee Interest
A freehold (ownership interest) where the possessory interest has been granted to another party by creation
of a contractual landlord-tenant relationship (i.e, a lease).
Leasehold Interest
The tenant’s possessory interest created by a lease.
Liquidation Value
The most probable price that a specified interest in real property should bring under the following conditions:
   1. Consummation of a sale within a short time period.
     2. The property is subjected to market conditions prevailing as of the date of valuation.
     3. Both the buyer and seller are acting prudently and knowledgeably.
     4. The seller is under extreme compulsion to sell.
     5. The buyer is typically motivated.
     6. Both parties are acting in what they consider to be their best interests.
     7. A normal marketing effort is not possible due to the brief exposure time.
     8. Payment will be made in cash in U.S. dollars, or in terms of financial arrangements comparable
        thereto.
     9. The price represents the normal consideration for the property sold, unaffected by special or creative
        financing or sales concessions granted by anyone associated with the sale.
This definition can also be modified to provide for valuation with specified financing terms.
Marketing Time
An opinion of the amount of time it might take to sell a real or personal property interest at the concluded
market value level during the period immediately after the effective date of an appraisal. Marketing time
differs from exposure time, which is always presumed to precede the effective date of an appraisal.

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Market Rent
The most probable rent that a property should bring in a competitive and open market reflecting all
conditions and restrictions of the lease agreement, including permitted uses, use restrictions, expense
obligations, term, concessions, renewal and purchase options, and tenant improvements.
Market Value
The most probable price which a property should bring in a competitive and open market under all conditions
requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price
is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified
date and the passing of title from seller to buyer under conditions whereby:
    • buyer and seller are typically motivated;
     •     both parties are well informed or well advised, and acting in what they consider their own best
           interests;
     •     a reasonable time is allowed for exposure in the open market;
     •     payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable
           thereto; and
     •     the price represents the normal consideration for the property sold unaffected by special or creative
           financing or sales concessions granted by anyone associated with the sale.
           (Source: Code of Federal Regulations, Title 12, Chapter I, Part 34.42[g]; also Interagency Appraisal and
           Evaluation Guidelines, Federal Register, 75 FR 77449, December 10, 2010, page 77472)
Market Value of the Going Concern
The market value of an established and operating business including the real property, personal property,
financial assets, and the intangible assets of the business.
Market Value of the Total Assets of the Business
The market value of all of the tangible and intangible assets of a business as if sold in aggregate as a going
concern.
Personal Property
The interests, benefits, and rights inherent in the ownership of tangible objects that are considered by the
public as being personal; also called tangible personal property.
Prospective Opinion of Value
A value opinion effective as of a specified future date. The term does not define a type of value. Instead, it
identifies a value opinion as being effective at some specific future date. An opinion of value as of a
prospective date is frequently sought in connection with projects that are proposed, under construction, or
under conversion to a new use, or those that have not yet achieved sellout or a stabilized level of long-term
occupancy.
Real Property
An interest or interests in real estate.
Rentable Floor Area (RFA)
Rentable area shall be computed by measuring inside finish of permanent outer building walls or from the
glass line where at least 50% of the outer building wall is glass. Rentable area shall also include all area within
outside walls less stairs, elevator shafts, flues, pipe shafts, vertical ducts, air conditioning rooms, fan rooms,
janitor closets, electrical closets, balconies and such other rooms not actually available to the tenant for his
furnishings and personnel and their enclosing walls. No deductions shall be made for columns and


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projections unnecessary to the building. (Source: Income/Expense Analysis, 2013 Edition – Conventional
Apartments, Institute of Real Estate Management, Chicago, Illinois)
Replacement Cost
The estimated cost to construct, at current prices as of the effective appraisal date, a substitute for the
building being appraised, using modern materials and current standards, design and layout.
Reproduction Cost
The estimated cost to construct, at current prices as of the effective date of the appraisal, an exact duplicate
or replica of the building being appraised, using the same materials, construction standards, design, layout,
and quality of workmanship and embodying all the deficiencies, superadequacies, and obsolescence of the
subject building.
Stabilized Income
Income at that point in time when abnormalities in supply and demand or any additional transitory
conditions cease to exist and the existing conditions are those expected to continue over the economic life of
the property; projected income that is subject to change, but has been adjusted to reflect an equivalent,
stable annual income.
Surplus Land
Land that is not currently needed to support the existing improvement but cannot be separated from the
property and sold off. Surplus land does not have an independent highest and best use and may or may not
contribute value to the improved parcel.
Tangible Property
Property that can be perceived with the senses; includes land, fixed improvements, furnishings, equipment
and physical supplies, inventory, and merchandise. Some accounting sources indicate that tangible property
includes all property not properly classified as identifiable intangible assets or goodwill. On that basis,
tangible property includes real estate, personal property, and working capital assets such as cash, cash
equivalents, accounts receivable, supplies, and inventory, although cash and accounts receivable are not
themselves tangible per se.




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           Improved Sale Comparables




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